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                                       UNITED STATES BANKRUPTCY COURT
                                           SOUTHERN DISTRICT OF FLORIDA
                                                  FORT LAUDERDALE DIVISION


In Re. LIBERTY POWER HOLDINGS, LLC,                                 §                   Case No. 21-13797
       LPT, LLC,                                                    §
       LIBERTY POWER MARYLAND, LLC                                  §                   Lead Case No. 21-13797
                      Debtor(s)                                     §
                                                                                            Jointly Administered

Monthly Operating Report                                                                                                  Chapter 11

Reporting Period Ended: 08/31/2021                                                        Petition Date: 04/20/2021

Months Pending: 4                                                                         Industry Classification:    4   9   1   1

Reporting Method:                              Accrual Basis                         Cash Basis

Debtor's Full-Time Employees (current):                                          0

Debtor's Full-Time Employees (as of date of order for relief):                   0



Supporting Documentation (check all that are attached):
(For jointly administered debtors, any required schedules must be provided on a non-consolidated basis for each debtor)

        Statement of cash receipts and disbursements
        Balance sheet containing the summary and detail of the assets, liabilities and equity (net worth) or deficit
        Statement of operations (profit or loss statement)
        Accounts receivable aging
        Postpetition liabilities aging
        Statement of capital assets
        Schedule of payments to professionals
        Schedule of payments to insiders
        All bank statements and bank reconciliations for the reporting period
        Description of the assets sold or transferred and the terms of the sale or transfer




/s/ Victoria M. Dusch                                                        Victoria M. Dusch
Signature of Responsible Party                                               Printed Name of Responsible Party
09/21/2021
                                                                             2100 W. Cypress Creek Rd. #130
Date
                                                                             Ft. Lauderdale, FL 33309
                                                                             Address



STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.

UST Form 11-MOR (06/07/2021)                                        1
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Debtor's Name LIBERTY POWER HOLDINGS, LLC,                                                           Case No. 21-13797
              LPT, LLC,
Part 1: Cash Receipts and Disbursements                                               Current Month           Cumulative

a.   Cash balance beginning of month                                                           $7,887,965
b.   Total receipts (net of transfers between accounts)                                       $27,577,184            $103,191,168
c.   Total disbursements (net of transfers between accounts)                                  $25,471,661            $109,453,531
d.   Cash balance end of month (a+b-c)                                                         $9,993,489
e.   Disbursements made by third party for the benefit of the estate                                    $0                    $0
f.   Total disbursements for quarterly fee calculation (c+e)                                  $25,471,661            $109,453,531
Part 2: Asset and Liability Status                                                    Current Month
(Not generally applicable to Individual Debtors. See Instructions.)
a. Accounts receivable (total net of allowance)                                               $36,625,373
b.   Accounts receivable over 90 days outstanding (net of allowance)                                    $0
c.   Inventory       ( Book        Market      Other      (attach explanation))                         $0
d    Total current assets                                                                     $58,009,501
e.   Total assets                                                                             $73,112,485
f.   Postpetition payables (excluding taxes)                                                  $45,844,635
g.   Postpetition payables past due (excluding taxes)                                                   $0
h.   Postpetition taxes payable                                                                $2,016,151
i.   Postpetition taxes past due                                                                        $0
j.   Total postpetition debt (f+h)                                                            $47,860,786
k.   Prepetition secured debt                                                                $168,514,125
l.   Prepetition priority debt                                                                          $0
m. Prepetition unsecured debt                                                                 $70,134,326
n.   Total liabilities (debt) (j+k+l+m)                                                      $286,509,237
o.   Ending equity/net worth (e-n)                                                           $-213,396,752

Part 3: Assets Sold or Transferred                                                    Current Month          Cumulative


a.   Total cash sales price for assets sold/transferred outside the ordinary
     course of business                                                                                 $0                    $0
b.   Total payments to third parties incident to assets being sold/transferred
     outside the ordinary course of business                                                            $0                    $0
c.   Net cash proceeds from assets sold/transferred outside the ordinary
     course of business (a-b)                                                                           $0                    $0

Part 4: Income Statement (Statement of Operations)                                   Current Month           Cumulative
(Not generally applicable to Individual Debtors. See Instructions.)
a. Gross income/sales (net of returns and allowances)                                         $30,154,766
b.   Cost of goods sold (inclusive of depreciation, if applicable)                            $44,178,090
c.   Gross profit (a-b)                                                                       $-14,023,324
d.   Selling expenses                                                                          $2,233,732
e.   General and administrative expenses                                                       $1,946,987
f.   Other expenses                                                                                    $0
g.   Depreciation and/or amortization (not included in 4b)                                       $285,967
h.   Interest                                                                                  $1,780,840
i.   Taxes (local, state, and federal)                                                                 $0
j.   Reorganization items                                                                      $1,526,353
k.   Profit (loss)                                                                            $-21,797,203           $-32,541,535


UST Form 11-MOR (06/07/2021)                                           2
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Debtor's Name LIBERTY POWER HOLDINGS, LLC,                                                                      Case No. 21-13797
              LPT, LLC,
Part 5: Professional Fees and Expenses

                                                                                    Approved        Approved        Paid Current       Paid
                                                                                  Current Month    Cumulative          Month         Cumulative
a.       Debtor's professional fees & expenses (bankruptcy) Aggregate Total                  $0                $0         $314,735     $1,576,660
         Itemized Breakdown by Firm
               Firm Name                           Role
         i     Berkeley Research Group             Financial Professional                    $0                $0               $0      $756,577
         ii    Stretto                             Other                                     $0                $0         $196,353      $324,465
         iii   Genovese Joblove & Battista         Lead Counsel                              $0                $0         $118,382      $495,618

                                                                                    Approved        Approved        Paid Current       Paid
                                                                                  Current Month    Cumulative          Month         Cumulative
b.       Debtor's professional fees & expenses (nonbankruptcy) Aggregate Total               $0                $0          $59,622      $157,749
         Itemized Breakdown by Firm
               Firm Name                           Role
         i     Marketwise Consulting               Other                                     $0                $0           $3,030       $40,750
         ii    Eckert Seamans                      Special Counsel                           $0                $0            $874         $5,518
         iii   Holland and Knight                  Special Counsel                           $0                $0          $24,670       $53,717
         iv    Sidley Austin                       Special Counsel                           $0                $0              $0        $19,535
         v     Robinson + Cole                     Special Counsel                           $0                $0          $20,765       $21,251
         vi    Greenberg Grants & Richards Other                                             $0                $0            $262           $405
         vii   I.C. Systems                        Other                                     $0                $0           $1,144        $2,500
         viii L.J. Ross Associates                 Other                                     $0                $0            $247         $5,445
         ix    Topping Kessler & Co                Other                                     $0                $0           $8,629        $8,629
c.       All professional fees and expenses (debtor & committees)                            $0                $0         $374,357    $1,734,709

Part 6: Postpetition Taxes                                                                         Current Month               Cumulative

a.   Postpetition income taxes accrued (local, state, and federal)                                                   $0                        $0
b.   Postpetition income taxes paid (local, state, and federal)                                                      $0                        $0
c.   Postpetition employer payroll taxes accrued                                                                     $0                        $0
d.   Postpetition employer payroll taxes paid                                                                        $0                        $0
e.   Postpetition property taxes paid                                                                                $0                        $0
f.   Postpetition other taxes accrued (local, state, and federal)                                            $1,026,818                $4,720,705
g.   Postpetition other taxes paid (local, state, and federal)                                                $916,151                 $2,825,296

Part 7: Questionnaire - During this reporting period:

a.   Were any payments made on prepetition debt? (if yes, see Instructions)                  Yes        No
b.   Were any payments made outside the ordinary course of business                          Yes        No
     without court approval? (if yes, see Instructions)
c.   Were any payments made to or on behalf of insiders?                                     Yes        No
d.   Are you current on postpetition tax return filings?                                     Yes        No
e.   Are you current on postpetition estimated tax payments?                                 Yes        No
f.   Were all trust fund taxes remitted on a current basis?                                  Yes        No
g.   Was there any postpetition borrowing, other than trade credit?                          Yes        No
     (if yes, see Instructions)


UST Form 11-MOR (06/07/2021)                                                  3
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Debtor's Name LIBERTY POWER HOLDINGS, LLC,                                                            Case No. 21-13797
              LPT, LLC,

h.   Were all payments made to or on behalf of professionals approved by             Yes        No     N/A
     the court?
i.   Do you have:           Worker's compensation insurance?                         Yes        No
                                 If yes, are your premiums current?                  Yes        No     N/A      (if no, see Instructions)
                            Casualty/property insurance?                             Yes        No
                                 If yes, are your premiums current?                  Yes        No     N/A      (if no, see Instructions)
                            General liability insurance?                             Yes        No
                                 If yes, are your premiums current?                  Yes        No     N/A      (if no, see Instructions)
j.   Has a plan of reorganization been filed with the court?                         Yes        No
k.   Has a disclosure statement been filed with the court?                           Yes        No
l.   Are you current with quarterly U.S. Trustee fees as                             Yes        No
     set forth under 28 U.S.C. § 1930?

Part 8: Individual Chapter 11 Debtors (Only)

a.   Gross income (receipts) from salary and wages                                                         $0
b.   Gross income (receipts) from self-employment                                                          $0
c.   Gross income from all other sources                                                                   $0
d.   Total income in the reporting period (a+b+c)                                                          $0
e.   Payroll deductions                                                                                    $0
f.   Self-employment related expenses                                                                      $0
g.   Living expenses                                                                                       $0
h.   All other expenses                                                                                    $0
i.   Total expenses in the reporting period (e+f+g+h)                                                      $0
j.   Difference between total income and total expenses (d-i)                                              $0
k.   List the total amount of all postpetition debts that are past due                                     $0
l. Are you required to pay any Domestic Support Obligations as defined by 11        Yes    No
   U.S.C § 101(14A)?
m. If yes, have you made all Domestic Support Obligation payments?                  Yes    No        N/A




UST Form 11-MOR (06/07/2021)                                             4
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Debtor's Name LIBERTY POWER HOLDINGS, LLC,                                                             Case No. 21-13797
              LPT, LLC,

                                                     Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information, and provision of this information is mandatory under 11 U.S.C.
§§ 704, 1106, and 1107. The United States Trustee will use this information to calculate statutory fee assessments under 28
U.S.C. § 1930(a)(6). The United States Trustee will also use this information to evaluate a chapter 11 debtor's progress
through the bankruptcy system, including the likelihood of a plan of reorganization being confirmed and whether the case is
being prosecuted in good faith. This information may be disclosed to a bankruptcy trustee or examiner when the information
is needed to perform the trustee's or examiner's duties or to the appropriate federal, state, local, regulatory, tribal, or foreign
law enforcement agency when the information indicates a violation or potential violation of law. Other disclosures may be
made for routine purposes. For a discussion of the types of routine disclosures that may be made, you may consult the
Executive Office for United States Trustee's systems of records notice, UST-001, "Bankruptcy Case Files and Associated
Records." See 71 Fed. Reg. 59,818 et seq. (Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://
www.justice.gov/ust/eo/rules_regulations/index.htm. Failure to provide this information could result in the dismissal or
conversion of your bankruptcy case or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.


/s/ Victoria M. Dusch                                                    Victoria M. Dusch
Signature of Responsible Party                                           Printed Name of Responsible Party

Chief Financial Officer                                                  09/17/2021
Title                                                                    Date




UST Form 11-MOR (06/07/2021)                                     5
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In re Liberty Power Holdings, LLC                                                                                                       Case No. 21-13797
                      Debtor                                                                                                            Reporting Period: August 1, 2021 - August 31, 2021
                                                 SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS
                                                                BANK ACCOUNTS                                              CURRENT MONTH                  CUMULATIVE FILING TO DATE
                                      2233         9780            9199         2548        9207        3760 (*)         ACTUAL               PROJECTED       ACTUAL                 PROJECTED

CASH BEGINNING OF MONTH                      0     6,911,169        374,942     278,904      93,240      229,710            7,887,965   n/a                      16,255,852    n/a



RECEIPTS

Customer Collections                27,576,935              -              -            -           -              -       27,576,935   n/a                      99,146,985    n/a

Other Collections                            -            103              -            -           -        146                  249                             4,044,183

  TOTAL RECEIPTS                    27,576,935            103              -            -           -        146           27,577,184   n/a                     103,191,168    n/a



DISBURSEMENTS

Cost of Good Sales                                17,976,821                            -           -              -       17,976,821   n/a                      72,286,123    n/a

Payroll                                                     -       694,710             -           -              -         694,710    n/a                       3,627,603    n/a

Commissions                                                 -       800,068             -           -              -         800,068    n/a                       3,973,911    n/a

TDSP                                                        -     2,177,460             -           -              -        2,177,460   n/a                       7,766,620    n/a

Administrative Expenses                                     -     1,195,262             -           -              -        1,195,262   n/a                       7,885,884    n/a

Sales Tax                                                   -     1,023,364             -           -              -        1,023,364   n/a                       3,083,685    n/a

Professional Fees                            -       23,225       1,330,000             -           -              -        1,353,225   n/a                       6,478,209    n/a

DIP Repayment                                -              -                           -           -              -                -   n/a                       4,000,000    n/a

Contingency                                                                -                                       -                -                              100,745

US Trustee                                                          250,750                                                  250,750                               250,750
  TOTAL DISBURSEMENTS                        -    18,000,047      7,471,615             -           -              -       25,471,661   n/a                     109,453,531    n/a



TRANSFERS

From 2233 to 9780                   27,576,935   (27,576,935)                           -           -              -                -

From 9780 to 9199                                  7,178,265      (7,178,265)           -           -              -                -
  TOTAL TRANSFERS                   27,576,935   (20,398,670)     (7,178,265)           -           -              -                -



NET CASH FLOW                                                                                                                       -   n/a                               -    n/a

(RECEIPTS LESS DISBURSEMENTS)                -     2,398,726       (293,349)            -           -        146            2,105,523                            (6,262,363)


CASH - END OF MONTH                          0     9,309,895         81,593     278,904      93,240      229,856            9,993,489   n/a                       9,993,489    n/a


(*) Account 3760 - Resctricted cash of $4,145,725 not included in this schedule.
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In re Liberty Power Holdings, LLC                                                                                    Case No. 21-13797
                                    Debtor                                                                           Reporting Period: August 2021


                                                                       BALANCE SHEET

                                                                                   BOOK VALUE AT END OF                      BOOK VALUE ON
                                 ASSETS                                       CURRENT REPORTING MONTH                        PETITION DATE
CURRENT ASSETS
Unrestricted Cash and Equivalents                                                                        9,993,489                                    16,260,881
Restricted Cash and Cash Equivalents (see continuation sheet)                                            4,145,725                                     4,145,725
Accounts Receivable (Net)                                                                               36,625,373                                    25,122,477
Notes Receivable                                                                                                                                               0
Inventories                                                                                                                                                    0
Prepaid Expenses                                                                                         6,694,914                                     6,807,444
Professional Retainers                                                                                    550,000                                        500,000
Other Current Assets (attach schedule)                                                                                                                         0
TOTAL CURRENT ASSETS                                                                                    58,009,501                                    52,836,527
PROPERTY AND EQUIPMENT
Real Property and Improvements                                                                                                                                 0
Machinery and Equipment                                                                                                                                        0
Furniture, Fixtures and Office Equipment                                                                                                                       0
Leasehold Improvements                                                                                                                                         0
Vehicles                                                                                                                                                       0
Less Accumulated Depreciation                                                                                                                                  0
TOTAL PROPERTY & EQUIPMENT                                                                                      0                                              0
OTHER ASSETS
Loans to Insiders*                                                                                                                                             0
Other Assets (attach schedule)                                                                          15,102,984                                    14,932,393
TOTAL OTHER ASSETS                                                                                      15,102,984                                    14,932,393


TOTAL ASSETS                                                                                            73,112,485                                    67,768,920


                                                                           BOOK VALUE AT END OF                              BOOK VALUE ON
                 LIABILITIES AND OWNER EQUITY                            CURRENT REPORTING MONTH                             PETITION DATE
LIABILITIES NOT SUBJECT TO COMPROMISE (Postpetition)
Accounts Payable                                                                                                0                                              0
Taxes Payable (refer to FORM MOR-4)                                                                      2,016,151                                             0
Wages Payable                                                                                                   0                                              0
Notes Payable                                                                                                   0                                              0
Rent / Leases - Building/Equipment                                                                              0                                              0
Secured Debt / Adequate Protection Payments                                                             28,228,539                                             0
Professional Fees                                                                                               0                                              0
Amounts Due to Insiders*                                                                                        0                                              0
Other Postpetition Liabilities (attach schedule)                                                        17,616,096                                             0
TOTAL POSTPETITION LIABILITIES                                                                          47,860,786                                             0
LIABILITIES SUBJECT TO COMPROMISE (Pre-Petition)
Secured Debt                                                                                           168,514,125                                   190,527,539
Priority Debt                                                                                                   0                                      1,205,753
Unsecured Debt                                                                                          70,134,326                                    56,890,845
TOTAL PRE-PETITION LIABILITIES                                                                         238,648,451                                   248,624,138


TOTAL LIABILITIES                                                                                      286,509,237                                   248,624,138
OWNER EQUITY
Capital Stock                                                                                                                                                  0
Additional Paid-In Capital                                                                                                                                     0
Partners' Capital Account                                                                                                                                      0
Owner's Equity Account                                                                                                                                         0
Retained Earnings - Pre-Petition                                                                      -180,855,218                                   -180,855,218
Retained Earnings - Postpetition                                                                       -32,541,535                                             0
Adjustments to Owner Equity (attach schedule)                                                                                                                  0
Postpetition Contributions (Distributions) (Draws) (attach schedule)                                                                                           0
NET OWNER EQUITY                                                                                      -213,396,752                                   -180,855,218


TOTAL LIABILITIES AND OWNERS' EQUITY                                                                    73,112,485                                    67,768,920
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In re Liberty Power Holdings, LLC                                               Case No. 21-13797
                     Debtor                                                     Reporting Period: August 2021

                                              STATEMENT OF OPERATIONS
                                                          (Income Statement)

                                                                                                                 Cumulative
REVENUES                                                                        Month                           Filing to Date
Gross Revenues                                                                                30,154,766                106,266,437
Less: Returns and Allowances
Net Revenue                                                                                   30,154,766               106,266,437
COST OF GOODS SOLD
Beginning Inventory
Add: Purchases
Add: Cost of Labor
Add: Other Costs (attach schedule)
Less: Ending Inventory
Cost of Goods Sold                                                                            44,178,090               104,764,831
Gross Profit                                                                                 -14,023,324                 1,501,606
OPERATING EXPENSES
Advertising                                                                                            0                         0
Auto and Truck Expense                                                                                 0                         0
Bad Debts                                                                                        495,870                 1,387,144
Contributions                                                                                          0                         0
Employee Benefits Programs                                                                             0                    24,241
Insider Compensation*                                                                                  0                         0
Insurance                                                                                         24,246                    39,856
Management Fees/Bonuses                                                                                0                         0
Office Expense                                                                                       679                     4,883
Pension & Profit-Sharing Plans                                                                         0                         0
Repairs and Maintenance                                                                            8,712                   106,824
Rent and Lease Expense                                                                            40,829                   204,021
Salaries/Commissions/Fees                                                                              0                         0
Supplies                                                                                               0                         0
Taxes - Payroll                                                                                        0                         0
Taxes - Real Estate                                                                                    0                         0
Taxes - Other                                                                                     61,008                   378,526
Travel and Entertainment                                                                               0                        13
Utilities                                                                                         17,079                   184,409
Other (attach schedule)                                                                        3,532,297                14,009,996
Total Operating Expenses Before Depreciation                                                   4,180,719                16,339,913
Depreciation/Depletion/Amortization                                                              285,967                 1,334,988
Net Profit (Loss) Before Other Income & Expenses                                             -18,490,010               -16,173,295
OTHER INCOME AND EXPENSES
Other Income (attach schedule)
Interest Expense                                                                               1,780,840                 9,543,024
Other Expense (attach schedule)
Net Profit (Loss) Before Reorganization Items                                                -20,270,850               -25,716,319
REORGANIZATION ITEMS
Professional Fees                                                                              1,526,353                 6,446,353
U. S. Trustee Quarterly Fees                                                                           0                   250,750
Interest Earned on Accumulated Cash from Chapter 11 (see continuation sheet)
Gain (Loss) from Sale of Equipment
Other Reorganization Expenses (attach schedule)                                                        0                   128,112
Total Reorganization Expenses
Income Taxes
Net Profit (Loss)                                                                            -21,797,203               -32,541,535
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                                                                                             July 31, 2021 through August 31, 2021
      JPMorgan Chase Bank, N.A.
                                                                                       Account Number:                         2233
      P O Box 182051
      Columbus, OH 43218 - 2051
                                                                                         Customer Service Information

                                                                                    If you have any questions about your
                                                                                    statement, please contact your
                                                                                    Customer Service Professional.
     00026803 WBS 201 211 24421 NNNNNNNNNNN    1 000000000 C2 0000


     LIBERTY POWER HOLDINGS LLC

     LOCKBOX BLOCKED ACCOUNT

     2100 W CYPRESS CREEK RD STE 130

     FORT LAUDERDALE FL 33309




                                                                                                                                            00268033301000000025
                          IMPORTANT DISCLOSURES REGARDING SWEEP ACCOUNTS



    As an industry leader, JPMorgan Chase Bank, N.A. (the Bank) recognizes the importance of healthy and transparent

    financial markets. In accordance with requirements of the Federal Deposit Insurance Corporation (FDIC), we are

    required to provide to you the disclosures below. The below disclosures apply to each of your account(s) maintained at

    the Bank by the same legal entity. Please refer to your legal agreement or sweep statement to identify your sweep

    service with the Bank. If you have further questions, please contact your banking representative.




    End-of-Day Investment Sweeps ( JPMorgan Chase Bank, N.A. London Branch, International Banking Facility
    (IBF), and/or Fed Funds Purchased), US Dollar Pooling & Cross Border Sweeps                     In the event of a failure of the

    Bank, funds swept offshore or to the London Branch Deposit Investment Vehicle, IBF Investment Vehicle or the Fed

    Funds Investment Vehicle, as reflected on the Banks end-of-day ledger balance, would not be considered deposits by

    the FDIC, and the beneficial owner of such funds would be treated as an unsecured general creditor of the receivership

    estate of the Bank.




    Intra-day & End-of-Day Investment Sweep  JPMorgan Money Market Funds
    In the event of a failure of the Bank, funds swept to a money market fund, as reflected on the Banks end-of-day ledger

    balance, would not be considered deposits by the FDIC. However, the FDIC would treat the beneficial owners swept

    funds in one of two ways: (a) if the failed Banks assets were transferred to an acquiring institution, the swept funds

    would be returned back into the beneficial owners deposit account on the business day following the failure of the Bank;

    or (b) if the failed Bank will be dissolved, the beneficial owner would receive a check or other payment from the FDIC to

    reacquire the beneficial owners allotted interest in the money market fund in accordance with the FDICs normal

    procedures.




* Annual Percentage Yield Earned - the percentage rate earned if balances remain on deposit for a full year with compounding, no

change in the interest rate and all interest rate and all interest is left in the account.




Please examine this statement of account at once.       By continuing to use the account, you agree that: (1) the account is subject to

the Bank's deposit account agreement, and (2) the Bank has no responsibility for any error in or improper charge to the account

(including any unauthorized or altered check) unless you notify us in writing of this error or charge within sixty days of the mailing or

availability of the first statement on which the error or charge appears.
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                                                                                           July 31, 2021 through August 31, 2021
                                                                                         Account Number:                     2233




   Intra-day Investment Sweep  Third Party Money Market Funds (Invesco, Blackrock, Dreyfus, Federated,
   Fidelity, Goldman Sachs, & Morgan Stanley)
   In the event of a failure of the Bank, funds swept to a money market fund (whether the sweep actually occurs will

   depend on the transaction cut-off time used by the FDIC), as reflected on the Banks end-of-day ledger balance, would

   not be considered deposits by the FDIC.      However, the FDIC would treat the beneficial owners swept funds in one of

   two ways: (a) if the failed Banks assets were transferred to an acquiring institution, the swept funds would be returned

   back into the beneficial owners deposit account on the business day following the failure of the Bank; or (b) if the failed

   Bank will be dissolved, the beneficial owner would receive a check or other payment from the FDIC to reacquire the

   beneficial owners allotted interest in the money market fund in accordance with the FDICs normal procedures. If the

   funds are not swept, such funds would remain in the deposit account, be treated as deposits, and be insured under the

   applicable insurance rules and limits of the FDIC.




   End-of-Day Loan Sweep & Fed Funds Borrowed Sweep
   In the event of a failure of the Bank, funds swept as part of the Loan Payment Option, or the pay down component of

   the Loan Borrowing and Payment Option or the payment component of Fed Funds Borrowed, as reflected on the

   Banks end-of-day ledger balance, would not be considered deposits by the FDIC, but such swept funds would reduce

   the loan balance or Fed Funds Borrowed balance owed by the customer to the receivership estate of the Bank.




   Physical Cash Concentration (In-Country Sweeps, Cross Currency Sweeps & Just In Time Funding (JIT))
   In the event of a failure of the Bank, funds transferred as part of a cash concentration product will be considered

   deposits of the account in which the funds are held, as reflected on the Banks end-of-day ledger balance, by the FDIC

   after completion of all transactions related to the cash concentration product and will be insured by the FDIC under its

   applicable insurance rules up to applicable limits.




   Multibank Sweep
   In the event of a failure of the Bank, (a) funds transferred from the Master Account at JPMorgan as part of the

   Multibank Sweep Service (whether the transfer actually occurs will depend on the transaction cut-off time used by the

   FDIC, as reflected on the Banks end-of-day ledger balance) would not be considered deposits of the Bank by the FDIC.

   If the funds are transferred from the Bank, the FDIC would treat the funds as deposits at the Participant Account Bank,

   subject to applicable insurance (if any) rules and limits of the FDIC.    If the funds are not transferred from the Bank, such

   funds would remain on deposit in the Master Account, be treated as deposits at the Bank, and be insured under the

   applicable rules and limits of the FDIC. (b) Funds transferred to the Bank from the Participant Account Bank as part of

   the Multibank Sweep Service will be treated as deposits in the Master Account, as reflected on the Banks end-of-day

   ledger balance, and would be insured under the applicable rules and limits of the FDIC.




   Multibank Sweep Third Party Bank Master
   In the event of a failure of the Bank, (a) funds transferred from the Participant Account at the Bank as part of the

   Multibank Sweep Service (whether the transfer actually occurs will depend on the transaction cut-off time used by the

   FDIC, as reflected on the Banks end-of-day ledger balance) would not be considered deposits of the Bank by the FDIC.

   If the funds are transferred from the Bank, the FDIC would treat the funds as deposits at the Master Account Bank,

   subject to applicable insurance (if any) rules and limits of the FDIC.    If the funds are not transferred from the Bank, such

   funds would remain on deposit in the Participant Account, be treated as deposits at the Bank, and be insured under the

   applicable rules and limits of the FDIC.   (b) Funds transferred to the Bank from the Master Account Bank as part of the

   Service will be treated as deposits in the Participant Account, as reflected on the Bank end-of-day ledger balance, and

   would be insured under the applicable rules and limits of the FDIC.




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   and regulations and service terms.


Commercial Checking

Summary
                                                                 Number                      Market Value/Amount                    Shares


Opening Ledger Balance                                                                                   $0.00



Deposits and Credits                                               875                        $27,582,675.22



Withdrawals and Debits                                               33                       $27,582,675.22



Checks Paid                                                           0                                  $0.00



Ending Ledger Balance                                                                                    $0.00

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                                                                           Account Number:                      2233




Deposits and Credits

Ledger     Description                                                                                                 Amount
Date

08/02      Lockbox No: 25901 For 286 Items At 16:00 5 Trn: 2100164214Lb                                      $153,930.25


08/02      Orig CO Name:Comed                 Orig ID:P360938600 Desc Date:210729                                57,194.68

           CO Entry Descr:Ucbpor_Paysec:CCD        Trace#:111000023353664

           Eed:210802    Ind ID:784087293               Ind Name:

           Rmr*IV*Cp00692950911480002032 Trn: 2113353664Tc




                                                                                                                                10268033302000000065
08/02      Orig CO Name:Engie Insight          Orig ID:1911701028 Desc Date:       CO                            52,185.44

           Entry Descr:820EFT0001Sec:CCD         Trace#:111000013353685 Eed:210802

           Ind ID:Ef1073011441108             Ind Name:Liberty Power Holdings

           Rmr*IV*43953604111                 **716.29**\Dtm*003*20210802**\ Trn:

           2113353685Tc


08/02      Orig CO Name:Peco Energy Comp           Orig ID:1230970240 Desc                                       34,770.90

           Date:210729 CO Entry Descr:Pecochoicesec:CCD

           Trace#:111000013353661 Eed:210802        Ind ID:784087293               Ind

           Name:                   Rmr*IV*Liberty80042622 Trn: 2113353661Tc


08/02      Orig CO Name:International PA        Orig ID:1130872805 Desc Date:       CO                           33,589.70

           Entry Descr:Trade Pay Sec:CCD       Trace#:043000263353676 Eed:210802

           Ind ID:                  Ind Name:Liberty Power Holdings

           Direct Deposit Trn: 2113353676Tc


08/02      Orig CO Name:Ameren                Orig ID:3006936017 Desc Date:       CO                             31,858.13

           Entry Descr:Acctspay   Sec:CCD     Trace#:042000013353659 Eed:210802

           Ind ID:                  Ind Name:Liberty Power Holdings Trn:

           2113353659Tc


08/02      Orig CO Name:Pseg                 Orig ID:1221212800 Desc Date:210821 CO                              31,775.13

           Entry Descr:Pseg    Sec:CCD       Trace#:021000023353674 Eed:210802        Ind

           ID:006500052307              Ind Name:Liberty P210821210802S

           Direct Deposit Trn: 2113353674Tc


08/02      Orig CO Name:Ppl Electric Uti      Orig ID:Fp20001802 Desc Date:       CO                             29,089.01

           Entry Descr:EDI Paymtssec:CTX       Trace#:031000034586934 Eed:210802

           Ind ID:75                 Ind Name:0009Liberty Power Ho Trn:

           2144586934Tc


08/02      Orig CO Name:Central Maine PO         Orig ID:3141798693 Desc Date:         CO                        21,971.03

           Entry Descr:Achpaymentsec:CTX        Trace#:211274454586927 Eed:210802

           Ind ID:931013600012523             Ind Name:0001Liberty Power Ho

           Zz9310Supa21080201 Trn: 2144586927Tc


08/02      Orig CO Name:Ameren                Orig ID:3006936017 Desc Date:       CO                             21,788.34

           Entry Descr:Acctspay   Sec:CCD     Trace#:042000013353657 Eed:210802

           Ind ID:                  Ind Name:Liberty Power Holdings Trn:

           2113353657Tc


08/02      Orig CO Name:Natgridusaservco         Orig ID:1041663150 Desc Date:        CO                         18,605.04

           Entry Descr:Narragansesec:CTX       Trace#:028000084586919 Eed:210802

           Ind ID:81001765682022              Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2144586919Tc


08/02      Orig CO Name:ACH Processing           Orig ID:2731733336 Desc Date:        CO                         11,991.99

           Entry Descr:8887465741Sec:CCD        Trace#:104000014586900 Eed:210802

           Ind ID:17254173                 Ind Name:Jazx ACH Processing

           8887465741 Trn: 2144586900Tc


08/02      Orig CO Name:Natgridusaservco         Orig ID:1041663150 Desc Date:        CO                         11,356.90

           Entry Descr:Massachusesec:CTX        Trace#:028000084586911 Eed:210802

           Ind ID:81001765692022              Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2144586911Tc


08/02      Orig CO Name:American Express          Orig ID:1134992250 Desc Date:210731                              9,632.26

           CO Entry Descr:Settlementsec:CCD       Trace#:091000014586961 Eed:210802

           Ind ID:2582312351                Ind Name:       2582312351

           Payment Date   21214 Trn: 2144586961Tc


08/02      Orig CO Name:Pseg                 Orig ID:1221212800 Desc Date:210821 CO                                9,358.50

           Entry Descr:Pseg    Sec:CCD       Trace#:021000023353672 Eed:210802        Ind

           ID:006500052307              Ind Name:Liberty P210821210802S

           Direct Deposit Trn: 2113353672Tc


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Deposits and Credits         (continued)

Ledger     Description                                                                                                    Amount
Date

08/02      Orig CO Name:ACH Processing               Orig ID:2731733336 Desc Date:         CO                         9,131.46

           Entry Descr:8887465741Sec:CCD           Trace#:104000014586901 Eed:210802

           Ind ID:17254207                   Ind Name:Jazx ACH Processing

           8887465741 Trn: 2144586901Tc


08/02      Orig CO Name:Moneygram P Sys               Orig ID:3841327808 Desc                                         8,369.66

           Date:073021 CO Entry Descr:Mg Settle Sec:PPD           Trace#:043000263353680

           Eed:210802     Ind ID:101070032                 Ind Name:Liberty Power

           Holdings      101070032,120475998 Trn: 2113353680Tc


08/02      Orig CO Name:Ameren                   Orig ID:3006936017 Desc Date:        CO                              7,486.39

           Entry Descr:Acctspay      Sec:CCD     Trace#:042000013353658 Eed:210802

           Ind ID:                     Ind Name:Liberty Power Holdings Trn:

           2113353658Tc


08/02      Orig CO Name:Firstenergy Serv           Orig ID:1341968288 Desc Date:210731                                6,833.39

           CO Entry Descr:Payments         Sec:CCD     Trace#:021000023353669

           Eed:210802     Ind ID:000000250206905               Ind Name:Liberty Power

           Holdings Trn: 2113353669Tc


08/02      Orig CO Name:Ipay Solutions            Orig ID:9Zzzzzzzzz Desc Date:073021                                 5,419.59

           CO Entry Descr:Bill Pmt     Sec:CCD       Trace#:242071753353678 Eed:210802

           Ind ID:Bill Pmt                 Ind Name:Liberty Power

           866-454-6277 Trn: 2113353678Tc


08/02      Orig CO Name:American Express             Orig ID:1134992250 Desc Date:210730                              5,272.09

           CO Entry Descr:Settlementsec:CCD           Trace#:091000014586951 Eed:210802

           Ind ID:2582312351                  Ind Name:         2582312351

           Payment Date      21212 Trn: 2144586951Tc


08/02      Orig CO Name:Fidelity Express          Orig ID:2751413801 Desc Date:Aug 21                                 4,711.57

           CO Entry Descr:Bill Pay     Sec:CCD     Trace#:096016933353655 Eed:210802

           Ind ID:9003242                   Ind Name:Liberty Power Trn: 2113353655Tc


08/02      Orig CO Name:Dlco Por                Orig ID:3007915606 Desc Date:         CO                              4,140.55

           Entry Descr:EDI Paymtssec:CCD          Trace#:043000263353667 Eed:210802

           Ind ID:2021-07-30.00.0              Ind Name:Liberty Power Holdings Trn:

           2113353667Tc


08/02      Orig CO Name:Amer Elec 8152               Orig ID:1314271000 Desc Date:Jul 30                              3,945.48

           CO Entry Descr:EDI Paymntsec:CTX            Trace#:031100204586881

           Eed:210802     Ind ID:Ap003952854                 Ind Name:0008Liberty Power

           Ho Trn: 2144586881Tc


08/02      Orig CO Name:Natgridusaservco             Orig ID:1041663150 Desc Date:         CO                         3,942.42

           Entry Descr:Niagara Mosec:CTX         Trace#:028000084586903 Eed:210802

           Ind ID:81001765702022                Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2144586903Tc


08/02      Orig CO Name:Cass Info. Carr.          Orig ID:9000002001 Desc Date:210730                                 2,860.85

           CO Entry Descr:Conc Acctssec:CCD           Trace#:081000603353683

           Eed:210802     Ind ID:Liber60673B                Ind Name:Liberty Power Trn:

           2113353683Tc


08/02      Orig CO Name:Amer Elec 8152               Orig ID:1314271000 Desc Date:Jul 30                              2,606.37

           CO Entry Descr:EDI Paymntsec:CTX            Trace#:031100204586890

           Eed:210802     Ind ID:Ap003952855                 Ind Name:0008Liberty Power

           Ho Trn: 2144586890Tc


08/02      Orig CO Name:Rochester Gas &              Orig ID:9107592901 Desc Date:         CO                         2,369.52

           Entry Descr:Achpaymentsec:CTX          Trace#:021000024586945 Eed:210802

           Ind ID:930213600016508                Ind Name:0002Liberty Power Ho

           Zz9302Supa21080201 Trn: 2144586945Tc


08/02      Orig CO Name:NY State Electri          Orig ID:1150398550 Desc Date:        CO                                 948.15

           Entry Descr:Achpaymentsec:CTX          Trace#:028000084586930 Eed:210802

           Ind ID:930113600025503                Ind Name:0002Liberty Power Ho

           Zz9301Supa21080201 Trn: 2144586930Tc




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Deposits and Credits       (continued)

Ledger     Description                                                                                                   Amount
Date

08/02      Orig CO Name:Bal Gas&Elec             Orig ID:1520280210 Desc Date:Aug 02                                     381.32

           CO Entry Descr:EDI Paymntsec:CTX         Trace#:031100204586871

           Eed:210802     Ind ID:0000297862               Ind Name:0008Liberty Power

           MA Trn: 2144586871Tc




                                                                                                                                  10268033303000000065
08/02      Orig CO Name:Capturis              Orig ID:2431879364 Desc Date:210730 CO                                     378.40

           Entry Descr:Bill Pay   Sec:CTX     Trace#:042000014586953 Eed:210802         Ind

           ID:4363                  Ind Name:0006Liberty Power Ho Trn: 2144586953Tc


08/02      Orig CO Name:American Express           Orig ID:1134992250 Desc Date:210801                                   371.99

           CO Entry Descr:Settlementsec:CCD         Trace#:091000014586949 Eed:210802

           Ind ID:2582312351                 Ind Name:       2582312351

           Payment Date     21214 Trn: 2144586949Tc


08/02      Orig CO Name:Firstenergy Serv         Orig ID:1341968288 Desc Date:210731                                     100.80

           CO Entry Descr:Payments       Sec:CCD    Trace#:021000023353670

           Eed:210802     Ind ID:000000250206906            Ind Name:Liberty Power

           Holdings Trn: 2113353670Tc


08/03      Lockbox No: 25901 For 142 Items At 16:00 5 Trn: 2101176215Lb                                            68,314.11


08/03      Orig CO Name:Comed                  Orig ID:P360938600 Desc Date:210730                               219,284.92

           CO Entry Descr:Ucbpor_Paysec:CCD          Trace#:111000026453725

           Eed:210803     Ind ID:784087293               Ind Name:

           Rmr*IV*Cp00692950911480002033 Trn: 2146453725Tc


08/03      Orig CO Name:Nstar Electric -        Orig ID:1041278810 Desc Date:        CO                          142,516.50

           Entry Descr:Corp Pymntsec:CTX        Trace#:051000019698340 Eed:210803

           Ind ID:6445721                  Ind Name:0007Liberty Power Ho Trn:

           2159698340Tc


08/03      Orig CO Name:Ppl Electric Uti       Orig ID:Fp20001802 Desc Date:        CO                           118,339.91

           Entry Descr:EDI Paymtssec:CTX        Trace#:031000039698245 Eed:210803

           Ind ID:106                    Ind Name:0009Liberty Power Ho Trn:

           2159698245Tc


08/03      Orig CO Name:Pseg                  Orig ID:1221212800 Desc Date:220821 CO                               54,605.53

           Entry Descr:Pseg       Sec:CCD     Trace#:021000026453744 Eed:210803         Ind

           ID:006500052307                Ind Name:Liberty P220821210803S

           Direct Deposit Trn: 2146453744Tc


08/03      Orig CO Name:ACH Processing             Orig ID:2731733336 Desc Date:        CO                         49,604.60

           Entry Descr:8887465741Sec:CCD         Trace#:104000019698360 Eed:210803

           Ind ID:17261932                  Ind Name:Jazx ACH Processing

           8887465741 Trn: 2159698360Tc


08/03      Orig CO Name:Natgridusaservco           Orig ID:1041663150 Desc Date:        CO                         45,124.65

           Entry Descr:Narragansesec:CTX        Trace#:028000089698384 Eed:210803

           Ind ID:81001830432022               Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2159698384Tc


08/03      Orig CO Name:Firstenergy Serv         Orig ID:1341968288 Desc Date:210803                               41,495.78

           CO Entry Descr:Payments       Sec:CCD    Trace#:021000026453731

           Eed:210803     Ind ID:000000250257952            Ind Name:Liberty Power

           Holdings Trn: 2146453731Tc


08/03      Orig CO Name:Firstenergy Serv         Orig ID:1341968288 Desc Date:210803                               38,670.58

           CO Entry Descr:Payments       Sec:CCD    Trace#:021000026453733

           Eed:210803     Ind ID:000000250257954            Ind Name:Liberty Power

           Holdings Trn: 2146453733Tc


08/03      Orig CO Name:Moneygram P Sys             Orig ID:3841327808 Desc                                        28,804.42

           Date:080221 CO Entry Descr:Mg Settle Sec:PPD        Trace#:043000266453751

           Eed:210803     Ind ID:101070032               Ind Name:Liberty Power

           Holdings      101070032,120495990,120487899,12050 5000 Trn:

           2146453751Tc


08/03      Orig CO Name:Exelon                Orig ID:8188490880 Desc Date:        CO                              25,091.63

           Entry Descr:Corp Pymntsec:CTX        Trace#:111000029698328 Eed:210803

           Ind ID:0000218726                 Ind Name:0010Liberty Power CO Trn:

           2159698328Tc




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Deposits and Credits         (continued)

Ledger     Description                                                                                                    Amount
Date

08/03      Orig CO Name:International PA          Orig ID:1130872805 Desc Date:        CO                           23,078.11

           Entry Descr:Trade Pay Sec:CCD         Trace#:043000266453746 Eed:210803

           Ind ID:                     Ind Name:Liberty Power Holdings

           Direct Deposit Trn: 2146453746Tc


08/03      Orig CO Name:Peco Energy Comp               Orig ID:1230970240 Desc                                      21,905.57

           Date:210730 CO Entry Descr:Pecochoicesec:CCD

           Trace#:111000016453748 Eed:210803            Ind ID:784087293              Ind

           Name:                      Rmr*IV*Liberty80042623 Trn: 2146453748Tc


08/03      Orig CO Name:Exelon                  Orig ID:8188490866 Desc Date:        CO                             21,810.06

           Entry Descr:Corp Pymntsec:CTX         Trace#:111000029698317 Eed:210803

           Ind ID:0000211319                  Ind Name:0009Liberty Power Ho Trn:

           2159698317Tc


08/03      Orig CO Name:Fidelity Express          Orig ID:2751413801 Desc Date:Aug 21                               19,037.84

           CO Entry Descr:Bill Pay     Sec:CCD     Trace#:096016936453723 Eed:210803

           Ind ID:9003242                   Ind Name:Liberty Power Trn: 2146453723Tc


08/03      Orig CO Name:Natgridusaservco             Orig ID:1041663150 Desc Date:        CO                        17,504.41

           Entry Descr:Narragansesec:CTX         Trace#:028000089698377 Eed:210803

           Ind ID:81001830422022                Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2159698377Tc


08/03      Orig CO Name:Bal Gas&Elec              Orig ID:1520280210 Desc Date:Aug 03                               16,469.04

           CO Entry Descr:EDI Paymntsec:CTX            Trace#:031100209698256

           Eed:210803    Ind ID:0000298089                  Ind Name:0008Liberty Power

           MA Trn: 2159698256Tc


08/03      Orig CO Name:Engie Insight            Orig ID:1911701028 Desc Date:        CO                            13,908.75

           Entry Descr:820EFT0001Sec:CCD             Trace#:111000016453728 Eed:210803

           Ind ID:Ef1080211391105               Ind Name:Liberty Power Holdings

           Rmr*IV*88619479066                    **7882.33**\Dtm*003*20210803**\ Trn:

           2146453728Tc


08/03      Orig CO Name:Ipay Solutions           Orig ID:9Zzzzzzzzz Desc Date:080221                                13,722.83

           CO Entry Descr:Bill Pmt     Sec:CCD       Trace#:242071756453721 Eed:210803

           Ind ID:Bill Pmt                 Ind Name:Liberty Power

           866-454-6277 Trn: 2146453721Tc


08/03      Orig CO Name:Central Maine PO             Orig ID:3141798693 Desc Date:        CO                        11,188.56

           Entry Descr:Achpaymentsec:CTX          Trace#:211274459698349 Eed:210803

           Ind ID:931013600012672               Ind Name:0001Liberty Power Ho

           Zz9310Supa21080301 Trn: 2159698349Tc


08/03      Orig CO Name:Exelon                  Orig ID:8188490861 Desc Date:        CO                             10,296.01

           Entry Descr:Corp Pymntsec:CTX         Trace#:111000029698306 Eed:210803

           Ind ID:0000213551                  Ind Name:0009Liberty Power MA Trn:

           2159698306Tc


08/03      Orig CO Name:ACH Processing               Orig ID:2731733336 Desc Date:        CO                          9,466.30

           Entry Descr:8887465741Sec:CCD           Trace#:104000019698361 Eed:210803

           Ind ID:17262045                   Ind Name:Jazx ACH Processing

           8887465741 Trn: 2159698361Tc


08/03      Orig CO Name:Firstenergy Serv          Orig ID:1341968288 Desc Date:210803                                 8,346.48

           CO Entry Descr:Payments         Sec:CCD     Trace#:021000026453736

           Eed:210803    Ind ID:000000250257957               Ind Name:Liberty Power Trn:

           2146453736Tc


08/03      Orig CO Name:Firstenergy Serv          Orig ID:1341968288 Desc Date:210803                                 7,781.43

           CO Entry Descr:Payments         Sec:CCD     Trace#:021000026453735

           Eed:210803    Ind ID:000000250257956               Ind Name:Liberty Power

           Holdings Trn: 2146453735Tc


08/03      Orig CO Name:Cass Info. Carr.          Orig ID:9000002001 Desc Date:210802                                 7,617.02

           CO Entry Descr:Conc Acctssec:CCD           Trace#:081000609698294

           Eed:210803    Ind ID:Liber60673B                Ind Name:Liberty Power Trn:

           2159698294Tc




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Deposits and Credits     (continued)

Ledger     Description                                                                                                 Amount
Date

08/03      Orig CO Name:Ameren                Orig ID:3006936017 Desc Date:       CO                               7,455.67

           Entry Descr:Acctspay   Sec:CCD     Trace#:042000016453739 Eed:210803

           Ind ID:                  Ind Name:Liberty Power Holdings Trn:

           2146453739Tc




                                                                                                                                10268033304000000065
08/03      Orig CO Name:Firstenergy Serv         Orig ID:1341968288 Desc Date:210803                               7,188.64

           CO Entry Descr:Payments     Sec:CCD     Trace#:021000026453732

           Eed:210803    Ind ID:000000250257953            Ind Name:Liberty Power

           Holdings Trn: 2146453732Tc


08/03      Orig CO Name:Ameren                Orig ID:3006936017 Desc Date:       CO                               7,015.57

           Entry Descr:Acctspay   Sec:CCD     Trace#:042000016453738 Eed:210803

           Ind ID:                  Ind Name:Liberty Power Holdings Trn:

           2146453738Tc


08/03      Orig CO Name:Natgridusaservco         Orig ID:1041663150 Desc Date:         CO                          6,801.48

           Entry Descr:Niagara Mosec:CTX      Trace#:028000089698363 Eed:210803

           Ind ID:81001830442022             Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2159698363Tc


08/03      Orig CO Name:Exelon               Orig ID:8188490861 Desc Date:        CO                               6,502.89

           Entry Descr:Corp Pymntsec:CTX      Trace#:111000029698296 Eed:210803

           Ind ID:0000213546               Ind Name:0009Liberty Power Ho Trn:

           2159698296Tc


08/03      Orig CO Name:Bal Gas&Elec             Orig ID:1520280210 Desc Date:Aug 03                               6,412.21

           CO Entry Descr:EDI Paymntsec:CTX        Trace#:031100209698265

           Eed:210803    Ind ID:0000298090               Ind Name:0008Liberty Power

           MA Trn: 2159698265Tc


08/03      Orig CO Name:Firstenergy Serv         Orig ID:1341968288 Desc Date:210803                               5,357.12

           CO Entry Descr:Payments     Sec:CCD     Trace#:021000026453734

           Eed:210803    Ind ID:000000250257955            Ind Name:Liberty Power

           Holdings Trn: 2146453734Tc


08/03      Orig CO Name:Amer Elec 8152           Orig ID:1314271000 Desc Date:Aug 02                               3,422.21

           CO Entry Descr:EDI Paymntsec:CTX        Trace#:031100209698284

           Eed:210803    Ind ID:Ap003953812              Ind Name:0008Liberty Power

           Ho Trn: 2159698284Tc


08/03      Orig CO Name:Community Action          Orig ID:2751226261 Desc Date:                                    2,802.64

           CO Entry Descr:Corp Pay     Sec:CCD     Trace#:062000016453742 Eed:210803

           Ind ID:Liberty Power          Ind Name:Liberty Power Holdings Trn:

           2146453742Tc


08/03      Orig CO Name:Amer Elec 8152           Orig ID:1314271000 Desc Date:Aug 02                               1,976.23

           CO Entry Descr:EDI Paymntsec:CTX        Trace#:031100209698275

           Eed:210803    Ind ID:Ap003953811              Ind Name:0008Liberty Power

           Ho Trn: 2159698275Tc


08/03      Orig CO Name:NY State Electri       Orig ID:1150398550 Desc Date:        CO                             1,079.47

           Entry Descr:Achpaymentsec:CTX       Trace#:028000089698352 Eed:210803

           Ind ID:930113600025719             Ind Name:0002Liberty Power Ho

           Zz9301Supa21080301 Trn: 2159698352Tc


08/03      Orig CO Name:Ameren                Orig ID:3006936017 Desc Date:       CO                                   945.82

           Entry Descr:Acctspay   Sec:CCD     Trace#:042000016453740 Eed:210803

           Ind ID:                  Ind Name:Liberty Power Holdings Trn:

           2146453740Tc


08/03      Orig CO Name:Rochester Gas &           Orig ID:9107592901 Desc Date:        CO                               58.95

           Entry Descr:Achpaymentsec:CTX       Trace#:021000029698356 Eed:210803

           Ind ID:930213600016646             Ind Name:0002Liberty Power Ho

           Zz9302Supa21080301 Trn: 2159698356Tc


08/03      Orig CO Name:Natgridusaservco         Orig ID:1041663150 Desc Date:         CO                                4.69

           Entry Descr:Narragansesec:CTX      Trace#:028000089698371 Eed:210803

           Ind ID:81001830412022             Ind Name:0005Liberty Power Ho

           Direct Deposit Trn: 2159698371Tc


08/04      Lockbox No: 25901 For 107 Items At 16:00 5 Trn: 2100520216Lb                                          35,236.85




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Deposits and Credits         (continued)

Ledger     Description                                                                                                    Amount
Date

08/04      Orig CO Name:Merchant Service             Orig ID:1841010148 Desc Date:210803                          146,654.33

           CO Entry Descr:Merch Dep Sec:CCD            Trace#:042000018818515

           Eed:210804     Ind ID:8030330933                 Ind Name:Liberty Power

           Holdings                                                             Merchant

           Activity Trn: 2168818515Tc


08/04      Orig CO Name:Comed                    Orig ID:P360938600 Desc Date:210802                                71,170.88

           CO Entry Descr:Ucbpor_Paysec:CCD            Trace#:111000029317274

           Eed:210804     Ind ID:784087293                 Ind Name:

           Rmr*IV*Cp00692950911480002034 Trn: 2159317274Tc


08/04      Orig CO Name:Pseg                   Orig ID:1221212800 Desc Date:230821 CO                               40,410.16

           Entry Descr:Pseg        Sec:CCD     Trace#:021000029317260 Eed:210804           Ind

           ID:006500052307                 Ind Name:Liberty P230821210804S

           Direct Deposit Trn: 2159317260Tc


08/04      Orig CO Name:ACH Processing               Orig ID:2731733336 Desc Date:         CO                       39,913.97

           Entry Descr:8887465741Sec:CCD           Trace#:104000018818423 Eed:210804

           Ind ID:17279434                   Ind Name:Jazx ACH Processing

           8887465741 Trn: 2168818423Tc


08/04      Orig CO Name:Ameren                   Orig ID:3006936017 Desc Date:        CO                            37,688.34

           Entry Descr:Acctspay      Sec:CCD     Trace#:042000019317278 Eed:210804

           Ind ID:                     Ind Name:Liberty Power Holdings Trn:

           2159317278Tc


08/04      Orig CO Name:Firstenergy Serv           Orig ID:1341968288 Desc Date:210804                              30,661.89

           CO Entry Descr:Payments         Sec:CCD     Trace#:021000029317264

           Eed:210804     Ind ID:000000250307340              Ind Name:Liberty Power

           Holdings Trn: 2159317264Tc


08/04      Orig CO Name:Firstenergy Serv           Orig ID:1341968288 Desc Date:210804                              27,931.93

           CO Entry Descr:Payments         Sec:CCD     Trace#:021000029317263

           Eed:210804     Ind ID:000000250307339              Ind Name:Liberty Power

           Holdings Trn: 2159317263Tc


08/04      Orig CO Name:Engie Insight            Orig ID:1911701028 Desc Date:        CO                            24,261.09

           Entry Descr:820EFT0001Sec:CCD             Trace#:111000019317281 Eed:210804

           Ind ID:Ef1080311331093               Ind Name:Liberty Power Holdings

           Rmr*IV*03437407176                    **520.74**\Dtm*003*20210804**\ Trn:

           2159317281Tc


08/04      Orig CO Name:Ameren                   Orig ID:3006936017 Desc Date:        CO                            22,183.09

           Entry Descr:Acctspay      Sec:CCD     Trace#:042000019317277 Eed:210804

           Ind ID:                     Ind Name:Liberty Power Holdings Trn:

           2159317277Tc


08/04      Orig CO Name:Ipay Solutions            Orig ID:9Zzzzzzzzz Desc Date:080321                               21,150.55

           CO Entry Descr:Bill Pmt     Sec:CCD       Trace#:242071759317286 Eed:210804

           Ind ID:Bill Pmt                 Ind Name:Liberty Power

           866-454-6277 Trn: 2159317286Tc


08/04      Orig CO Name:Moneygram P Sys               Orig ID:3841327808 Desc                                       18,685.80

           Date:080321 CO Entry Descr:Mg Settle Sec:PPD          Trace#:043000269317268

           Eed:210804     Ind ID:101070032                 Ind Name:Liberty Power

           Holdings      101070032,120515472 Trn: 2159317268Tc


08/04      Orig CO Name:Dlco Por                Orig ID:3007915606 Desc Date:         CO                            18,129.83

           Entry Descr:EDI Paymtssec:CCD          Trace#:043000269317256 Eed:210804

           Ind ID:2021-08-03.00.0              Ind Name:Liberty Power Holdings Trn:

           2159317256Tc


08/04      Orig CO Name:Peco Energy Comp               Orig ID:1230970240 Desc                                      16,858.59

           Date:210802 CO Entry Descr:Pecochoicesec:CCD

           Trace#:111000019317271 Eed:210804            Ind ID:784087293              Ind

           Name:                      Rmr*IV*Liberty80042624 Trn: 2159317271Tc




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Deposits and Credits     (continued)

Ledger     Description                                                                                                  Amount
Date

08/04      Orig CO Name:Ppl Electric Uti       Orig ID:Fp20001802 Desc Date:       CO                             15,335.97

           Entry Descr:EDI Paymtssec:CTX       Trace#:031000038818392 Eed:210804

           Ind ID:14                   Ind Name:0009Liberty Power Ho Trn:

           2168818392Tc




                                                                                                                                 10268033305000000065
08/04      Orig CO Name:Nstar Electric -       Orig ID:1041278810 Desc Date:        CO                            14,766.08

           Entry Descr:Corp Pymntsec:CTX       Trace#:051000018818484 Eed:210804

           Ind ID:6454221                Ind Name:0006Liberty Power Ho Trn:

           2168818484Tc


08/04      Orig CO Name:Fidelity Express        Orig ID:2751413801 Desc Date:Aug 21                               14,752.74

           CO Entry Descr:Bill Pay   Sec:CCD     Trace#:096016939317258 Eed:210804

           Ind ID:9003242                Ind Name:Liberty Power Trn: 2159317258Tc


08/04      Orig CO Name:Exelon               Orig ID:8188490880 Desc Date:        CO                              14,314.93

           Entry Descr:Corp Pymntsec:CTX       Trace#:111000028818457 Eed:210804

           Ind ID:0000218799                Ind Name:0010Liberty Power CO Trn:

           2168818457Tc


08/04      Orig CO Name:Natgridusaservco         Orig ID:1041663150 Desc Date:         CO                         13,485.24

           Entry Descr:Massachusesec:CTX        Trace#:028000088818517 Eed:210804

           Ind ID:81001841052022              Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2168818517Tc


08/04      Orig CO Name:ACH Processing            Orig ID:2731733336 Desc Date:        CO                         10,327.34

           Entry Descr:8887465741Sec:CCD         Trace#:104000018818422 Eed:210804

           Ind ID:17279407                 Ind Name:Jazx ACH Processing

           8887465741 Trn: 2168818422Tc


08/04      Orig CO Name:Firstenergy Serv        Orig ID:1341968288 Desc Date:210804                                 8,117.63

           CO Entry Descr:Payments     Sec:CCD     Trace#:021000029317265

           Eed:210804    Ind ID:000000250307341            Ind Name:Liberty Power

           Holdings Trn: 2159317265Tc


08/04      Orig CO Name:NY State Electri        Orig ID:1150398550 Desc Date:        CO                             7,371.75

           Entry Descr:Achpaymentsec:CTX        Trace#:028000088818495 Eed:210804

           Ind ID:930113600025832             Ind Name:0002Liberty Power Ho

           Zz9301Supa21080401 Trn: 2168818495Tc


08/04      Orig CO Name:Exelon               Orig ID:8188490861 Desc Date:        CO                                6,964.19

           Entry Descr:Corp Pymntsec:CTX       Trace#:111000028818425 Eed:210804

           Ind ID:0000213615                Ind Name:0009Liberty Power Ho Trn:

           2168818425Tc


08/04      Orig CO Name:Central Maine PO          Orig ID:3141798693 Desc Date:         CO                          5,891.76

           Entry Descr:Achpaymentsec:CTX        Trace#:211274458818492 Eed:210804

           Ind ID:931013600012743             Ind Name:0001Liberty Power Ho

           Zz9310Supa21080401 Trn: 2168818492Tc


08/04      Orig CO Name:Exelon               Orig ID:8188490866 Desc Date:        CO                                5,737.96

           Entry Descr:Corp Pymntsec:CTX       Trace#:111000028818446 Eed:210804

           Ind ID:0000211385                Ind Name:0009Liberty Power Ho Trn:

           2168818446Tc


08/04      Orig CO Name:Ameren                 Orig ID:3006936017 Desc Date:       CO                               4,859.82

           Entry Descr:Acctspay   Sec:CCD      Trace#:042000019317279 Eed:210804

           Ind ID:                   Ind Name:Liberty Power Holdings Trn:

           2159317279Tc


08/04      Orig CO Name:Aes Corporation          Orig ID:9704918002 Desc Date:210804                                3,720.35

           CO Entry Descr:Payments     Sec:CTX     Trace#:021000028818469

           Eed:210804    Ind ID:000027200Usdy21            Ind Name:0009Liberty Power

           Ho Trn: 2168818469Tc


08/04      Orig CO Name:Exelon               Orig ID:8188490861 Desc Date:        CO                                3,714.42

           Entry Descr:Corp Pymntsec:CTX       Trace#:111000028818435 Eed:210804

           Ind ID:0000213619                Ind Name:0009Liberty Power MA Trn:

           2168818435Tc




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Deposits and Credits      (continued)

Ledger     Description                                                                                             Amount
Date

08/04      Orig CO Name:Amer Elec 8152            Orig ID:1314271000 Desc Date:Aug 03                             3,701.53

           CO Entry Descr:EDI Paymntsec:CTX         Trace#:031100208818403

           Eed:210804    Ind ID:Ap003954078              Ind Name:0008Liberty Power

           Ho Trn: 2168818403Tc


08/04      Orig CO Name:American Express          Orig ID:1134992250 Desc Date:210803                             3,195.60

           CO Entry Descr:Settlementsec:CCD        Trace#:091000019317284 Eed:210804

           Ind ID:2582312351                Ind Name:        2582312351

           Payment Date   21216 Trn: 2159317284Tc


08/04      Orig CO Name:Amer Elec 8152            Orig ID:1314271000 Desc Date:Aug 03                             3,150.47

           CO Entry Descr:EDI Paymntsec:CTX         Trace#:031100208818412

           Eed:210804    Ind ID:Ap003954079              Ind Name:0008Liberty Power

           Ho Trn: 2168818412Tc


08/04      Orig CO Name:Firstenergy Serv        Orig ID:1341968288 Desc Date:210804                               2,476.58

           CO Entry Descr:Payments      Sec:CCD     Trace#:021000029317266

           Eed:210804    Ind ID:000000250307342            Ind Name:Liberty Power Trn:

           2159317266Tc


08/04      Orig CO Name:Firstenergy Serv        Orig ID:1341968288 Desc Date:210804                               1,760.66

           CO Entry Descr:Payments      Sec:CCD     Trace#:021000029317262

           Eed:210804    Ind ID:000000250307338            Ind Name:Liberty Power

           Holdings Trn: 2159317262Tc


08/04      Orig CO Name:Capturis             Orig ID:2431879364 Desc Date:210803 CO                               1,142.72

           Entry Descr:Bill Pay   Sec:CTX    Trace#:042000018818499 Eed:210804      Ind

           ID:4363                  Ind Name:0006Liberty Power Ho Trn: 2168818499Tc


08/04      Orig CO Name:Capturis             Orig ID:3471100390 Desc Date:210803 CO                                    337.98

           Entry Descr:Trinity    Sec:CTX   Trace#:042000018818507 Eed:210804       Ind

           ID:4363                  Ind Name:0006Liberty Power Ho Trn: 2168818507Tc


08/04      Orig CO Name:Rochester Gas &           Orig ID:9107592901 Desc Date:      CO                                120.76

           Entry Descr:Achpaymentsec:CTX       Trace#:021000028818480 Eed:210804

           Ind ID:930213600016740             Ind Name:0002Liberty Power Ho

           Zz9302Supa21080401 Trn: 2168818480Tc


08/05      Lockbox No: 25901 For 112 Items At 16:00 5 Trn: 2100076217Lb                                       101,761.94


08/05      Orig CO Name:Merchant Service          Orig ID:1841010148 Desc Date:210804                         197,157.24

           CO Entry Descr:Merch Dep Sec:CCD         Trace#:042000017442983

           Eed:210805    Ind ID:8030330933               Ind Name:Liberty Power

           Holdings                                                        Merchant

           Activity Trn: 2167442983Tc


08/05      Orig CO Name:Merchant Service          Orig ID:1841010148 Desc Date:210804                         145,251.61

           CO Entry Descr:Merch Dep Sec:CCD         Trace#:042000017442982

           Eed:210805    Ind ID:8030330933               Ind Name:Liberty Power

           Holdings                                                        Merchant

           Activity Trn: 2167442982Tc


08/05      Orig CO Name:Merchant Service          Orig ID:1841010148 Desc Date:210804                         144,607.35

           CO Entry Descr:Merch Dep Sec:CCD         Trace#:042000016405827

           Eed:210805    Ind ID:8030330933               Ind Name:Liberty Power

           Holdings                                                        Merchant

           Activity Trn: 2176405827Tc


08/05      Orig CO Name:Pseg                 Orig ID:1221212800 Desc Date:240821 CO                             63,202.63

           Entry Descr:Pseg       Sec:CCD    Trace#:021000027442974 Eed:210805       Ind

           ID:006500052307              Ind Name:Liberty P240821210805S

           Direct Deposit Trn: 2167442974Tc


08/05      Orig CO Name:Merchant Service          Orig ID:1841010148 Desc Date:210804                           61,239.03

           CO Entry Descr:Merch Dep Sec:CCD         Trace#:042000017442980

           Eed:210805    Ind ID:8030330933               Ind Name:Liberty Power

           Holdings                                                        Merchant

           Activity Trn: 2167442980Tc




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Ledger     Description                                                                                               Amount
Date

08/05      Orig CO Name:ACH Processing             Orig ID:2731733336 Desc Date:        CO                        45,783.76

           Entry Descr:8887465741Sec:CCD         Trace#:104000017442958 Eed:210805

           Ind ID:17286889                  Ind Name:Jazx ACH Processing

           8887465741 Trn: 2167442958Tc




                                                                                                                              10268033306000000065
08/05      Orig CO Name:Exelon                Orig ID:8188490880 Desc Date:        CO                             33,874.64

           Entry Descr:Corp Pymntsec:CTX        Trace#:111000026405760 Eed:210805

           Ind ID:0000218879                 Ind Name:0010Liberty Power CO Trn:

           2176405760Tc


08/05      Orig CO Name:Natgridusaservco           Orig ID:1041663150 Desc Date:        CO                        32,299.54

           Entry Descr:Massachusesec:CTX         Trace#:028000086405809 Eed:210805

           Ind ID:81001862692022               Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2176405809Tc


08/05      Orig CO Name:Merchant Service           Orig ID:1841010148 Desc Date:210804                            29,486.16

           CO Entry Descr:Merch Dep Sec:CCD          Trace#:042000017442979

           Eed:210805     Ind ID:8030330933               Ind Name:Liberty Power

           Holdings                                                           Merchant

           Activity Trn: 2167442979Tc


08/05      Orig CO Name:Natgridusaservco           Orig ID:1041663150 Desc Date:        CO                        26,484.49

           Entry Descr:Massachusesec:CTX         Trace#:028000086405802 Eed:210805

           Ind ID:81001862682022               Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2176405802Tc


08/05      Orig CO Name:Engie Insight           Orig ID:1911701028 Desc Date:        CO                           25,847.96

           Entry Descr:820EFT0001Sec:CCD           Trace#:111000017442948 Eed:210805

           Ind ID:Ef1080411331093              Ind Name:Liberty Power Holdings

           Rmr*IV*92729671422                   **56.16**\Dtm*003*20210805**\ Trn:

           2167442948Tc


08/05      Orig CO Name:Ameren                 Orig ID:3006936017 Desc Date:       CO                             24,726.34

           Entry Descr:Acctspay    Sec:CCD     Trace#:042000017442963 Eed:210805

           Ind ID:                    Ind Name:Liberty Power Holdings Trn:

           2167442963Tc


08/05      Orig CO Name:Bal Gas&Elec             Orig ID:1520280210 Desc Date:Aug 05                              23,744.03

           CO Entry Descr:EDI Paymntsec:CTX          Trace#:031100206405699

           Eed:210805     Ind ID:0000298315               Ind Name:0008Liberty Power

           MA Trn: 2176405699Tc


08/05      Orig CO Name:Ameren                 Orig ID:3006936017 Desc Date:       CO                             23,150.70

           Entry Descr:Acctspay    Sec:CCD     Trace#:042000017442965 Eed:210805

           Ind ID:                    Ind Name:Liberty Power Holdings Trn:

           2167442965Tc


08/05      Orig CO Name:Capturis              Orig ID:2431879364 Desc Date:210804 CO                              23,005.36

           Entry Descr:Bill Pay   Sec:CTX     Trace#:042000016405829 Eed:210805         Ind

           ID:4363                   Ind Name:0006Liberty Power Ho Trn: 2176405829Tc


08/05      Orig CO Name:Moneygram P Sys             Orig ID:3841327808 Desc                                       22,034.73

           Date:080421 CO Entry Descr:Mg Settle Sec:PPD        Trace#:043000267442976

           Eed:210805     Ind ID:101070032               Ind Name:Liberty Power

           Holdings      101070032,120534794 Trn: 2167442976Tc


08/05      Orig CO Name:Peco Energy Comp             Orig ID:1230970240 Desc                                      19,811.99

           Date:210803 CO Entry Descr:Pecochoicesec:CCD

           Trace#:111000017442971 Eed:210805          Ind ID:784087293               Ind

           Name:                     Rmr*IV*Liberty80042625 Trn: 2167442971Tc


08/05      Orig CO Name:Firstenergy Serv         Orig ID:1341968288 Desc Date:210805                              17,303.70

           CO Entry Descr:Payments       Sec:CCD     Trace#:021000027442955

           Eed:210805     Ind ID:000000250349768            Ind Name:Liberty Power

           Holdings Trn: 2167442955Tc


08/05      Orig CO Name:Fidelity Express        Orig ID:2751413801 Desc Date:Aug 21                               15,744.09

           CO Entry Descr:Bill Pay   Sec:CCD      Trace#:096016937442946 Eed:210805

           Ind ID:9003242                 Ind Name:Liberty Power Trn: 2167442946Tc




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Ledger     Description                                                                                                 Amount
Date

08/05      Orig CO Name:Ipay Solutions           Orig ID:9Zzzzzzzzz Desc Date:080421                                15,412.12

           CO Entry Descr:Bill Pmt     Sec:CCD       Trace#:242071757442969 Eed:210805

           Ind ID:Bill Pmt                 Ind Name:Liberty Power

           866-454-6277 Trn: 2167442969Tc


08/05      Orig CO Name:Natgridusaservco             Orig ID:1041663150 Desc Date:        CO                        15,302.33

           Entry Descr:Narragansesec:CTX         Trace#:028000086405817 Eed:210805

           Ind ID:81001862662022                Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2176405817Tc


08/05      Orig CO Name:Firstenergy Serv          Orig ID:1341968288 Desc Date:210805                               14,997.27

           CO Entry Descr:Payments         Sec:CCD     Trace#:021000027442951

           Eed:210805    Ind ID:000000250349764               Ind Name:Liberty Power

           Holdings Trn: 2167442951Tc


08/05      Orig CO Name:Exelon                  Orig ID:8188490866 Desc Date:        CO                             14,617.39

           Entry Descr:Corp Pymntsec:CTX         Trace#:111000026405749 Eed:210805

           Ind ID:0000211459                  Ind Name:0009Liberty Power Ho Trn:

           2176405749Tc


08/05      Orig CO Name:Nstar Electric -         Orig ID:1041278810 Desc Date:        CO                            14,068.68

           Entry Descr:Corp Pymntsec:CTX         Trace#:051000016405772 Eed:210805

           Ind ID:6460021                   Ind Name:0006Liberty Power Ho Trn:

           2176405772Tc


08/05      Orig CO Name:Cass Info. Carr.          Orig ID:9000002001 Desc Date:210804                               11,686.65

           CO Entry Descr:Conc Acctssec:CCD           Trace#:081000606405825

           Eed:210805    Ind ID:Liber60673B                Ind Name:Liberty Power Trn:

           2176405825Tc


08/05      Orig CO Name:Central Maine PO             Orig ID:3141798693 Desc Date:        CO                        10,261.15

           Entry Descr:Achpaymentsec:CTX          Trace#:211274456405780 Eed:210805

           Ind ID:931013600012801               Ind Name:0001Liberty Power Ho

           Zz9310Supa21080501 Trn: 2176405780Tc


08/05      Orig CO Name:Firstenergy Serv          Orig ID:1341968288 Desc Date:210805                                 9,806.51

           CO Entry Descr:Payments         Sec:CCD     Trace#:021000027442954

           Eed:210805    Ind ID:000000250349767               Ind Name:Liberty Power

           Holdings Trn: 2167442954Tc


08/05      Orig CO Name:Ameren                  Orig ID:3006936017 Desc Date:        CO                               9,035.95

           Entry Descr:Acctspay      Sec:CCD     Trace#:042000017442964 Eed:210805

           Ind ID:                     Ind Name:Liberty Power Holdings Trn:

           2167442964Tc


08/05      Orig CO Name:Firstenergy Serv          Orig ID:1341968288 Desc Date:210805                                 8,252.68

           CO Entry Descr:Payments         Sec:CCD     Trace#:021000027442953

           Eed:210805    Ind ID:000000250349766               Ind Name:Liberty Power

           Holdings Trn: 2167442953Tc


08/05      Orig CO Name:Amer Elec 8152               Orig ID:1314271000 Desc Date:Aug 04                              7,562.50

           CO Entry Descr:EDI Paymntsec:CTX            Trace#:031100206405718

           Eed:210805    Ind ID:Ap003955185                 Ind Name:0008Liberty Power

           Ho Trn: 2176405718Tc


08/05      Orig CO Name:Natgridusaservco             Orig ID:1041663150 Desc Date:        CO                          6,257.60

           Entry Descr:Massachusesec:CTX          Trace#:028000086405795 Eed:210805

           Ind ID:81001862672022                Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2176405795Tc


08/05      Orig CO Name:NY State Electri          Orig ID:1150398550 Desc Date:        CO                             5,761.07

           Entry Descr:Achpaymentsec:CTX          Trace#:028000086405783 Eed:210805

           Ind ID:930113600025952               Ind Name:0002Liberty Power Ho

           Zz9301Supa21080501 Trn: 2176405783Tc


08/05      Orig CO Name:Amer Elec 8152               Orig ID:1314271000 Desc Date:Aug 04                              5,281.95

           CO Entry Descr:EDI Paymntsec:CTX            Trace#:031100206405709

           Eed:210805    Ind ID:Ap003955184                 Ind Name:0008Liberty Power

           Ho Trn: 2176405709Tc




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Ledger     Description                                                                                                Amount
Date

08/05      Orig CO Name:ACH Processing            Orig ID:2731733336 Desc Date:         CO                           5,212.94

           Entry Descr:8887465741Sec:CCD         Trace#:104000017442959 Eed:210805

           Ind ID:17286926                 Ind Name:Jazx ACH Processing

           8887465741 Trn: 2167442959Tc




                                                                                                                                   10268033307000000065
08/05      Orig CO Name:Dlco Por              Orig ID:3007915606 Desc Date:        CO                                4,646.17

           Entry Descr:EDI Paymtssec:CCD        Trace#:043000267442961 Eed:210805

           Ind ID:2021-08-04.01.5           Ind Name:Liberty Power Holdings Trn:

           2167442961Tc


08/05      Orig CO Name:Exelon                Orig ID:8188490861 Desc Date:        CO                                4,626.73

           Entry Descr:Corp Pymntsec:CTX       Trace#:111000026405738 Eed:210805

           Ind ID:0000213692                Ind Name:0009Liberty Power MA Trn:

           2176405738Tc


08/05      Orig CO Name:Exelon                Orig ID:8188490861 Desc Date:        CO                                2,995.81

           Entry Descr:Corp Pymntsec:CTX       Trace#:111000026405728 Eed:210805

           Ind ID:0000213686                Ind Name:0009Liberty Power Ho Trn:

           2176405728Tc


08/05      Orig CO Name:Western Oilf0699          Orig ID:1951362750 Desc Date:         CO                           1,245.27

           Entry Descr:Trade Pay Sec:CCD       Trace#:051000011321553 Eed:210805

           Ind ID:16448                  Ind Name:Liberty Power Holdings Trn:

           2171321553Tc


08/05      Orig CO Name:American Express          Orig ID:1134992250 Desc Date:210804                                1,215.58

           CO Entry Descr:Settlementsec:CCD        Trace#:091000017442967 Eed:210805

           Ind ID:2582312351                Ind Name:        2582312351

           Payment Date     21217 Trn: 2167442967Tc


08/05      Orig CO Name:Natgridusaservco          Orig ID:1041663150 Desc Date:         CO                           1,111.69

           Entry Descr:Niagara Mosec:CTX       Trace#:028000086405787 Eed:210805

           Ind ID:81001862702022              Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2176405787Tc


08/05      Orig CO Name:Firstenergy Serv        Orig ID:1341968288 Desc Date:210805                                       408.93

           CO Entry Descr:Payments      Sec:CCD    Trace#:021000027442952

           Eed:210805     Ind ID:000000250349765           Ind Name:Liberty Power

           Holdings Trn: 2167442952Tc


08/05      Orig CO Name:Firstenergy Serv        Orig ID:1341968288 Desc Date:210805                                        71.40

           CO Entry Descr:Payments      Sec:CCD    Trace#:021000027442956

           Eed:210805     Ind ID:000000250349769           Ind Name:Liberty Power Trn:

           2167442956Tc


08/06      Lockbox No: 25901 For 158 Items At 16:00 5 Trn: 2100536218Lb                                            89,089.18


08/06      Orig CO Name:Merchant Service          Orig ID:1841010148 Desc Date:210805                            143,425.04

           CO Entry Descr:Merch Dep Sec:CCD         Trace#:042000019590544

           Eed:210806     Ind ID:8030330933              Ind Name:Liberty Power

           Holdings                                                          Merchant

           Activity Trn: 2189590544Tc


08/06      Orig CO Name:Nstar Electric -       Orig ID:1041278810 Desc Date:         CO                            71,533.85

           Entry Descr:Corp Pymntsec:CTX       Trace#:051000018138926 Eed:210806

           Ind ID:6469721                 Ind Name:0006Liberty Power Ho Trn:

           2188138926Tc


08/06      Orig CO Name:Ppl Electric Uti       Orig ID:Fp20001802 Desc Date:        CO                             57,379.81

           Entry Descr:EDI Paymtssec:CTX       Trace#:031000039590450 Eed:210806

           Ind ID:194                   Ind Name:0011Liberty Power Ho Trn:

           2189590450Tc


08/06      Orig CO Name:ACH Processing            Orig ID:2731733336 Desc Date:         CO                         57,048.68

           Entry Descr:8887465741Sec:CCD         Trace#:104000019590483 Eed:210806

           Ind ID:17293557                 Ind Name:Jazx ACH Processing

           8887465741 Trn: 2189590483Tc




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Ledger     Description                                                                                              Amount
Date

08/06      Orig CO Name:Ameren                Orig ID:3006936017 Desc Date:       CO                             51,853.44

           Entry Descr:Acctspay    Sec:CCD    Trace#:042000019073492 Eed:210806

           Ind ID:                   Ind Name:Liberty Power Holdings Trn:

           2179073492Tc


08/06      Orig CO Name:Natgridusaservco        Orig ID:1041663150 Desc Date:         CO                         40,973.21

           Entry Descr:Massachusesec:CTX       Trace#:028000089590553 Eed:210806

           Ind ID:81001874122022             Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2189590553Tc


08/06      Orig CO Name:Ameren                Orig ID:3006936017 Desc Date:       CO                             32,675.74

           Entry Descr:Acctspay    Sec:CCD    Trace#:042000019073494 Eed:210806

           Ind ID:                   Ind Name:Liberty Power Holdings Trn:

           2179073494Tc


08/06      Orig CO Name:Natgridusaservco        Orig ID:1041663150 Desc Date:         CO                         32,506.89

           Entry Descr:Massachusesec:CTX       Trace#:028000089590595 Eed:210806

           Ind ID:81001874062022             Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2189590595Tc


08/06      Orig CO Name:Natgridusaservco        Orig ID:1041663150 Desc Date:         CO                         28,993.49

           Entry Descr:Massachusesec:CTX       Trace#:028000089590609 Eed:210806

           Ind ID:81001874042022             Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2189590609Tc


08/06      Orig CO Name:Natgridusaservco        Orig ID:1041663150 Desc Date:         CO                         27,937.49

           Entry Descr:Massachusesec:CTX       Trace#:028000089590602 Eed:210806

           Ind ID:81001874052022             Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2189590602Tc


08/06      Orig CO Name:Natgridusaservco        Orig ID:1041663150 Desc Date:         CO                         25,627.99

           Entry Descr:Narragansesec:CTX      Trace#:028000089590617 Eed:210806

           Ind ID:81001874132022             Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2189590617Tc


08/06      Orig CO Name:Central Maine PO         Orig ID:3141798693 Desc Date:         CO                        19,208.40

           Entry Descr:Achpaymentsec:CTX       Trace#:211274459590625 Eed:210806

           Ind ID:931013600012942             Ind Name:0001Liberty Power Ho

           Zz9310Supa21080601 Trn: 2189590625Tc


08/06      Orig CO Name:Natgridusaservco        Orig ID:1041663150 Desc Date:         CO                         19,019.90

           Entry Descr:Massachusesec:CTX       Trace#:028000089590581 Eed:210806

           Ind ID:81001874082022             Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2189590581Tc


08/06      Orig CO Name:Exelon               Orig ID:8188490880 Desc Date:       CO                              18,056.15

           Entry Descr:Corp Pymntsec:CTX      Trace#:111000029590517 Eed:210806

           Ind ID:0000218994              Ind Name:0010Liberty Power CO Trn:

           2189590517Tc


08/06      Orig CO Name:Ameren                Orig ID:3006936017 Desc Date:       CO                             15,692.12

           Entry Descr:Acctspay    Sec:CCD    Trace#:042000019073493 Eed:210806

           Ind ID:                   Ind Name:Liberty Power Holdings Trn:

           2179073493Tc


08/06      Orig CO Name:Peco Energy Comp          Orig ID:1230970240 Desc                                        15,267.59

           Date:210804 CO Entry Descr:Pecochoicesec:CCD

           Trace#:111000019073501 Eed:210806       Ind ID:784087293                Ind

           Name:                    Rmr*IV*Liberty80042626 Trn: 2179073501Tc


08/06      Orig CO Name:ACH Processing           Orig ID:2731733336 Desc Date:        CO                         13,118.67

           Entry Descr:8887465741Sec:CCD        Trace#:104000019590482 Eed:210806

           Ind ID:17293543               Ind Name:Jazx ACH Processing

           8887465741 Trn: 2189590482Tc


08/06      Orig CO Name:Moneygram P Sys           Orig ID:3841327808 Desc                                        12,846.22

           Date:080521 CO Entry Descr:Mg Settle Sec:PPD      Trace#:043000269073496

           Eed:210806     Ind ID:101070032             Ind Name:Liberty Power

           Holdings      101070032,120547603 Trn: 2179073496Tc




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Ledger     Description                                                                                                Amount
Date

08/06      Orig CO Name:Engie Insight            Orig ID:1911701028 Desc Date:       CO                            12,767.94

           Entry Descr:820EFT0001Sec:CCD             Trace#:111000019073479 Eed:210806

           Ind ID:Ef1080511091086               Ind Name:Liberty Power Holdings

           Rmr*IV*49234266436                    **388.77**\Dtm*003*20210806**\ Trn:




                                                                                                                                10268033308000000065
           2179073479Tc


08/06      Orig CO Name:Aes Corporation              Orig ID:9704918002 Desc Date:210806                           12,292.96

           CO Entry Descr:Payments         Sec:CTX     Trace#:021000029590529

           Eed:210806    Ind ID:000028068Usdy21                Ind Name:0009Liberty Power

           Ho Trn: 2189590529Tc


08/06      Orig CO Name:Natgridusaservco             Orig ID:1041663150 Desc Date:        CO                       11,913.96

           Entry Descr:Massachusesec:CTX          Trace#:028000089590588 Eed:210806

           Ind ID:81001874072022                Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2189590588Tc


08/06      Orig CO Name:Natgridusaservco             Orig ID:1041663150 Desc Date:        CO                       11,487.40

           Entry Descr:Massachusesec:CTX          Trace#:028000089590574 Eed:210806

           Ind ID:81001874092022                Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2189590574Tc


08/06      Orig CO Name:Firstenergy Serv          Orig ID:1341968288 Desc Date:210806                                9,350.33

           CO Entry Descr:Payments         Sec:CCD     Trace#:021000029073484

           Eed:210806    Ind ID:000000250382468                Ind Name:Liberty Power

           Holdings Trn: 2179073484Tc


08/06      Orig CO Name:Ipay Solutions           Orig ID:9Zzzzzzzzz Desc Date:080521                                 8,628.50

           CO Entry Descr:Bill Pmt     Sec:CCD       Trace#:242071759073499 Eed:210806

           Ind ID:Bill Pmt                 Ind Name:Liberty Power

           866-454-6277 Trn: 2179073499Tc


08/06      Orig CO Name:Fidelity Express          Orig ID:2751413801 Desc Date:Aug 21                                8,394.75

           CO Entry Descr:Bill Pay     Sec:CCD       Trace#:096016939073488 Eed:210806

           Ind ID:9003242                   Ind Name:Liberty Power Trn: 2179073488Tc


08/06      Orig CO Name:Natgridusaservco             Orig ID:1041663150 Desc Date:        CO                         7,554.91

           Entry Descr:Massachusesec:CTX          Trace#:028000089590560 Eed:210806

           Ind ID:81001874112022                Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2189590560Tc


08/06      Orig CO Name:Exelon                  Orig ID:8188490861 Desc Date:        CO                              7,507.67

           Entry Descr:Corp Pymntsec:CTX         Trace#:111000029590485 Eed:210806

           Ind ID:0000213799                  Ind Name:0009Liberty Power Ho Trn:

           2189590485Tc


08/06      Orig CO Name:Exelon                  Orig ID:8188490866 Desc Date:        CO                              6,049.71

           Entry Descr:Corp Pymntsec:CTX         Trace#:111000029590506 Eed:210806

           Ind ID:0000211595                  Ind Name:0009Liberty Power Ho Trn:

           2189590506Tc


08/06      Orig CO Name:Hc Beck Ltd              Orig ID:1750715261 Desc Date:        CO                             5,791.54

           Entry Descr:080521       Sec:CCD     Trace#:091000019073490 Eed:210806

           Ind ID:90000628790                 Ind Name:Liberty Power Holdings Trn:

           2179073490Tc


08/06      Orig CO Name:American Express              Orig ID:1134992250 Desc Date:210805                            5,299.27

           CO Entry Descr:Settlementsec:CCD           Trace#:091000019073504 Eed:210806

           Ind ID:2582312351                  Ind Name:         2582312351

           Payment Date      21218 Trn: 2179073504Tc


08/06      Orig CO Name:Exelon                  Orig ID:8188490861 Desc Date:        CO                              4,875.63

           Entry Descr:Corp Pymntsec:CTX         Trace#:111000029590495 Eed:210806

           Ind ID:0000213804                  Ind Name:0009Liberty Power MA Trn:

           2189590495Tc


08/06      Orig CO Name:Natgridusaservco             Orig ID:1041663150 Desc Date:        CO                         3,523.14

           Entry Descr:Massachusesec:CTX          Trace#:028000089590567 Eed:210806

           Ind ID:81001874102022                Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2189590567Tc




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Ledger     Description                                                                                              Amount
Date

08/06      Orig CO Name:Dlco Por              Orig ID:3007915606 Desc Date:        CO                              2,098.32

           Entry Descr:EDI Paymtssec:CCD       Trace#:043000269073482 Eed:210806

           Ind ID:2021-08-05.00.0           Ind Name:Liberty Power Holdings Trn:

           2179073482Tc


08/06      Orig CO Name:Amer Elec 8152           Orig ID:1314271000 Desc Date:Aug 05                               1,825.21

           CO Entry Descr:EDI Paymntsec:CTX        Trace#:031100209590472

           Eed:210806    Ind ID:Ap003956724              Ind Name:0008Liberty Power

           Ho Trn: 2189590472Tc


08/06      Orig CO Name:Cass Info. Carr.       Orig ID:9000002001 Desc Date:210805                                 1,787.58

           CO Entry Descr:Conc Acctssec:CCD       Trace#:081000609073486

           Eed:210806    Ind ID:Liber60673B             Ind Name:Liberty Power Trn:

           2179073486Tc


08/06      Orig CO Name:Natgridusaservco         Orig ID:1041663150 Desc Date:          CO                              672.21

           Entry Descr:Niagara Mosec:CTX       Trace#:028000089590546 Eed:210806

           Ind ID:81001874032022              Ind Name:0005Liberty Power Ho

           Direct Deposit Trn: 2189590546Tc


08/06      Orig CO Name:Amer Elec 8152           Orig ID:1314271000 Desc Date:Aug 05                                    358.77

           CO Entry Descr:EDI Paymntsec:CTX        Trace#:031100209590463

           Eed:210806    Ind ID:Ap003956723              Ind Name:0008Liberty Power

           Ho Trn: 2189590463Tc


08/06      Orig CO Name:NY State Electri       Orig ID:1150398550 Desc Date:        CO                                  119.19

           Entry Descr:Achpaymentsec:CTX        Trace#:028000089590540 Eed:210806

           Ind ID:930113600026210             Ind Name:0002Liberty Power Ho

           Zz9301Supa21080601 Trn: 2189590540Tc


08/06      Orig CO Name:Bal Gas&Elec            Orig ID:1520280210 Desc Date:Aug 06                                      55.70

           CO Entry Descr:EDI Paymntsec:CTX        Trace#:031100209590440

           Eed:210806    Ind ID:0000298486              Ind Name:0008Liberty Power

           MA Trn: 2189590440Tc


08/09      Lockbox No: 25901 For 295 Items At 16:00 5 Trn: 2100427221Lb                                        204,668.28


08/09      Orig CO Name:Nstar Electric -      Orig ID:1041278810 Desc Date:        CO                          157,028.82

           Entry Descr:Corp Pymntsec:CTX       Trace#:051000013543272 Eed:210809

           Ind ID:6474321                Ind Name:0006Liberty Power Ho Trn:

           2213543272Tc


08/09      Orig CO Name:Engie Insight          Orig ID:1911701028 Desc Date:       CO                            70,194.41

           Entry Descr:820EFT0001Sec:CCD         Trace#:111000017675798 Eed:210809

           Ind ID:Ef1080611161099             Ind Name:Liberty Power Holdings

           Rmr*IV*93379331591                 **832.89**\Dtm*003*20210809**\ Trn:

           2187675798Tc


08/09      Orig CO Name:Merchant Service         Orig ID:1841010148 Desc Date:210807                             56,712.84

           CO Entry Descr:Merch Dep Sec:CCD        Trace#:042000013543331

           Eed:210809    Ind ID:8030330933              Ind Name:Liberty Power

           Holdings                                                         Merchant

           Activity Trn: 2213543331Tc


08/09      Orig CO Name:Central Maine PO         Orig ID:3141798693 Desc Date:          CO                       43,912.04

           Entry Descr:Achpaymentsec:CTX        Trace#:211274453543299 Eed:210809

           Ind ID:931013600012972             Ind Name:0001Liberty Power Ho

           Zz9310Supa21080901 Trn: 2213543299Tc


08/09      Orig CO Name:Ppl Electric Uti      Orig ID:Fp20001802 Desc Date:        CO                            38,950.55

           Entry Descr:EDI Paymtssec:CTX       Trace#:031000033543316 Eed:210809

           Ind ID:53                   Ind Name:0009Liberty Power Ho Trn:

           2213543316Tc


08/09      Orig CO Name:Natgridusaservco         Orig ID:1041663150 Desc Date:          CO                       35,271.66

           Entry Descr:Narragansesec:CTX       Trace#:028000083543264 Eed:210809

           Ind ID:81001896742022              Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2213543264Tc




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Ledger     Description                                                                                               Amount
Date

08/09      Orig CO Name:Ameren                 Orig ID:3006936017 Desc Date:       CO                             33,480.99

           Entry Descr:Acctspay    Sec:CCD     Trace#:042000017675776 Eed:210809

           Ind ID:                    Ind Name:Liberty Power Holdings Trn:

           2187675776Tc




                                                                                                                               10268033309000000065
08/09      Orig CO Name:Merchant Service           Orig ID:1841010148 Desc Date:210808                            27,649.33

           CO Entry Descr:Merch Dep Sec:CCD          Trace#:042000013543333

           Eed:210809     Ind ID:8030330933               Ind Name:Liberty Power

           Holdings                                                           Merchant

           Activity Trn: 2213543333Tc


08/09      Orig CO Name:Peco Energy Comp            Orig ID:1230970240 Desc                                       27,192.43

           Date:210805 CO Entry Descr:Pecochoicesec:CCD

           Trace#:111000017675786 Eed:210809          Ind ID:784087293              Ind

           Name:                     Rmr*IV*Liberty80042627 Trn: 2187675786Tc


08/09      Orig CO Name:Ameren                 Orig ID:3006936017 Desc Date:       CO                             22,143.51

           Entry Descr:Acctspay    Sec:CCD     Trace#:042000017675775 Eed:210809

           Ind ID:                    Ind Name:Liberty Power Holdings Trn:

           2187675775Tc


08/09      Orig CO Name:Natgridusaservco           Orig ID:1041663150 Desc Date:       CO                         18,438.59

           Entry Descr:Massachusesec:CTX        Trace#:028000083543256 Eed:210809

           Ind ID:81001896762022              Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2213543256Tc


08/09      Orig CO Name:ACH Processing             Orig ID:2731733336 Desc Date:       CO                         15,313.23

           Entry Descr:8887465741Sec:CCD         Trace#:104000013543335 Eed:210809

           Ind ID:17300475                Ind Name:Jazx ACH Processing

           8887465741 Trn: 2213543335Tc


08/09      Orig CO Name:Pseg                 Orig ID:1221212800 Desc Date:280821 CO                               14,948.32

           Entry Descr:Pseg      Sec:CCD      Trace#:021000027675794 Eed:210809        Ind

           ID:006500052307               Ind Name:Liberty P280821210809S

           Direct Deposit Trn: 2187675794Tc


08/09      Orig CO Name:Firstenergy Serv        Orig ID:1341968288 Desc Date:210807                               13,608.18

           CO Entry Descr:Payments       Sec:CCD    Trace#:021000027675780

           Eed:210809     Ind ID:000000250416333            Ind Name:Liberty Power

           Holdings Trn: 2187675780Tc


08/09      Orig CO Name:Moneygram P Sys             Orig ID:3841327808 Desc                                       12,227.73

           Date:080621 CO Entry Descr:Mg Settle Sec:PPD        Trace#:043000267675789

           Eed:210809     Ind ID:101070032               Ind Name:Liberty Power

           Holdings      101070032,120559323 Trn: 2187675789Tc


08/09      Orig CO Name:Pseg                 Orig ID:1221212800 Desc Date:280821 CO                               10,995.84

           Entry Descr:Pseg      Sec:CCD      Trace#:021000027675792 Eed:210809        Ind

           ID:006500052307               Ind Name:Liberty P280821210809S

           Direct Deposit Trn: 2187675792Tc


08/09      Orig CO Name:Natgridusaservco           Orig ID:1041663150 Desc Date:       CO                           9,862.09

           Entry Descr:Massachusesec:CTX        Trace#:028000083543249 Eed:210809

           Ind ID:81001896752022              Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2213543249Tc


08/09      Orig CO Name:Fidelity Express        Orig ID:2751413801 Desc Date:Aug 21                                 7,886.88

           CO Entry Descr:Bill Pay   Sec:CCD     Trace#:096016937675784 Eed:210809

           Ind ID:9003242                 Ind Name:Liberty Power Trn: 2187675784Tc


08/09      Orig CO Name:ACH Processing             Orig ID:2731733336 Desc Date:       CO                           7,499.12

           Entry Descr:8887465741Sec:CCD         Trace#:104000013543336 Eed:210809

           Ind ID:17300550                Ind Name:Jazx ACH Processing

           8887465741 Trn: 2213543336Tc


08/09      Orig CO Name:Ameren                 Orig ID:3006936017 Desc Date:       CO                               7,465.55

           Entry Descr:Acctspay    Sec:CCD     Trace#:042000017675774 Eed:210809

           Ind ID:                    Ind Name:Liberty Power Holdings Trn:

           2187675774Tc




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Deposits and Credits         (continued)

Ledger     Description                                                                                                Amount
Date

08/09      Orig CO Name:American Express            Orig ID:1134992250 Desc Date:210806                              7,452.74

           CO Entry Descr:Settlementsec:CCD         Trace#:091000013543329 Eed:210809

           Ind ID:2582312351                  Ind Name:       2582312351

           Payment Date      21219 Trn: 2213543329Tc


08/09      Orig CO Name:Cass Info. Carr.          Orig ID:9000002001 Desc Date:210806                                6,565.07

           CO Entry Descr:Conc Acctssec:CCD          Trace#:081000607675796

           Eed:210809    Ind ID:Liber60673B               Ind Name:Liberty Power Trn:

           2187675796Tc


08/09      Orig CO Name:Amer Elec 8152             Orig ID:1314271000 Desc Date:Aug 06                               4,970.07

           CO Entry Descr:EDI Paymntsec:CTX          Trace#:031100203543289

           Eed:210809    Ind ID:Ap003957365                Ind Name:0008Liberty Power

           Ho Trn: 2213543289Tc


08/09      Orig CO Name:Ipay Solutions           Orig ID:9Zzzzzzzzz Desc Date:080621                                 4,665.48

           CO Entry Descr:Bill Pmt     Sec:CCD     Trace#:242071757675782 Eed:210809

           Ind ID:Bill Pmt                 Ind Name:Liberty Power

           866-454-6277 Trn: 2187675782Tc


08/09      Orig CO Name:Amer Elec 8152             Orig ID:1314271000 Desc Date:Aug 06                               4,603.81

           CO Entry Descr:EDI Paymntsec:CTX          Trace#:031100203543280

           Eed:210809    Ind ID:Ap003957364                Ind Name:0008Liberty Power

           Ho Trn: 2213543280Tc


08/09      Orig CO Name:Dlco Por                Orig ID:3007915606 Desc Date:        CO                              2,443.68

           Entry Descr:EDI Paymtssec:CCD          Trace#:043000267675778 Eed:210809

           Ind ID:2021-08-06.02.1             Ind Name:Liberty Power Holdings Trn:

           2187675778Tc


08/09      Orig CO Name:Natgridusaservco           Orig ID:1041663150 Desc Date:          CO                         1,841.68

           Entry Descr:Niagara Mosec:CTX         Trace#:028000083543241 Eed:210809

           Ind ID:81001896772022                Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2213543241Tc


08/09      Orig CO Name:NY State Electri          Orig ID:1150398550 Desc Date:       CO                                  828.11

           Entry Descr:Achpaymentsec:CTX          Trace#:028000083543302 Eed:210809

           Ind ID:930113600026290               Ind Name:0002Liberty Power Ho

           Zz9301Supa21080901 Trn: 2213543302Tc


08/09      Orig CO Name:Bal Gas&Elec              Orig ID:1520280210 Desc Date:Aug 09                                     489.71

           CO Entry Descr:EDI Paymntsec:CTX          Trace#:031100203543306

           Eed:210809    Ind ID:0000298694                 Ind Name:0008Liberty Power

           MA Trn: 2213543306Tc


08/09      Orig CO Name:Exelon                  Orig ID:8188490880 Desc Date:      CO                                     132.99

           Entry Descr:Corp Pymntsec:CTX         Trace#:111000023543230 Eed:210809

           Ind ID:0000219118                  Ind Name:0009Liberty Power CO Trn:

           2213543230Tc


08/09      Orig CO Name:Exelon                  Orig ID:8188490861 Desc Date:      CO                                     126.44

           Entry Descr:Corp Pymntsec:CTX         Trace#:111000023543208 Eed:210809

           Ind ID:0000213907                  Ind Name:0009Liberty Power Ho Trn:

           2213543208Tc


08/09      Orig CO Name:American Express            Orig ID:1134992250 Desc Date:210808                                    93.59

           CO Entry Descr:Settlementsec:CCD         Trace#:091000013543327 Eed:210809

           Ind ID:2582312351                  Ind Name:       2582312351

           Payment Date      21221 Trn: 2213543327Tc


08/09      Orig CO Name:Exelon                  Orig ID:8188490866 Desc Date:      CO                                      84.27

           Entry Descr:Corp Pymntsec:CTX         Trace#:111000023543219 Eed:210809

           Ind ID:0000211696                  Ind Name:0009Liberty Power Ho Trn:

           2213543219Tc


08/10      Lockbox No: 25901 For 104 Items At 16:00 5 Trn: 2100762222Lb                                            87,390.15


08/10      Orig CO Name:Comed                   Orig ID:P360938600 Desc Date:210806                              229,599.53

           CO Entry Descr:Ucbpor_Paysec:CCD           Trace#:111000026718839

           Eed:210810    Ind ID:784087293                 Ind Name:

           Rmr*IV*Cp00692950911480002036 Trn: 2216718839Tc




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Deposits and Credits       (continued)

Ledger     Description                                                                                               Amount
Date

08/10      Orig CO Name:Merchant Service           Orig ID:1841010148 Desc Date:210809                          169,172.05

           CO Entry Descr:Merch Dep Sec:CCD          Trace#:042000017550944

           Eed:210810     Ind ID:8030330933               Ind Name:Liberty Power

           Holdings                                                           Merchant




                                                                                                                              10268033310000000065
           Activity Trn: 2227550944Tc


08/10      Orig CO Name:Merchant Service           Orig ID:1841010148 Desc Date:210809                          166,418.20

           CO Entry Descr:Merch Dep Sec:CCD          Trace#:042000017550943

           Eed:210810     Ind ID:8030330933               Ind Name:Liberty Power

           Holdings                                                           Merchant

           Activity Trn: 2227550943Tc


08/10      Orig CO Name:Firstenergy Serv        Orig ID:1341968288 Desc Date:210810                               49,257.47

           CO Entry Descr:Payments       Sec:CCD    Trace#:021000026718823

           Eed:210810     Ind ID:000000250473629            Ind Name:Liberty Power

           Holdings Trn: 2216718823Tc


08/10      Orig CO Name:Firstenergy Serv        Orig ID:1341968288 Desc Date:210810                               46,244.12

           CO Entry Descr:Payments       Sec:CCD    Trace#:021000026718821

           Eed:210810     Ind ID:000000250473627            Ind Name:Liberty Power

           Holdings Trn: 2216718821Tc


08/10      Orig CO Name:ACH Processing             Orig ID:2731733336 Desc Date:        CO                        43,943.19

           Entry Descr:8887465741Sec:CCD         Trace#:104000012088707 Eed:210810

           Ind ID:17308524                Ind Name:Jazx ACH Processing

           8887465741 Trn: 2222088707Tc


08/10      Orig CO Name:Peco Energy Comp            Orig ID:1230970240 Desc                                       34,969.09

           Date:210806 CO Entry Descr:Pecochoicesec:CCD

           Trace#:111000016718836 Eed:210810          Ind ID:784087293              Ind

           Name:                    Rmr*IV*Liberty80042628 Trn: 2216718836Tc


08/10      Orig CO Name:Bal Gas&Elec            Orig ID:1520280210 Desc Date:Aug 10                               34,087.35

           CO Entry Descr:EDI Paymntsec:CTX         Trace#:031100207550923

           Eed:210810     Ind ID:0000298923               Ind Name:0008Liberty Power

           MA Trn: 2227550923Tc


08/10      Orig CO Name:Ameren                Orig ID:3006936017 Desc Date:        CO                             32,413.07

           Entry Descr:Acctspay    Sec:CCD     Trace#:042000016718830 Eed:210810

           Ind ID:                   Ind Name:Liberty Power Holdings Trn:

           2216718830Tc


08/10      Orig CO Name:Moneygram P Sys             Orig ID:3841327808 Desc                                       30,372.30

           Date:080921 CO Entry Descr:Mg Settle Sec:PPD        Trace#:043000266718842

           Eed:210810     Ind ID:101070032               Ind Name:Liberty Power

           Holdings      101070032,120586857,120580954,12057 1311 Trn:

           2216718842Tc


08/10      Orig CO Name:Natgridusaservco           Orig ID:1041663150 Desc Date:        CO                        29,757.64

           Entry Descr:Narragansesec:CTX       Trace#:028000087550977 Eed:210810

           Ind ID:81001928272022              Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2227550977Tc


08/10      Orig CO Name:Exelon                Orig ID:8188490880 Desc Date:        CO                             28,782.63

           Entry Descr:Corp Pymntsec:CTX       Trace#:111000027550890 Eed:210810

           Ind ID:0000219198               Ind Name:0010Liberty Power CO Trn:

           2227550890Tc


08/10      Orig CO Name:Firstenergy Serv        Orig ID:1341968288 Desc Date:210810                               25,279.79

           CO Entry Descr:Payments       Sec:CCD    Trace#:021000026718825

           Eed:210810     Ind ID:000000250473631            Ind Name:Liberty Power

           Holdings Trn: 2216718825Tc


08/10      Orig CO Name:Natgridusaservco           Orig ID:1041663150 Desc Date:        CO                        23,351.79

           Entry Descr:Narragansesec:CTX       Trace#:028000087550984 Eed:210810

           Ind ID:81001928262022              Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2227550984Tc




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Deposits and Credits         (continued)

Ledger     Description                                                                                                 Amount
Date

08/10      Orig CO Name:Fidelity Express          Orig ID:2751413801 Desc Date:Aug 21                               23,296.73

           CO Entry Descr:Bill Pay     Sec:CCD     Trace#:096016936718814 Eed:210810

           Ind ID:9003242                    Ind Name:Liberty Power Trn: 2216718814Tc


08/10      Orig CO Name:Ameren                   Orig ID:3006936017 Desc Date:       CO                             20,515.25

           Entry Descr:Acctspay      Sec:CCD     Trace#:042000016718828 Eed:210810

           Ind ID:                     Ind Name:Liberty Power Holdings Trn:

           2216718828Tc


08/10      Orig CO Name:Exelon                  Orig ID:8188490866 Desc Date:        CO                             14,646.01

           Entry Descr:Corp Pymntsec:CTX          Trace#:111000027550879 Eed:210810

           Ind ID:0000211770                  Ind Name:0009Liberty Power Ho Trn:

           2227550879Tc


08/10      Orig CO Name:Ppl Electric Uti         Orig ID:Fp20001802 Desc Date:       CO                             14,196.41

           Entry Descr:EDI Paymtssec:CTX          Trace#:031000037550946 Eed:210810

           Ind ID:117                      Ind Name:0009Liberty Power Ho Trn:

           2227550946Tc


08/10      Orig CO Name:Ipay Solutions            Orig ID:9Zzzzzzzzz Desc Date:080921                               11,332.17

           CO Entry Descr:Bill Pmt     Sec:CCD       Trace#:242071756718834 Eed:210810

           Ind ID:Bill Pmt                 Ind Name:Liberty Power

           866-454-6277 Trn: 2216718834Tc


08/10      Orig CO Name:ACH Processing               Orig ID:2731733336 Desc Date:        CO                        10,578.48

           Entry Descr:8887465741Sec:CCD           Trace#:104000012088706 Eed:210810

           Ind ID:17308516                   Ind Name:Jazx ACH Processing

           8887465741 Trn: 2222088706Tc


08/10      Orig CO Name:Firstenergy Serv           Orig ID:1341968288 Desc Date:210810                                9,999.76

           CO Entry Descr:Payments         Sec:CCD     Trace#:021000026718822

           Eed:210810    Ind ID:000000250473628               Ind Name:Liberty Power

           Holdings Trn: 2216718822Tc


08/10      Orig CO Name:NY State Electri          Orig ID:1150398550 Desc Date:        CO                             9,468.70

           Entry Descr:Achpaymentsec:CTX          Trace#:028000087550910 Eed:210810

           Ind ID:930113600026523                Ind Name:0002Liberty Power Ho

           Zz9301Supa21081001 Trn: 2227550910Tc


08/10      Orig CO Name:Engie Insight             Orig ID:1911701028 Desc Date:       CO                              9,114.79

           Entry Descr:820EFT0001Sec:CCD             Trace#:111000016718818 Eed:210810

           Ind ID:Ef1080911481105                Ind Name:Liberty Power Holdings

           Rmr*IV*16699923353                    **325.52**\Dtm*003*20210810**\ Trn:

           2216718818Tc


08/10      Orig CO Name:Pseg                    Orig ID:1221212800 Desc Date:290821 CO                                7,329.05

           Entry Descr:Pseg        Sec:CCD      Trace#:021000026718832 Eed:210810         Ind

           ID:006500052307                  Ind Name:Liberty P290821210810S

           Direct Deposit Trn: 2216718832Tc


08/10      Orig CO Name:Cass Info. Carr.          Orig ID:9000002001 Desc Date:210809                                 6,762.06

           CO Entry Descr:Conc Acctssec:CCD           Trace#:081000606718816

           Eed:210810    Ind ID:Liber60673B                Ind Name:Liberty Power Trn:

           2216718816Tc


08/10      Orig CO Name:Capturis                Orig ID:2431879364 Desc Date:210809 CO                                5,987.70

           Entry Descr:Bill Pay    Sec:CTX     Trace#:042000017550933 Eed:210810          Ind

           ID:4363                    Ind Name:0008Liberty Power Ho Trn: 2227550933Tc


08/10      Orig CO Name:Ameren                   Orig ID:3006936017 Desc Date:       CO                               5,916.91

           Entry Descr:Acctspay      Sec:CCD     Trace#:042000016718829 Eed:210810

           Ind ID:                     Ind Name:Liberty Power Holdings Trn:

           2216718829Tc


08/10      Orig CO Name:Firstenergy Serv           Orig ID:1341968288 Desc Date:210810                                5,722.91

           CO Entry Descr:Payments         Sec:CCD     Trace#:021000026718824

           Eed:210810    Ind ID:000000250473630               Ind Name:Liberty Power

           Holdings Trn: 2216718824Tc




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Deposits and Credits     (continued)

Ledger     Description                                                                                              Amount
Date

08/10      Orig CO Name:Nstar Electric -      Orig ID:1041278810 Desc Date:        CO                              4,934.62

           Entry Descr:Corp Pymntsec:CTX      Trace#:051000017550902 Eed:210810

           Ind ID:6480721                Ind Name:0006Liberty Power Ho Trn:

           2227550902Tc




                                                                                                                                 10268033311000000065
08/10      Orig CO Name:Firstenergy Serv       Orig ID:1341968288 Desc Date:210810                                 4,626.80

           CO Entry Descr:Payments      Sec:CCD     Trace#:021000026718826

           Eed:210810    Ind ID:000000250473632            Ind Name:Liberty Power Trn:

           2216718826Tc


08/10      Orig CO Name:Amer Elec 8152            Orig ID:1314271000 Desc Date:Aug 09                              4,336.06

           CO Entry Descr:EDI Paymntsec:CTX         Trace#:031100207550839

           Eed:210810    Ind ID:Ap003958448              Ind Name:0008Liberty Power

           Ho Trn: 2227550839Tc


08/10      Orig CO Name:Amer Elec 8152            Orig ID:1314271000 Desc Date:Aug 09                              3,146.46

           CO Entry Descr:EDI Paymntsec:CTX         Trace#:031100207550848

           Eed:210810    Ind ID:Ap003958449              Ind Name:0008Liberty Power

           Ho Trn: 2227550848Tc


08/10      Orig CO Name:Bal Gas&Elec           Orig ID:1520280210 Desc Date:Aug 10                                 3,058.68

           CO Entry Descr:EDI Paymntsec:CTX         Trace#:031100207550914

           Eed:210810    Ind ID:0000298922               Ind Name:0008Liberty Power

           MA Trn: 2227550914Tc


08/10      Orig CO Name:Natgridusaservco          Orig ID:1041663150 Desc Date:        CO                          1,840.47

           Entry Descr:Niagara Mosec:CTX      Trace#:028000087550957 Eed:210810

           Ind ID:81001928292022             Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2227550957Tc


08/10      Orig CO Name:Exelon               Orig ID:8188490861 Desc Date:        CO                                    562.59

           Entry Descr:Corp Pymntsec:CTX      Trace#:111000027550858 Eed:210810

           Ind ID:0000213977               Ind Name:0009Liberty Power Ho Trn:

           2227550858Tc


08/10      Orig CO Name:Exelon               Orig ID:8188490861 Desc Date:        CO                                     58.88

           Entry Descr:Corp Pymntsec:CTX      Trace#:111000027550868 Eed:210810

           Ind ID:0000213981               Ind Name:0009Liberty Power MA Trn:

           2227550868Tc


08/10      Orig CO Name:Natgridusaservco          Orig ID:1041663150 Desc Date:        CO                                16.24

           Entry Descr:Narragansesec:CTX      Trace#:028000087550971 Eed:210810

           Ind ID:81001928282022             Ind Name:0005Liberty Power Ho

           Direct Deposit Trn: 2227550971Tc


08/10      Orig CO Name:Natgridusaservco          Orig ID:1041663150 Desc Date:        CO                                10.21

           Entry Descr:Narragansesec:CTX      Trace#:028000087550965 Eed:210810

           Ind ID:81001928852022             Ind Name:0005Liberty Power Ho

           Direct Deposit Trn: 2227550965Tc


08/11      Lockbox No: 25901 For 109 Items At 16:00 5 Trn: 2100086223Lb                                          83,581.97


08/11      Orig CO Name:Exelon               Orig ID:8188490880 Desc Date:        CO                           175,474.21

           Entry Descr:Corp Pymntsec:CTX      Trace#:111000027178445 Eed:210811

           Ind ID:0000219272               Ind Name:0010Liberty Power CO Trn:

           2237178445Tc


08/11      Orig CO Name:Merchant Service          Orig ID:1841010148 Desc Date:210810                          111,401.93

           CO Entry Descr:Merch Dep Sec:CCD         Trace#:042000017178528

           Eed:210811    Ind ID:8030330933               Ind Name:Liberty Power

           Holdings                                                        Merchant

           Activity Trn: 2237178528Tc


08/11      Orig CO Name:Comed                 Orig ID:P360938600 Desc Date:210809                                78,021.30

           CO Entry Descr:Ucbpor_Paysec:CCD         Trace#:111000028402335

           Eed:210811    Ind ID:784087293               Ind Name:

           Rmr*IV*Cp00692950911480002037 Trn: 2228402335Tc




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Ledger     Description                                                                                               Amount
Date

08/11      Orig CO Name:American Express           Orig ID:1134992250 Desc Date:210810                            48,343.98

           CO Entry Descr:Settlementsec:CCD        Trace#:091000018402321 Eed:210811

           Ind ID:2582312351                 Ind Name:       2582312351

           Payment Date   21223 Trn: 2228402321Tc


08/11      Orig CO Name:Engie Insight           Orig ID:1911701028 Desc Date:       CO                            48,007.16

           Entry Descr:820EFT0001Sec:CCD          Trace#:111000018402318 Eed:210811

           Ind ID:Ef1081011281084              Ind Name:Liberty Power Holdings

           Rmr*IV*87566047288                   **688.57**\Dtm*003*20210811**\ Trn:

           2228402318Tc


08/11      Orig CO Name:ACH Processing            Orig ID:2731733336 Desc Date:        CO                         44,135.12

           Entry Descr:8887465741Sec:CCD          Trace#:104000017178457 Eed:210811

           Ind ID:17325360                 Ind Name:Jazx ACH Processing

           8887465741 Trn: 2237178457Tc


08/11      Orig CO Name:Exelon                Orig ID:8188490861 Desc Date:       CO                              41,441.81

           Entry Descr:Corp Pymntsec:CTX        Trace#:111000027178413 Eed:210811

           Ind ID:0000214047                 Ind Name:0009Liberty Power Ho Trn:

           2237178413Tc


08/11      Orig CO Name:Ameren                 Orig ID:3006936017 Desc Date:       CO                             34,685.24

           Entry Descr:Acctspay     Sec:CCD    Trace#:042000018402313 Eed:210811

           Ind ID:                    Ind Name:Liberty Power Holdings Trn:

           2228402313Tc


08/11      Orig CO Name:Peco Energy Comp            Orig ID:1230970240 Desc                                       33,301.66

           Date:210809 CO Entry Descr:Pecochoicesec:CCD

           Trace#:111000018402332 Eed:210811         Ind ID:784087293               Ind

           Name:                     Rmr*IV*Liberty80042629 Trn: 2228402332Tc


08/11      Orig CO Name:Pseg                  Orig ID:1221212800 Desc Date:300821 CO                              25,466.31

           Entry Descr:Pseg        Sec:CCD    Trace#:021000028402325 Eed:210811        Ind

           ID:006500052307               Ind Name:Liberty P300821210811S

           Direct Deposit Trn: 2228402325Tc


08/11      Orig CO Name:Ameren                 Orig ID:3006936017 Desc Date:       CO                             24,515.60

           Entry Descr:Acctspay     Sec:CCD    Trace#:042000018402312 Eed:210811

           Ind ID:                    Ind Name:Liberty Power Holdings Trn:

           2228402312Tc


08/11      Orig CO Name:Ppl Electric Uti       Orig ID:Fp20001802 Desc Date:       CO                             22,690.88

           Entry Descr:EDI Paymtssec:CTX        Trace#:031000037178517 Eed:210811

           Ind ID:78                    Ind Name:0009Liberty Power Ho Trn:

           2237178517Tc


08/11      Orig CO Name:Central Hudson            Orig ID:1140555980 Desc Date:202108                             21,021.01

           CO Entry Descr:ACH Pymnt Sec:CCD          Trace#:091000018402330

           Eed:210811    Ind ID:48809-051                Ind Name:Liberty Power Holdings

           Trn: 2228402330Tc


08/11      Orig CO Name:Lenze Americas C           Orig ID:3262596869 Desc Date:                                  18,550.38

           CO Entry Descr:3262596869Sec:CCD          Trace#:051000019176666

           Eed:210811    Ind ID:                    Ind Name:Liberty Power Holdings

           Direct Deposit Trn: 2239176666Tc


08/11      Orig CO Name:Bangor Hydro             Orig ID:1010024370 Desc Date:        CO                          18,464.54

           Entry Descr:Payments     Sec:CCD     Trace#:051000018402296 Eed:210811

           Ind ID:                    Ind Name:Liberty Power Holdings

           Disc Data Trn: 2228402296Tc


08/11      Orig CO Name:Exelon                Orig ID:8188490866 Desc Date:       CO                              18,211.13

           Entry Descr:Corp Pymntsec:CTX        Trace#:111000027178434 Eed:210811

           Ind ID:0000211833                 Ind Name:0009Liberty Power Ho Trn:

           2237178434Tc


08/11      Orig CO Name:Aes Corporation           Orig ID:9704918002 Desc Date:210811                             17,945.39

           CO Entry Descr:Payments      Sec:CTX     Trace#:021000027178491

           Eed:210811    Ind ID:000028339Usdy21             Ind Name:0009Liberty Power

           Ho Trn: 2237178491Tc




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Ledger     Description                                                                                                 Amount
Date

08/11      Orig CO Name:Moneygram P Sys               Orig ID:3841327808 Desc                                       17,561.38

           Date:081021 CO Entry Descr:Mg Settle Sec:PPD           Trace#:043000268402327

           Eed:210811     Ind ID:101070032                 Ind Name:Liberty Power

           Holdings      101070032,120597735 Trn: 2228402327Tc




                                                                                                                                 10268033312000000065
08/11      Orig CO Name:Firstenergy Serv           Orig ID:1341968288 Desc Date:210811                              15,788.65

           CO Entry Descr:Payments         Sec:CCD     Trace#:021000028402307

           Eed:210811     Ind ID:000000250523464               Ind Name:Liberty Power

           Holdings Trn: 2228402307Tc


08/11      Orig CO Name:Firstenergy Serv           Orig ID:1341968288 Desc Date:210811                              15,231.52

           CO Entry Descr:Payments         Sec:CCD     Trace#:021000028402310

           Eed:210811     Ind ID:000000250523467               Ind Name:Liberty Power Trn:

           2228402310Tc


08/11      Orig CO Name:Fidelity Express          Orig ID:2751413801 Desc Date:Aug 21                               14,647.83

           CO Entry Descr:Bill Pay     Sec:CCD     Trace#:096016938402298 Eed:210811

           Ind ID:9003242                   Ind Name:Liberty Power Trn: 2228402298Tc


08/11      Orig CO Name:Firstenergy Serv           Orig ID:1341968288 Desc Date:210811                              14,217.00

           CO Entry Descr:Payments         Sec:CCD     Trace#:021000028402308

           Eed:210811     Ind ID:000000250523465               Ind Name:Liberty Power

           Holdings Trn: 2228402308Tc


08/11      Orig CO Name:Nstar Electric -         Orig ID:1041278810 Desc Date:        CO                            11,544.83

           Entry Descr:Corp Pymntsec:CTX          Trace#:051000017178460 Eed:210811

           Ind ID:6490921                   Ind Name:0006Liberty Power Ho Trn:

           2237178460Tc


08/11      Orig CO Name:Exelon                  Orig ID:8188490861 Desc Date:        CO                             10,766.79

           Entry Descr:Corp Pymntsec:CTX          Trace#:111000027178423 Eed:210811

           Ind ID:0000214051                  Ind Name:0009Liberty Power MA Trn:

           2237178423Tc


08/11      Orig CO Name:Ipay Solutions            Orig ID:9Zzzzzzzzz Desc Date:081021                                 9,984.62

           CO Entry Descr:Bill Pmt     Sec:CCD       Trace#:242071758402323 Eed:210811

           Ind ID:Bill Pmt                 Ind Name:Liberty Power

           866-454-6277 Trn: 2228402323Tc


08/11      Orig CO Name:Ameren                   Orig ID:3006936017 Desc Date:        CO                              9,798.80

           Entry Descr:Acctspay      Sec:CCD     Trace#:042000018402314 Eed:210811

           Ind ID:                     Ind Name:Liberty Power Holdings Trn:

           2228402314Tc


08/11      Orig CO Name:ACH Processing               Orig ID:2731733336 Desc Date:         CO                         5,505.24

           Entry Descr:8887465741Sec:CCD           Trace#:104000017178458 Eed:210811

           Ind ID:17325497                   Ind Name:Jazx ACH Processing

           8887465741 Trn: 2237178458Tc


08/11      Orig CO Name:Firstenergy Serv           Orig ID:1341968288 Desc Date:210811                                4,656.40

           CO Entry Descr:Payments         Sec:CCD     Trace#:021000028402309

           Eed:210811     Ind ID:000000250523466               Ind Name:Liberty Power

           Holdings Trn: 2228402309Tc


08/11      Orig CO Name:Champion Lab                 Orig ID:1370995645 Desc Date:        CO                          2,808.44

           Entry Descr:ACH Paymt Sec:PPD          Trace#:091000018402302 Eed:210811

           Ind ID:00388824                   Ind Name:Liberty Power Corp LLC      ACH

           Paymt Trn: 2228402302Tc


08/11      Orig CO Name:Amer Elec 8152               Orig ID:1314271000 Desc Date:Aug 10                              2,781.56

           CO Entry Descr:EDI Paymntsec:CTX            Trace#:031100207178481

           Eed:210811     Ind ID:Ap003959009                 Ind Name:0008Liberty Power

           Ho Trn: 2237178481Tc


08/11      Orig CO Name:Dlco Por                Orig ID:3007915606 Desc Date:         CO                              2,245.42

           Entry Descr:EDI Paymtssec:CCD          Trace#:043000268402316 Eed:210811

           Ind ID:2021-08-10.00.0              Ind Name:Liberty Power Holdings Trn:

           2228402316Tc




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Ledger     Description                                                                                               Amount
Date

08/11      Orig CO Name:Firstenergy Serv         Orig ID:1341968288 Desc Date:210811                                2,123.27

           CO Entry Descr:Payments      Sec:CCD     Trace#:021000028402305

           Eed:210811    Ind ID:000000250523462             Ind Name:Liberty Power

           Holdings Trn: 2228402305Tc


08/11      Orig CO Name:Firstenergy Serv         Orig ID:1341968288 Desc Date:210811                                1,331.56

           CO Entry Descr:Payments      Sec:CCD     Trace#:021000028402306

           Eed:210811    Ind ID:000000250523463             Ind Name:Liberty Power

           Holdings Trn: 2228402306Tc


08/11      Orig CO Name:Amer Elec 8152            Orig ID:1314271000 Desc Date:Aug 10                               1,180.88

           CO Entry Descr:EDI Paymntsec:CTX         Trace#:031100207178472

           Eed:210811    Ind ID:Ap003959008               Ind Name:0008Liberty Power

           Ho Trn: 2237178472Tc


08/11      Orig CO Name:Cass Info. Carr.         Orig ID:9000002001 Desc Date:210810                                1,088.90

           CO Entry Descr:Conc Acctssec:CCD         Trace#:081000608402300

           Eed:210811    Ind ID:Liber60673B              Ind Name:Liberty Power Trn:

           2228402300Tc


08/11      Orig CO Name:NY State Electri         Orig ID:1150398550 Desc Date:       CO                                  575.22

           Entry Descr:Achpaymentsec:CTX         Trace#:028000087178468 Eed:210811

           Ind ID:930113600026672              Ind Name:0002Liberty Power Ho

           Zz9301Supa21081101 Trn: 2237178468Tc


08/11      Orig CO Name:Natgridusaservco          Orig ID:1041663150 Desc Date:        CO                                483.80

           Entry Descr:Niagara Mosec:CTX        Trace#:028000087178502 Eed:210811

           Ind ID:81001940642022               Ind Name:0005Liberty Power Ho

           Direct Deposit Trn: 2237178502Tc


08/11      Orig CO Name:Capturis              Orig ID:2431879364 Desc Date:210810 CO                                     229.49

           Entry Descr:Bill Pay   Sec:CTX     Trace#:042000017178509 Eed:210811        Ind

           ID:4363                  Ind Name:0006Liberty Power Ho Trn: 2237178509Tc


08/12      Lockbox No: 25901 For 34 Items At 16:00 5 Trn: 2101146224Lb                                              5,132.70


08/12      Orig CO Name:Merchant Service          Orig ID:1841010148 Desc Date:210811                           100,803.98

           CO Entry Descr:Merch Dep Sec:CCD         Trace#:042000017331244

           Eed:210812    Ind ID:8030330933               Ind Name:Liberty Power

           Holdings                                                        Merchant

           Activity Trn: 2247331244Tc


08/12      Orig CO Name:Exelon                Orig ID:8188490861 Desc Date:       CO                              87,247.34

           Entry Descr:Corp Pymntsec:CTX        Trace#:111000027331182 Eed:210812

           Ind ID:0000214126                 Ind Name:0009Liberty Power Ho Trn:

           2247331182Tc


08/12      Orig CO Name:Bal Gas&Elec             Orig ID:1520280210 Desc Date:Aug 12                              69,310.63

           CO Entry Descr:EDI Paymntsec:CTX         Trace#:031100207331230

           Eed:210812    Ind ID:0000299147               Ind Name:0008Liberty Power

           MA Trn: 2247331230Tc


08/12      Orig CO Name:ACH Processing            Orig ID:2731733336 Desc Date:        CO                         61,788.18

           Entry Descr:8887465741Sec:CCD         Trace#:104000019549542 Eed:210812

           Ind ID:17332982                  Ind Name:Jazx ACH Processing

           8887465741 Trn: 2239549542Tc


08/12      Orig CO Name:Natgridusaservco          Orig ID:1041663150 Desc Date:        CO                         45,560.29

           Entry Descr:Massachusesec:CTX         Trace#:028000087331261 Eed:210812

           Ind ID:81001958992022               Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2247331261Tc


08/12      Orig CO Name:Central Maine PO          Orig ID:3141798693 Desc Date:        CO                         40,520.16

           Entry Descr:Achpaymentsec:CTX         Trace#:211274457331150 Eed:210812

           Ind ID:931013600013181              Ind Name:0003Liberty Power Ho

           Zz9310Supa21081201 Trn: 2247331150Tc


08/12      Orig CO Name:Pseg                  Orig ID:1221212800 Desc Date:310821 CO                              32,648.30

           Entry Descr:Pseg       Sec:CCD     Trace#:021000029549551 Eed:210812        Ind

           ID:006500052307              Ind Name:Liberty P310821210812S

           Direct Deposit Trn: 2239549551Tc




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Ledger     Description                                                                                               Amount
Date

08/12      Orig CO Name:Engie Insight          Orig ID:1911701028 Desc Date:        CO                            28,700.25

           Entry Descr:820EFT0001Sec:CCD           Trace#:111000019549546 Eed:210812

           Ind ID:Ef1081111511091             Ind Name:Liberty Power Holdings

           Rmr*IV*16699923503                  **3813.56**\Dtm*003*20210812**\ Trn:




                                                                                                                               10268033313000000065
           2239549546Tc


08/12      Orig CO Name:Ameren                 Orig ID:3006936017 Desc Date:       CO                             26,476.45

           Entry Descr:Acctspay    Sec:CCD     Trace#:042000019549555 Eed:210812

           Ind ID:                    Ind Name:Liberty Power Holdings Trn:

           2239549555Tc


08/12      Orig CO Name:Ameren                 Orig ID:3006936017 Desc Date:       CO                             25,455.15

           Entry Descr:Acctspay    Sec:CCD     Trace#:042000019549553 Eed:210812

           Ind ID:                    Ind Name:Liberty Power Holdings Trn:

           2239549553Tc


08/12      Orig CO Name:Natgridusaservco           Orig ID:1041663150 Desc Date:        CO                        25,247.16

           Entry Descr:Narragansesec:CTX       Trace#:028000087331276 Eed:210812

           Ind ID:81001959012022             Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2247331276Tc


08/12      Orig CO Name:Firstenergy Serv        Orig ID:1341968288 Desc Date:210812                               21,569.46

           CO Entry Descr:Payments       Sec:CCD     Trace#:021000029549537

           Eed:210812     Ind ID:000000250557910            Ind Name:Liberty Power

           Holdings Trn: 2239549537Tc


08/12      Orig CO Name:Peco Energy Comp             Orig ID:1230970240 Desc                                      21,472.01

           Date:210810 CO Entry Descr:Pecochoicesec:CCD

           Trace#:111000019549559 Eed:210812          Ind ID:784087293              Ind

           Name:                     Rmr*IV*Liberty80042630 Trn: 2239549559Tc


08/12      Orig CO Name:Natgridusaservco           Orig ID:1041663150 Desc Date:        CO                        21,452.77

           Entry Descr:Massachusesec:CTX        Trace#:028000087331268 Eed:210812

           Ind ID:81001959002022             Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2247331268Tc


08/12      Orig CO Name:Nstar Electric -       Orig ID:1041278810 Desc Date:        CO                            18,127.08

           Entry Descr:Corp Pymntsec:CTX       Trace#:051000017331174 Eed:210812

           Ind ID:6497321                 Ind Name:0006Liberty Power Ho Trn:

           2247331174Tc


08/12      Orig CO Name:Exelon               Orig ID:8188490880 Desc Date:         CO                             18,071.97

           Entry Descr:Corp Pymntsec:CTX       Trace#:111000027331214 Eed:210812

           Ind ID:0000219356               Ind Name:0010Liberty Power CO Trn:

           2247331214Tc


08/12      Orig CO Name:Exelon               Orig ID:8188490866 Desc Date:         CO                             13,620.89

           Entry Descr:Corp Pymntsec:CTX       Trace#:111000027331203 Eed:210812

           Ind ID:0000211911               Ind Name:0009Liberty Power Ho Trn:

           2247331203Tc


08/12      Orig CO Name:Ameren                 Orig ID:3006936017 Desc Date:       CO                             11,257.67

           Entry Descr:Acctspay    Sec:CCD     Trace#:042000019549554 Eed:210812

           Ind ID:                    Ind Name:Liberty Power Holdings Trn:

           2239549554Tc


08/12      Orig CO Name:Moneygram P Sys             Orig ID:3841327808 Desc                                       10,584.11

           Date:081121 CO Entry Descr:Mg Settle Sec:PPD        Trace#:043000269549562

           Eed:210812     Ind ID:101070032               Ind Name:Liberty Power

           Holdings      101070032,120608510 Trn: 2239549562Tc


08/12      Orig CO Name:Fidelity Express        Orig ID:2751413801 Desc Date:Aug 21                               10,124.52

           CO Entry Descr:Bill Pay   Sec:CCD     Trace#:096016939549544 Eed:210812

           Ind ID:9003242                 Ind Name:Liberty Power Trn: 2239549544Tc


08/12      Orig CO Name:Firstenergy Serv        Orig ID:1341968288 Desc Date:210812                                 9,727.42

           CO Entry Descr:Payments       Sec:CCD     Trace#:021000029549538

           Eed:210812     Ind ID:000000250557911            Ind Name:Liberty Power

           Holdings Trn: 2239549538Tc




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Deposits and Credits         (continued)

Ledger     Description                                                                                                Amount
Date

08/12      Orig CO Name:Capturis                Orig ID:2431879364 Desc Date:210811 CO                               9,285.51

           Entry Descr:Bill Pay    Sec:CTX     Trace#:042000017331284 Eed:210812          Ind

           ID:4363                    Ind Name:0006Liberty Power Ho Trn: 2247331284Tc


08/12      Orig CO Name:Ipay Solutions           Orig ID:9Zzzzzzzzz Desc Date:081121                                 9,022.94

           CO Entry Descr:Bill Pmt     Sec:CCD       Trace#:242071759549565 Eed:210812

           Ind ID:Bill Pmt                 Ind Name:Liberty Power

           866-454-6277 Trn: 2239549565Tc


08/12      Orig CO Name:Firstenergy Serv          Orig ID:1341968288 Desc Date:210812                                8,945.20

           CO Entry Descr:Payments         Sec:CCD     Trace#:021000029549535

           Eed:210812    Ind ID:000000250557908               Ind Name:Liberty Power

           Holdings Trn: 2239549535Tc


08/12      Orig CO Name:Natgridusaservco             Orig ID:1041663150 Desc Date:        CO                         8,529.66

           Entry Descr:Massachusesec:CTX          Trace#:028000087331254 Eed:210812

           Ind ID:81001958982022                Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2247331254Tc


08/12      Orig CO Name:Amer Elec 8152               Orig ID:1314271000 Desc Date:Aug 11                             6,256.36

           CO Entry Descr:EDI Paymntsec:CTX            Trace#:031100207331155

           Eed:210812    Ind ID:Ap003959662                 Ind Name:0008Liberty Power

           Ho Trn: 2247331155Tc


08/12      Orig CO Name:ACH Processing               Orig ID:2731733336 Desc Date:        CO                         5,122.67

           Entry Descr:8887465741Sec:CCD           Trace#:104000019549541 Eed:210812

           Ind ID:17332912                   Ind Name:Jazx ACH Processing

           8887465741 Trn: 2239549541Tc


08/12      Orig CO Name:Exelon                  Orig ID:8188490861 Desc Date:        CO                              4,569.32

           Entry Descr:Corp Pymntsec:CTX         Trace#:111000027331192 Eed:210812

           Ind ID:0000214131                  Ind Name:0009Liberty Power MA Trn:

           2247331192Tc


08/12      Orig CO Name:Dlco Por                Orig ID:3007915606 Desc Date:        CO                              2,705.86

           Entry Descr:EDI Paymtssec:CCD          Trace#:043000269549549 Eed:210812

           Ind ID:2021-08-11.00.0             Ind Name:Liberty Power Holdings Trn:

           2239549549Tc


08/12      Orig CO Name:Firstenergy Serv          Orig ID:1341968288 Desc Date:210812                                2,473.21

           CO Entry Descr:Payments         Sec:CCD     Trace#:021000029549539

           Eed:210812    Ind ID:000000250557912               Ind Name:Liberty Power

           Holdings Trn: 2239549539Tc


08/12      Orig CO Name:Natgridusaservco             Orig ID:1041663150 Desc Date:        CO                         1,945.26

           Entry Descr:Niagara Mosec:CTX         Trace#:028000087331246 Eed:210812

           Ind ID:81001958972022                Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2247331246Tc


08/12      Orig CO Name:Rochester Gas &              Orig ID:9107592901 Desc Date:        CO                         1,926.05

           Entry Descr:Achpaymentsec:CTX          Trace#:021000027331240 Eed:210812

           Ind ID:930213600017417               Ind Name:0002Liberty Power Ho

           Zz9302Supa21081201 Trn: 2247331240Tc


08/12      Orig CO Name:Amer Elec 8152               Orig ID:1314271000 Desc Date:Aug 11                             1,144.03

           CO Entry Descr:EDI Paymntsec:CTX            Trace#:031100207331164

           Eed:210812    Ind ID:Ap003959663                 Ind Name:0008Liberty Power

           Ho Trn: 2247331164Tc


08/12      Orig CO Name:Kingstondata7822             Orig ID:9811287822 Desc Date:         CO                        1,136.29

           Entry Descr:July Remitsec:CCD        Trace#:242071759549533 Eed:210812

           Ind ID:2169                     Ind Name:Liberty Power

           July Remits G1 Trn: 2239549533Tc


08/12      Orig CO Name:Firstenergy Serv          Orig ID:1341968288 Desc Date:210812                                     884.52

           CO Entry Descr:Payments         Sec:CCD     Trace#:021000029549536

           Eed:210812    Ind ID:000000250557909               Ind Name:Liberty Power

           Holdings Trn: 2239549536Tc




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Ledger     Description                                                                                               Amount
Date

08/12      Orig CO Name:NY State Electri        Orig ID:1150398550 Desc Date:        CO                                  813.03

           Entry Descr:Achpaymentsec:CTX        Trace#:028000087331226 Eed:210812

           Ind ID:930113600026790             Ind Name:0002Liberty Power Ho

           Zz9301Supa21081201 Trn: 2247331226Tc




                                                                                                                                  10268033314000000065
08/12      Orig CO Name:American Express          Orig ID:1134992250 Desc Date:210811                                    646.40

           CO Entry Descr:Settlementsec:CCD       Trace#:091000019549557 Eed:210812

           Ind ID:2582312351                Ind Name:       2582312351

           Payment Date     21224 Trn: 2239549557Tc


08/13      Lockbox No: 25901 For 176 Items At 16:00 5 Trn: 2100601225Lb                                           65,028.80


08/13      Orig CO Name:Merchant Service         Orig ID:1841010148 Desc Date:210812                            125,178.46

           CO Entry Descr:Merch Dep Sec:CCD        Trace#:042000013920397

           Eed:210813    Ind ID:8030330933              Ind Name:Liberty Power

           Holdings                                                          Merchant

           Activity Trn: 2253920397Tc


08/13      Orig CO Name:ACH Processing           Orig ID:2731733336 Desc Date:         CO                         81,402.56

           Entry Descr:8887465741Sec:CCD        Trace#:104000013920305 Eed:210813

           Ind ID:17339819                 Ind Name:Jazx ACH Processing

           8887465741 Trn: 2253920305Tc


08/13      Orig CO Name:Ppl Electric Uti      Orig ID:Fp20001802 Desc Date:        CO                             64,667.08

           Entry Descr:EDI Paymtssec:CTX       Trace#:031000033920292 Eed:210813

           Ind ID:193                   Ind Name:0011Liberty Power Ho Trn:

           2253920292Tc


08/13      Orig CO Name:Nstar Electric -       Orig ID:1041278810 Desc Date:        CO                            54,327.86

           Entry Descr:Corp Pymntsec:CTX       Trace#:051000013920382 Eed:210813

           Ind ID:6505021                 Ind Name:0006Liberty Power Ho Trn:

           2253920382Tc


08/13      Orig CO Name:Natgridusaservco         Orig ID:1041663150 Desc Date:         CO                         52,541.43

           Entry Descr:Massachusesec:CTX        Trace#:028000083920455 Eed:210813

           Ind ID:81001974052022              Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2253920455Tc


08/13      Orig CO Name:Peco Energy Comp           Orig ID:1230970240 Desc                                        42,919.90

           Date:210811 CO Entry Descr:Pecochoicesec:CCD

           Trace#:111000013763558 Eed:210813        Ind ID:784087293                Ind

           Name:                   Rmr*IV*Liberty80042631 Trn: 2243763558Tc


08/13      Orig CO Name:Natgridusaservco         Orig ID:1041663150 Desc Date:         CO                         31,955.19

           Entry Descr:Massachusesec:CTX        Trace#:028000083920420 Eed:210813

           Ind ID:81001974102022              Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2253920420Tc


08/13      Orig CO Name:Ameren                Orig ID:3006936017 Desc Date:        CO                             31,533.45

           Entry Descr:Acctspay   Sec:CCD     Trace#:042000013763551 Eed:210813

           Ind ID:                  Ind Name:Liberty Power Holdings Trn:

           2243763551Tc


08/13      Orig CO Name:Engie Insight          Orig ID:1911701028 Desc Date:        CO                            28,788.21

           Entry Descr:820EFT0001Sec:CCD         Trace#:111000013763561 Eed:210813

           Ind ID:Ef1081211411103             Ind Name:Liberty Power Holdings

           Rmr*IV*20945743145                  **427.47**\Dtm*003*20210813**\ Trn:

           2243763561Tc


08/13      Orig CO Name:Exelon               Orig ID:8188490880 Desc Date:        CO                              22,670.23

           Entry Descr:Corp Pymntsec:CTX       Trace#:111000023920359 Eed:210813

           Ind ID:0000219467                Ind Name:0010Liberty Power CO Trn:

           2253920359Tc


08/13      Orig CO Name:American Express          Orig ID:1134992250 Desc Date:210812                             21,019.32

           CO Entry Descr:Settlementsec:CCD       Trace#:091000013763564 Eed:210813

           Ind ID:2582312351                Ind Name:       2582312351

           Payment Date     21225 Trn: 2243763564Tc




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Ledger     Description                                                                                                 Amount
Date

08/13      Orig CO Name:Natgridusaservco             Orig ID:1041663150 Desc Date:         CO                       18,953.86

           Entry Descr:Massachusesec:CTX          Trace#:028000083920406 Eed:210813

           Ind ID:81001974122022                Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2253920406Tc


08/13      Orig CO Name:Natgridusaservco             Orig ID:1041663150 Desc Date:         CO                       18,720.76

           Entry Descr:Narragansesec:CTX         Trace#:028000083920477 Eed:210813

           Ind ID:81001974142022                Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2253920477Tc


08/13      Orig CO Name:Natgridusaservco             Orig ID:1041663150 Desc Date:         CO                       18,313.44

           Entry Descr:Massachusesec:CTX          Trace#:028000083920448 Eed:210813

           Ind ID:81001974062022                Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2253920448Tc


08/13      Orig CO Name:Ameren                   Orig ID:3006936017 Desc Date:        CO                            15,687.15

           Entry Descr:Acctspay      Sec:CCD     Trace#:042000013763552 Eed:210813

           Ind ID:                     Ind Name:Liberty Power Holdings Trn:

           2243763552Tc


08/13      Orig CO Name:Natgridusaservco             Orig ID:1041663150 Desc Date:         CO                       15,559.75

           Entry Descr:Massachusesec:CTX          Trace#:028000083920434 Eed:210813

           Ind ID:81001974082022                Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2253920434Tc


08/13      Orig CO Name:Natgridusaservco             Orig ID:1041663150 Desc Date:         CO                       14,776.02

           Entry Descr:Massachusesec:CTX          Trace#:028000083920413 Eed:210813

           Ind ID:81001974112022                Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2253920413Tc


08/13      Orig CO Name:Firstenergy Serv           Orig ID:1341968288 Desc Date:210813                              13,219.75

           CO Entry Descr:Payments         Sec:CCD     Trace#:021000023763549

           Eed:210813     Ind ID:000000250568082              Ind Name:Liberty Power

           Holdings Trn: 2243763549Tc


08/13      Orig CO Name:Natgridusaservco             Orig ID:1041663150 Desc Date:         CO                       12,776.93

           Entry Descr:Massachusesec:CTX          Trace#:028000083920441 Eed:210813

           Ind ID:81001974072022                Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2253920441Tc


08/13      Orig CO Name:Ipay Solutions            Orig ID:9Zzzzzzzzz Desc Date:081221                               11,981.17

           CO Entry Descr:Bill Pmt     Sec:CCD       Trace#:242071753763540 Eed:210813

           Ind ID:Bill Pmt                 Ind Name:Liberty Power

           866-454-6277 Trn: 2243763540Tc


08/13      Orig CO Name:Moneygram P Sys               Orig ID:3841327808 Desc                                       10,969.32

           Date:081221 CO Entry Descr:Mg Settle Sec:PPD          Trace#:043000263763555

           Eed:210813     Ind ID:101070032                 Ind Name:Liberty Power

           Holdings      101070032,120620428 Trn: 2243763555Tc


08/13      Orig CO Name:Dlco Por                Orig ID:3007915606 Desc Date:         CO                            10,829.14

           Entry Descr:EDI Paymtssec:CCD          Trace#:043000263763538 Eed:210813

           Ind ID:2021-08-12.00.0              Ind Name:Liberty Power Holdings Trn:

           2243763538Tc


08/13      Orig CO Name:Natgridusaservco             Orig ID:1041663150 Desc Date:         CO                       10,453.41

           Entry Descr:Massachusesec:CTX          Trace#:028000083920427 Eed:210813

           Ind ID:81001974092022                Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2253920427Tc


08/13      Orig CO Name:Jefferson VA4135             Orig ID:1824603963 Desc Date:         CO                         9,792.93

           Entry Descr:Py081121       Sec:PPD    Trace#:051000013865129 Eed:210813

           Ind ID:00Libpow                  Ind Name:Liberty Power Holdings      Contact

           Payor For Details                  0000009792.930000000000. 00\ Trn:

           2253865129Tc


08/13      Orig CO Name:Fidelity Express          Orig ID:2751413801 Desc Date:Aug 21                                 8,956.22

           CO Entry Descr:Bill Pay     Sec:CCD     Trace#:096016933763545 Eed:210813

           Ind ID:9003242                   Ind Name:Liberty Power Trn: 2243763545Tc




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Ledger     Description                                                                                               Amount
Date

08/13      Orig CO Name:Aes Corporation            Orig ID:9704918002 Desc Date:210813                              7,349.37

           CO Entry Descr:Payments       Sec:CTX     Trace#:021000023920371

           Eed:210813    Ind ID:000028976Usdy21              Ind Name:0009Liberty Power

           Ho Trn: 2253920371Tc




                                                                                                                                  10268033315000000065
08/13      Orig CO Name:Natgridusaservco           Orig ID:1041663150 Desc Date:        CO                          7,321.76

           Entry Descr:Massachusesec:CTX        Trace#:028000083920462 Eed:210813

           Ind ID:81001974042022              Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2253920462Tc


08/13      Orig CO Name:Exelon                Orig ID:8188490866 Desc Date:        CO                               6,321.66

           Entry Descr:Corp Pymntsec:CTX       Trace#:111000023920348 Eed:210813

           Ind ID:0000212067                Ind Name:0009Liberty Power Ho Trn:

           2253920348Tc


08/13      Orig CO Name:ACH Processing             Orig ID:2731733336 Desc Date:        CO                          6,056.54

           Entry Descr:8887465741Sec:CCD           Trace#:104000013920306 Eed:210813

           Ind ID:17339936                 Ind Name:Jazx ACH Processing

           8887465741 Trn: 2253920306Tc


08/13      Orig CO Name:Ameren                Orig ID:3006936017 Desc Date:         CO                              4,833.68

           Entry Descr:Acctspay    Sec:CCD     Trace#:042000013763553 Eed:210813

           Ind ID:                   Ind Name:Liberty Power Holdings Trn:

           2243763553Tc


08/13      Orig CO Name:Central Maine PO            Orig ID:3141798693 Desc Date:        CO                         3,445.70

           Entry Descr:Achpaymentsec:CTX        Trace#:211274453920390 Eed:210813

           Ind ID:931013600013345             Ind Name:0001Liberty Power Ho

           Zz9310Supa21081301 Trn: 2253920390Tc


08/13      Orig CO Name:Amer Elec 8152             Orig ID:1314271000 Desc Date:Aug 12                              3,063.92

           CO Entry Descr:EDI Paymntsec:CTX          Trace#:031100203920317

           Eed:210813    Ind ID:Ap003960326                Ind Name:0008Liberty Power

           Ho Trn: 2253920317Tc


08/13      Orig CO Name:Exelon                Orig ID:8188490861 Desc Date:        CO                               3,015.05

           Entry Descr:Corp Pymntsec:CTX       Trace#:111000023920327 Eed:210813

           Ind ID:0000214237                Ind Name:0009Liberty Power Ho Trn:

           2253920327Tc


08/13      Orig CO Name:Exelon                Orig ID:8188490861 Desc Date:        CO                               2,929.11

           Entry Descr:Corp Pymntsec:CTX       Trace#:111000023920337 Eed:210813

           Ind ID:0000214241                Ind Name:0009Liberty Power MA Trn:

           2253920337Tc


08/13      Orig CO Name:Cass Info. Carr.        Orig ID:9000002001 Desc Date:210812                                 2,588.40

           CO Entry Descr:Conc Acctssec:CCD          Trace#:081000603763547

           Eed:210813    Ind ID:Liber60673B               Ind Name:Liberty Power Trn:

           2243763547Tc


08/13      Orig CO Name:Coprrelo Opr Pyb           Orig ID:2752239488 Desc Date:        CO                          2,582.49

           Entry Descr:Achbatch    Sec:CCD     Trace#:075911853763542 Eed:210813

           Ind ID:425181                  Ind Name:Liberty Power Holdings     Acct#

           74574647-967 Stmt# 60750033 Trn: 2243763542Tc


08/13      Orig CO Name:Realpage               Orig ID:752788861M Desc Date:          CO                            1,560.68

           Entry Descr:EDI Pymntssec:CTX       Trace#:091000013920491 Eed:210813

           Ind ID:121000240029073             Ind Name:0035Liberty Power

           EDI Trn: 2253920491Tc


08/13      Orig CO Name:Amer Elec 8152             Orig ID:1314271000 Desc Date:Aug 12                              1,159.26

           CO Entry Descr:EDI Paymntsec:CTX          Trace#:031100203920308

           Eed:210813    Ind ID:Ap003960325                Ind Name:0008Liberty Power

           Ho Trn: 2253920308Tc


08/13      Orig CO Name:Bal Gas&Elec            Orig ID:1520280210 Desc Date:Aug 13                                      448.74

           CO Entry Descr:EDI Paymntsec:CTX          Trace#:031100203920282

           Eed:210813    Ind ID:0000299316                Ind Name:0008Liberty Power

           MA Trn: 2253920282Tc




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Ledger     Description                                                                                              Amount
Date

08/13      Orig CO Name:Natgridusaservco        Orig ID:1041663150 Desc Date:         CO                                350.33

           Entry Descr:Niagara Mosec:CTX      Trace#:028000083920399 Eed:210813

           Ind ID:81001974032022             Ind Name:0005Liberty Power Ho

           Direct Deposit Trn: 2253920399Tc


08/13      Orig CO Name:Natgridusaservco        Orig ID:1041663150 Desc Date:         CO                                346.80

           Entry Descr:Nantucket Sec:CTX      Trace#:028000083920470 Eed:210813

           Ind ID:81001974132022             Ind Name:0005Liberty Power Ho

           Direct Deposit Trn: 2253920470Tc


08/13      Orig CO Name:NY State Electri       Orig ID:1150398550 Desc Date:        CO                                  119.74

           Entry Descr:Achpaymentsec:CTX       Trace#:028000083920393 Eed:210813

           Ind ID:930113600027090             Ind Name:0002Liberty Power Ho

           Zz9301Supa21081301 Trn: 2253920393Tc


08/13      Orig CO Name:Natgridusaservco        Orig ID:1041663150 Desc Date:         CO                                  8.95

           Entry Descr:Narragansesec:CTX      Trace#:028000083920484 Eed:210813

           Ind ID:81001974152022             Ind Name:0005Liberty Power Ho

           Direct Deposit Trn: 2253920484Tc


08/16      Lockbox No: 25901 For 168 Items At 16:00 5 Trn: 2101601228Lb                                        228,477.91


08/16      Orig CO Name:Merchant Service        Orig ID:1841010148 Desc Date:210813                            138,826.52

           CO Entry Descr:Merch Dep Sec:CCD       Trace#:042000012803087

           Eed:210816    Ind ID:8030330933             Ind Name:Liberty Power

           Holdings                                                       Merchant

           Activity Trn: 2282803087Tc


08/16      Orig CO Name:Nstar Electric -      Orig ID:1041278810 Desc Date:        CO                          103,856.29

           Entry Descr:Corp Pymntsec:CTX      Trace#:051000012803027 Eed:210816

           Ind ID:6509721               Ind Name:0006Liberty Power Ho Trn:

           2282803027Tc


08/16      Orig CO Name:Engie Insight         Orig ID:1911701028 Desc Date:        CO                            79,692.26

           Entry Descr:820EFT0001Sec:CCD        Trace#:111000013772921 Eed:210816

           Ind ID:Ef1081311021104            Ind Name:Liberty Power Holdings

           Rmr*IV*32010731538                 **1136.16**\Dtm*003*20210816**\ Trn:

           2253772921Tc


08/16      Orig CO Name:Merchant Service        Orig ID:1841010148 Desc Date:210814                              72,323.65

           CO Entry Descr:Merch Dep Sec:CCD       Trace#:042000012803079

           Eed:210816    Ind ID:8030330933             Ind Name:Liberty Power

           Holdings                                                       Merchant

           Activity Trn: 2282803079Tc


08/16      Orig CO Name:Pseg                Orig ID:1221212800 Desc Date:040921 CO                               63,738.22

           Entry Descr:Pseg    Sec:CCD       Trace#:021000023772913 Eed:210816        Ind

           ID:006500052307              Ind Name:Liberty P040921210816S

           Direct Deposit Trn: 2253772913Tc


08/16      Orig CO Name:Exelon               Orig ID:8188490880 Desc Date:       CO                              41,728.35

           Entry Descr:Corp Pymntsec:CTX      Trace#:111000022803010 Eed:210816

           Ind ID:0000219591               Ind Name:0010Liberty Power CO Trn:

           2282803010Tc


08/16      Orig CO Name:Natgridusaservco        Orig ID:1041663150 Desc Date:         CO                         34,354.15

           Entry Descr:Massachusesec:CTX       Trace#:028000082803050 Eed:210816

           Ind ID:81001996572022             Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2282803050Tc


08/16      Orig CO Name:Merchant Service        Orig ID:1841010148 Desc Date:210815                              27,071.92

           CO Entry Descr:Merch Dep Sec:CCD       Trace#:042000012803081

           Eed:210816    Ind ID:8030330933             Ind Name:Liberty Power

           Holdings                                                       Merchant

           Activity Trn: 2282803081Tc


08/16      Orig CO Name:Pseg                Orig ID:1221212800 Desc Date:040921 CO                               19,121.52

           Entry Descr:Pseg    Sec:CCD       Trace#:021000023772911 Eed:210816        Ind

           ID:006500052307              Ind Name:Liberty P040921210816S

           Direct Deposit Trn: 2253772911Tc




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Deposits and Credits       (continued)

Ledger     Description                                                                                                Amount
Date

08/16      Orig CO Name:Peco Energy Comp            Orig ID:1230970240 Desc                                        17,343.76

           Date:210812 CO Entry Descr:Pecochoicesec:CCD

           Trace#:111000013772894 Eed:210816          Ind ID:784087293               Ind

           Name:                     Rmr*IV*Liberty80042632 Trn: 2253772894Tc




                                                                                                                                10268033316000000065
08/16      Orig CO Name:Ppl Electric Uti        Orig ID:Fp20001802 Desc Date:       CO                             15,474.71

           Entry Descr:EDI Paymtssec:CTX        Trace#:031000032803039 Eed:210816

           Ind ID:58                     Ind Name:0009Liberty Power Ho Trn:

           2282803039Tc


08/16      Orig CO Name:Natgridusaservco           Orig ID:1041663150 Desc Date:        CO                         15,440.17

           Entry Descr:Narragansesec:CTX        Trace#:028000082803065 Eed:210816

           Ind ID:81001996552022               Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2282803065Tc


08/16      Orig CO Name:Exelon                 Orig ID:8188490861 Desc Date:       CO                              13,174.53

           Entry Descr:Corp Pymntsec:CTX        Trace#:111000022802978 Eed:210816

           Ind ID:0000214356                 Ind Name:0009Liberty Power Ho Trn:

           2282802978Tc


08/16      Orig CO Name:ACH Processing             Orig ID:2731733336 Desc Date:        CO                         12,807.55

           Entry Descr:8887465741Sec:CCD          Trace#:104000012803025 Eed:210816

           Ind ID:17347194                  Ind Name:Jazx ACH Processing

           8887465741 Trn: 2282803025Tc


08/16      Orig CO Name:Amer Elec 8152             Orig ID:1314271000 Desc Date:Aug 13                             12,271.96

           CO Entry Descr:EDI Paymntsec:CTX          Trace#:031100202802968

           Eed:210816     Ind ID:Ap003962878              Ind Name:0008Liberty Power

           Ho Trn: 2282802968Tc


08/16      Orig CO Name:Firstenergy Serv          Orig ID:1341968288 Desc Date:210814                              11,942.34

           CO Entry Descr:Payments       Sec:CCD     Trace#:021000023772900

           Eed:210816     Ind ID:000000250626303            Ind Name:Liberty Power

           Holdings Trn: 2253772900Tc


08/16      Orig CO Name:Exelon                 Orig ID:8188490866 Desc Date:       CO                              11,234.73

           Entry Descr:Corp Pymntsec:CTX        Trace#:111000022802999 Eed:210816

           Ind ID:0000212178                 Ind Name:0009Liberty Power Ho Trn:

           2282802999Tc


08/16      Orig CO Name:Fidelity Express         Orig ID:2751413801 Desc Date:Aug 21                                 9,676.37

           CO Entry Descr:Bill Pay   Sec:CCD      Trace#:096016933772892 Eed:210816

           Ind ID:9003242                  Ind Name:Liberty Power Trn: 2253772892Tc


08/16      Orig CO Name:Comed                   Orig ID:P360938600 Desc Date:210812                                  8,681.15

           CO Entry Descr:Ucbpor_Paysec:CCD          Trace#:111000023772897

           Eed:210816     Ind ID:784087293               Ind Name:

           Rmr*IV*Cp00692950911480002038 Trn: 2253772897Tc


08/16      Orig CO Name:Natgridusaservco           Orig ID:1041663150 Desc Date:        CO                           8,284.79

           Entry Descr:Massachusesec:CTX         Trace#:028000082803057 Eed:210816

           Ind ID:81001996582022               Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2282803057Tc


08/16      Orig CO Name:Moneygram P Sys             Orig ID:3841327808 Desc                                          7,828.44

           Date:081321 CO Entry Descr:Mg Settle Sec:PPD        Trace#:043000263772908

           Eed:210816     Ind ID:101070032               Ind Name:Liberty Power

           Holdings      101070032,120632160 Trn: 2253772908Tc


08/16      Orig CO Name:ACH Processing             Orig ID:2731733336 Desc Date:        CO                           7,276.28

           Entry Descr:8887465741Sec:CCD          Trace#:104000012803024 Eed:210816

           Ind ID:17347081                  Ind Name:Jazx ACH Processing

           8887465741 Trn: 2282803024Tc


08/16      Orig CO Name:NY State Electri         Orig ID:1150398550 Desc Date:        CO                             7,248.29

           Entry Descr:Achpaymentsec:CTX         Trace#:028000082803035 Eed:210816

           Ind ID:930113600027167               Ind Name:0002Liberty Power Ho

           Zz9301Supa21081601 Trn: 2282803035Tc




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Deposits and Credits         (continued)

Ledger     Description                                                                                                 Amount
Date

08/16      Orig CO Name:Capturis                Orig ID:2431879364 Desc Date:210813 CO                                7,147.95

           Entry Descr:Bill Pay    Sec:CTX     Trace#:042000012803089 Eed:210816         Ind

           ID:4363                    Ind Name:0008Liberty Power Ho Trn: 2282803089Tc


08/16      Orig CO Name:American Express            Orig ID:1134992250 Desc Date:210814                               5,610.84

           CO Entry Descr:Settlementsec:CCD          Trace#:091000012803085 Eed:210816

           Ind ID:2582312351                  Ind Name:        2582312351

           Payment Date      21228 Trn: 2282803085Tc


08/16      Orig CO Name:Ameren                   Orig ID:3006936017 Desc Date:        CO                              5,370.77

           Entry Descr:Acctspay      Sec:CCD     Trace#:042000013772906 Eed:210816

           Ind ID:                     Ind Name:Liberty Power Holdings Trn:

           2253772906Tc


08/16      Orig CO Name:Ipay Solutions            Orig ID:9Zzzzzzzzz Desc Date:081321                                 5,319.64

           CO Entry Descr:Bill Pmt     Sec:CCD     Trace#:242071753772915 Eed:210816

           Ind ID:Bill Pmt                 Ind Name:Liberty Power

           866-454-6277 Trn: 2253772915Tc


08/16      Orig CO Name:Bal Gas&Elec              Orig ID:1520280210 Desc Date:Aug 16                                 5,218.30

           CO Entry Descr:EDI Paymntsec:CTX          Trace#:031100202802949

           Eed:210816    Ind ID:0000299527                 Ind Name:0008Liberty Power

           MA Trn: 2282802949Tc


08/16      Orig CO Name:Bass Tool Supply           Orig ID:9382333505 Desc Date:           CO                         4,676.94

           Entry Descr:Direct Paysec:CCD        Trace#:113011253772917 Eed:210816

           Ind ID:Dirpay#E0151285               Ind Name:Liberty Power Holdings Trn:

           2253772917Tc


08/16      Orig CO Name:Exelon                  Orig ID:8188490861 Desc Date:       CO                                4,382.34

           Entry Descr:Corp Pymntsec:CTX          Trace#:111000022802988 Eed:210816

           Ind ID:0000214365                  Ind Name:0009Liberty Power MA Trn:

           2282802988Tc


08/16      Orig CO Name:Ameren                   Orig ID:3006936017 Desc Date:        CO                              4,114.02

           Entry Descr:Acctspay      Sec:CCD     Trace#:042000013772904 Eed:210816

           Ind ID:                     Ind Name:Liberty Power Holdings Trn:

           2253772904Tc


08/16      Orig CO Name:American Express            Orig ID:1134992250 Desc Date:210813                               3,561.26

           CO Entry Descr:Settlementsec:CCD          Trace#:091000012803083 Eed:210816

           Ind ID:2582312351                  Ind Name:        2582312351

           Payment Date      21226 Trn: 2282803083Tc


08/16      Orig CO Name:Dlco Por                Orig ID:3007915606 Desc Date:         CO                              2,194.15

           Entry Descr:EDI Paymtssec:CCD          Trace#:043000263772902 Eed:210816

           Ind ID:2021-08-13.00.0              Ind Name:Liberty Power Holdings Trn:

           2253772902Tc


08/16      Orig CO Name:Cass Info. Carr.          Orig ID:9000002001 Desc Date:210813                                 2,113.16

           CO Entry Descr:Conc Acctssec:CCD          Trace#:081000603772919

           Eed:210816    Ind ID:Liber60673B                Ind Name:Liberty Power Trn:

           2253772919Tc


08/16      Orig CO Name:Amer Elec 8152             Orig ID:1314271000 Desc Date:Aug 13                                1,744.60

           CO Entry Descr:EDI Paymntsec:CTX          Trace#:031100202802959

           Eed:210816    Ind ID:Ap003962877                 Ind Name:0008Liberty Power

           Ho Trn: 2282802959Tc


08/16      Orig CO Name:Ameren                   Orig ID:3006936017 Desc Date:        CO                                   760.20

           Entry Descr:Acctspay      Sec:CCD     Trace#:042000013772905 Eed:210816

           Ind ID:                     Ind Name:Liberty Power Holdings Trn:

           2253772905Tc


08/16      Orig CO Name:American Express            Orig ID:1134992250 Desc Date:210815                                    690.32

           CO Entry Descr:Settlementsec:CCD          Trace#:091000012803022 Eed:210816

           Ind ID:2582312351                  Ind Name:        2582312351

           Payment Date      21228 Trn: 2282803022Tc




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Ledger     Description                                                                                               Amount
Date

08/16      Orig CO Name:Natgridusaservco           Orig ID:1041663150 Desc Date:        CO                               19.86

           Entry Descr:Narragansesec:CTX       Trace#:028000082803072 Eed:210816

           Ind ID:81001996562022              Ind Name:0005Liberty Power Ho

           Direct Deposit Trn: 2282803072Tc




                                                                                                                                 10268033317000000065
08/17      Book Transfer Credit B/O: The United Illuminating Company New Haven CT                               991,839.36

           06510- US Ref: Payment Detail: Date:- Payment:- Sap Doc:3600006088-

           Company:9331- Cre Ditor:0000630446 Trn: 2499900229Jo

           YOUR REF:      CAP OF 21/08/17


08/17      Lockbox No: 25901 For 31 Items At 16:00 5 Trn: 2100354229Lb                                            38,289.37


08/17      Orig CO Name:Comed                  Orig ID:P360938600 Desc Date:210813                              315,592.01

           CO Entry Descr:Ucbpor_Paysec:CCD          Trace#:111000025520114

           Eed:210817     Ind ID:784087293               Ind Name:

           Rmr*IV*Cp00692950911480002039 Trn: 2285520114Tc


08/17      Orig CO Name:Merchant Service           Orig ID:1841010148 Desc Date:210816                          212,249.75

           CO Entry Descr:Merch Dep Sec:CCD          Trace#:042000013011518

           Eed:210817     Ind ID:8030330933               Ind Name:Liberty Power

           Holdings                                                           Merchant

           Activity Trn: 2293011518Tc


08/17      Orig CO Name:Exelon                Orig ID:8188490880 Desc Date:        CO                             31,981.51

           Entry Descr:Corp Pymntsec:CTX       Trace#:111000023011481 Eed:210817

           Ind ID:0000219686                Ind Name:0010Liberty Power CO Trn:

           2293011481Tc


08/17      Orig CO Name:Fidelity Express        Orig ID:2751413801 Desc Date:Aug 21                               30,435.91

           CO Entry Descr:Bill Pay   Sec:CCD     Trace#:096016935520125 Eed:210817

           Ind ID:9003242                 Ind Name:Liberty Power Trn: 2285520125Tc


08/17      Orig CO Name:Natgridusaservco           Orig ID:1041663150 Desc Date:        CO                        30,127.46

           Entry Descr:Narragansesec:CTX       Trace#:028000083011562 Eed:210817

           Ind ID:81002025962022              Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2293011562Tc


08/17      Orig CO Name:Ameren                 Orig ID:3006936017 Desc Date:       CO                             30,011.11

           Entry Descr:Acctspay    Sec:CCD     Trace#:042000015520137 Eed:210817

           Ind ID:                    Ind Name:Liberty Power Holdings Trn:

           2285520137Tc


08/17      Orig CO Name:Firstenergy Serv        Orig ID:1341968288 Desc Date:210817                               29,606.11

           CO Entry Descr:Payments       Sec:CCD    Trace#:021000025520131

           Eed:210817     Ind ID:000000250682817            Ind Name:Liberty Power

           Holdings Trn: 2285520131Tc


08/17      Orig CO Name:Peco Energy Comp            Orig ID:1230970240 Desc                                       27,354.43

           Date:210813 CO Entry Descr:Pecochoicesec:CCD

           Trace#:111000015520117 Eed:210817          Ind ID:784087293              Ind

           Name:                     Rmr*IV*Liberty80042633 Trn: 2285520117Tc


08/17      Orig CO Name:Moneygram P Sys             Orig ID:3841327808 Desc                                       26,576.60

           Date:081621 CO Entry Descr:Mg Settle Sec:PPD        Trace#:043000265520120

           Eed:210817     Ind ID:101070032               Ind Name:Liberty Power

           Holdings      101070032,120642957,120657784,12065 1587 Trn:

           2285520120Tc


08/17      Orig CO Name:Ameren                 Orig ID:3006936017 Desc Date:       CO                             25,963.49

           Entry Descr:Acctspay    Sec:CCD     Trace#:042000015520136 Eed:210817

           Ind ID:                    Ind Name:Liberty Power Holdings Trn:

           2285520136Tc


08/17      Orig CO Name:Firstenergy Serv        Orig ID:1341968288 Desc Date:210817                               23,312.86

           CO Entry Descr:Payments       Sec:CCD    Trace#:021000025520129

           Eed:210817     Ind ID:000000250682815            Ind Name:Liberty Power

           Holdings Trn: 2285520129Tc




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Ledger     Description                                                                                                   Amount
Date

08/17      Orig CO Name:Pseg                    Orig ID:1221212800 Desc Date:050921 CO                                22,361.57

           Entry Descr:Pseg        Sec:CCD      Trace#:021000025520140 Eed:210817          Ind

           ID:006500052307                  Ind Name:Liberty P050921210817S

           Direct Deposit Trn: 2285520140Tc


08/17      Orig CO Name:ACH Processing               Orig ID:2731733336 Desc Date:         CO                         20,512.91

           Entry Descr:8887465741Sec:CCD            Trace#:104000013011539 Eed:210817

           Ind ID:17354771                    Ind Name:Jazx ACH Processing

           8887465741 Trn: 2293011539Tc


08/17      Orig CO Name:Bal Gas&Elec               Orig ID:1520280210 Desc Date:Aug 17                                18,129.70

           CO Entry Descr:EDI Paymntsec:CTX            Trace#:031100203011520

           Eed:210817     Ind ID:0000299769                 Ind Name:0008Liberty Power

           MA Trn: 2293011520Tc


08/17      Orig CO Name:Natgridusaservco             Orig ID:1041663150 Desc Date:         CO                         12,052.01

           Entry Descr:Narragansesec:CTX          Trace#:028000083011549 Eed:210817

           Ind ID:81002025942022                 Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2293011549Tc


08/17      Orig CO Name:Western Oilf0699             Orig ID:1951362750 Desc Date:         CO                         12,028.79

           Entry Descr:Trade Pay Sec:CCD          Trace#:051000010163335 Eed:210817

           Ind ID:16448                     Ind Name:Liberty Power Holdings Trn:

           2290163335Tc


08/17      Orig CO Name:Exelon                   Orig ID:8188490866 Desc Date:        CO                              11,252.56

           Entry Descr:Corp Pymntsec:CTX          Trace#:111000023011470 Eed:210817

           Ind ID:0000212257                   Ind Name:0009Liberty Power Ho Trn:

           2293011470Tc


08/17      Orig CO Name:Ppl Electric Uti          Orig ID:Fp20001802 Desc Date:        CO                             10,982.97

           Entry Descr:EDI Paymtssec:CTX          Trace#:031000033011497 Eed:210817

           Ind ID:41                       Ind Name:0009Liberty Power Ho Trn:

           2293011497Tc


08/17      Orig CO Name:Bal Gas&Elec               Orig ID:1520280210 Desc Date:Aug 17                                  9,429.84

           CO Entry Descr:EDI Paymntsec:CTX            Trace#:031100203011529

           Eed:210817     Ind ID:0000299770                 Ind Name:0008Liberty Power

           MA Trn: 2293011529Tc


08/17      Orig CO Name:Firstenergy Serv            Orig ID:1341968288 Desc Date:210817                                 9,390.01

           CO Entry Descr:Payments         Sec:CCD     Trace#:021000025520132

           Eed:210817     Ind ID:000000250682818              Ind Name:Liberty Power

           Holdings Trn: 2285520132Tc


08/17      Orig CO Name:Ipay Solutions            Orig ID:9Zzzzzzzzz Desc Date:081621                                   8,444.46

           CO Entry Descr:Bill Pmt     Sec:CCD       Trace#:242071755520142 Eed:210817

           Ind ID:Bill Pmt                  Ind Name:Liberty Power

           866-454-6277 Trn: 2285520142Tc


08/17      Orig CO Name:Exelon                   Orig ID:8188490861 Desc Date:        CO                                8,370.55

           Entry Descr:Corp Pymntsec:CTX          Trace#:111000023011449 Eed:210817

           Ind ID:0000214458                   Ind Name:0009Liberty Power Ho Trn:

           2293011449Tc


08/17      Orig CO Name:Exelon                   Orig ID:8188490861 Desc Date:        CO                                7,392.72

           Entry Descr:Corp Pymntsec:CTX          Trace#:111000023011459 Eed:210817

           Ind ID:0000214465                   Ind Name:0009Liberty Power MA Trn:

           2293011459Tc


08/17      Orig CO Name:Central Maine PO             Orig ID:3141798693 Desc Date:         CO                           6,768.02

           Entry Descr:Achpaymentsec:CTX           Trace#:211274453011426 Eed:210817

           Ind ID:931013600013473                 Ind Name:0002Liberty Power Ho

           Zz9310Supa21081701 Trn: 2293011426Tc


08/17      Orig CO Name:Firstenergy Serv            Orig ID:1341968288 Desc Date:210817                                 6,040.81

           CO Entry Descr:Payments         Sec:CCD     Trace#:021000025520130

           Eed:210817     Ind ID:000000250682816              Ind Name:Liberty Power

           Holdings Trn: 2285520130Tc




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Ledger     Description                                                                                               Amount
Date

08/17      Orig CO Name:Firstenergy Serv        Orig ID:1341968288 Desc Date:210817                                 5,928.39

           CO Entry Descr:Payments      Sec:CCD     Trace#:021000025520134

           Eed:210817     Ind ID:000000250682820           Ind Name:Liberty Power Trn:

           2285520134Tc




                                                                                                                                  10268033318000000065
08/17      Orig CO Name:Firstenergy Serv        Orig ID:1341968288 Desc Date:210817                                 5,160.80

           CO Entry Descr:Payments      Sec:CCD     Trace#:021000025520133

           Eed:210817     Ind ID:000000250682819           Ind Name:Liberty Power

           Holdings Trn: 2285520133Tc


08/17      Orig CO Name:Ameren                Orig ID:3006936017 Desc Date:        CO                               4,794.89

           Entry Descr:Acctspay   Sec:CCD      Trace#:042000015520138 Eed:210817

           Ind ID:                  Ind Name:Liberty Power Holdings Trn:

           2285520138Tc


08/17      Orig CO Name:NY State Electri        Orig ID:1150398550 Desc Date:        CO                             3,463.10

           Entry Descr:Achpaymentsec:CTX        Trace#:028000083011493 Eed:210817

           Ind ID:930113600027367             Ind Name:0002Liberty Power Ho

           Zz9301Supa21081701 Trn: 2293011493Tc


08/17      Orig CO Name:ACH Processing            Orig ID:2731733336 Desc Date:        CO                           2,885.19

           Entry Descr:8887465741Sec:CCD          Trace#:104000013011540 Eed:210817

           Ind ID:17354799               Ind Name:Jazx ACH Processing

           8887465741 Trn: 2293011540Tc


08/17      Orig CO Name:Amer Elec 8152            Orig ID:1314271000 Desc Date:Aug 16                               2,559.13

           CO Entry Descr:EDI Paymntsec:CTX         Trace#:031100203011430

           Eed:210817     Ind ID:Ap003963620              Ind Name:0008Liberty Power

           Ho Trn: 2293011430Tc


08/17      Orig CO Name:Amer Elec 8152            Orig ID:1314271000 Desc Date:Aug 16                               1,888.48

           CO Entry Descr:EDI Paymntsec:CTX         Trace#:031100203011439

           Eed:210817     Ind ID:Ap003963621              Ind Name:0008Liberty Power

           Ho Trn: 2293011439Tc


08/17      Orig CO Name:Engie Insight          Orig ID:1911701028 Desc Date:        CO                              1,584.83

           Entry Descr:820EFT0001Sec:CCD          Trace#:111000015520111 Eed:210817

           Ind ID:Ef1081612001093            Ind Name:Liberty Power Holdings

           Rmr*IV*29490866259                  **1013.03**\Dtm*003*20210817**\ Trn:

           2285520111Tc


08/17      Orig CO Name:Western Oilf0699          Orig ID:1951362750 Desc Date:       CO                                 432.35

           Entry Descr:Trade Pay Sec:CCD       Trace#:051000015520123 Eed:210817

           Ind ID:16448                 Ind Name:Liberty Power Holdings Trn:

           2285520123Tc


08/17      Orig CO Name:Natgridusaservco          Orig ID:1041663150 Desc Date:        CO                                102.77

           Entry Descr:Niagara Mosec:CTX       Trace#:028000083011542 Eed:210817

           Ind ID:81002025932022             Ind Name:0005Liberty Power Ho

           Direct Deposit Trn: 2293011542Tc


08/17      Orig CO Name:International PA        Orig ID:1130872805 Desc Date:        CO                                   98.69

           Entry Descr:Trade Pay Sec:CCD       Trace#:043000265520127 Eed:210817

           Ind ID:                  Ind Name:Liberty Power Holdings

           Direct Deposit Trn: 2285520127Tc


08/17      Orig CO Name:Natgridusaservco          Orig ID:1041663150 Desc Date:        CO                                 17.34

           Entry Descr:Narragansesec:CTX       Trace#:028000083011556 Eed:210817

           Ind ID:81002025952022             Ind Name:0005Liberty Power Ho

           Direct Deposit Trn: 2293011556Tc


08/17      Orig CO Name:Oncor Electric D        Orig ID:7529678301 Desc Date:210817                                        8.97

           CO Entry Descr:Payments      Sec:CTX     Trace#:021000023011508

           Eed:210817     Ind ID:Ap000379012              Ind Name:0008Liberty Power

           Ho Trn: 2293011508Tc


08/18      Lockbox No: 25901 For 225 Items At 16:00 5 Trn: 2100667230Lb                                         146,529.00




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Ledger     Description                                                                                                  Amount
Date

08/18      Orig CO Name:Merchant Service            Orig ID:1841010148 Desc Date:210817                            130,236.94

           CO Entry Descr:Merch Dep Sec:CCD            Trace#:042000019409498

           Eed:210818     Ind ID:8030330933                 Ind Name:Liberty Power

           Holdings                                                             Merchant

           Activity Trn: 2309409498Tc


08/18      Orig CO Name:Comed                     Orig ID:P360938600 Desc Date:210816                                64,031.03

           CO Entry Descr:Ucbpor_Paysec:CCD            Trace#:111000020739895

           Eed:210818     Ind ID:784087293                 Ind Name:

           Rmr*IV*Cp00692950911480002040 Trn: 2290739895Tc


08/18      Orig CO Name:Engie Insight             Orig ID:1911701028 Desc Date:        CO                            57,285.24

           Entry Descr:820EFT0001Sec:CCD            Trace#:111000010739889 Eed:210818

           Ind ID:Ef1081711281082                Ind Name:Liberty Power Holdings

           Rmr*IV*02377150320                     **33.14**\Dtm*003*20210818**\ Trn:

           2290739889Tc


08/18      Orig CO Name:Ameren                    Orig ID:3006936017 Desc Date:       CO                             55,582.56

           Entry Descr:Acctspay      Sec:CCD      Trace#:042000010739900 Eed:210818

           Ind ID:                     Ind Name:Liberty Power Holdings Trn:

           2290739900Tc


08/18      Orig CO Name:Nstar Electric -          Orig ID:1041278810 Desc Date:        CO                            44,037.25

           Entry Descr:Corp Pymntsec:CTX          Trace#:051000019409393 Eed:210818

           Ind ID:6521021                    Ind Name:0007Liberty Power Ho Trn:

           2309409393Tc


08/18      Orig CO Name:Ppl Electric Uti          Orig ID:Fp20001802 Desc Date:       CO                             41,025.45

           Entry Descr:EDI Paymtssec:CTX          Trace#:031000039409483 Eed:210818

           Ind ID:26                       Ind Name:0009Liberty Power Ho Trn:

           2309409483Tc


08/18      Orig CO Name:ACH Processing               Orig ID:2731733336 Desc Date:        CO                         34,179.05

           Entry Descr:8887465741Sec:CCD            Trace#:104000019409425 Eed:210818

           Ind ID:17372972                    Ind Name:Jazx ACH Processing

           8887465741 Trn: 2309409425Tc


08/18      Orig CO Name:Ameren                    Orig ID:3006936017 Desc Date:       CO                             27,251.07

           Entry Descr:Acctspay      Sec:CCD      Trace#:042000010739898 Eed:210818

           Ind ID:                     Ind Name:Liberty Power Holdings Trn:

           2290739898Tc


08/18      Orig CO Name:Pseg                    Orig ID:1221212800 Desc Date:060921 CO                               25,375.78

           Entry Descr:Pseg        Sec:CCD      Trace#:021000020739902 Eed:210818         Ind

           ID:006500052307                  Ind Name:Liberty P060921210818S

           Direct Deposit Trn: 2290739902Tc


08/18      Orig CO Name:Exelon                   Orig ID:8188490880 Desc Date:       CO                              24,153.07

           Entry Descr:Corp Pymntsec:CTX          Trace#:111000029409471 Eed:210818

           Ind ID:0000219767                   Ind Name:0010Liberty Power CO Trn:

           2309409471Tc


08/18      Orig CO Name:Exelon                   Orig ID:8188490861 Desc Date:       CO                              18,268.58

           Entry Descr:Corp Pymntsec:CTX          Trace#:111000029409439 Eed:210818

           Ind ID:0000214530                   Ind Name:0009Liberty Power Ho Trn:

           2309409439Tc


08/18      Orig CO Name:Moneygram P Sys               Orig ID:3841327808 Desc                                        17,798.26

           Date:081721 CO Entry Descr:Mg Settle Sec:PPD          Trace#:043000260739904

           Eed:210818     Ind ID:101070032                 Ind Name:Liberty Power

           Holdings      101070032,120668153 Trn: 2290739904Tc


08/18      Orig CO Name:Fidelity Express           Orig ID:2751413801 Desc Date:Aug 21                               17,160.29

           CO Entry Descr:Bill Pay     Sec:CCD      Trace#:096016930739887 Eed:210818

           Ind ID:9003242                    Ind Name:Liberty Power Trn: 2290739887Tc


08/18      Orig CO Name:Ipay Solutions            Orig ID:9Zzzzzzzzz Desc Date:081721                                16,593.48

           CO Entry Descr:Bill Pmt     Sec:CCD      Trace#:242071750739911 Eed:210818

           Ind ID:Bill Pmt                  Ind Name:Liberty Power

           866-454-6277 Trn: 2290739911Tc




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Ledger     Description                                                                                               Amount
Date

08/18      Orig CO Name:Ameren                 Orig ID:3006936017 Desc Date:        CO                            15,998.72

           Entry Descr:Acctspay    Sec:CCD     Trace#:042000010739899 Eed:210818

           Ind ID:                   Ind Name:Liberty Power Holdings Trn:

           2290739899Tc




                                                                                                                               10268033319000000065
08/18      Orig CO Name:Firstenergy Serv         Orig ID:1341968288 Desc Date:210818                              12,999.40

           CO Entry Descr:Payments      Sec:CCD     Trace#:021000020739883

           Eed:210818    Ind ID:000000250733281             Ind Name:Liberty Power

           Holdings Trn: 2290739883Tc


08/18      Orig CO Name:Dlco Por               Orig ID:3007915606 Desc Date:        CO                            12,897.59

           Entry Descr:EDI Paymtssec:CCD        Trace#:043000260739878 Eed:210818

           Ind ID:2021-08-17.00.0            Ind Name:Liberty Power Holdings Trn:

           2290739878Tc


08/18      Orig CO Name:Peco Energy Comp            Orig ID:1230970240 Desc                                       12,142.48

           Date:210816 CO Entry Descr:Pecochoicesec:CCD

           Trace#:111000010739892 Eed:210818         Ind ID:784087293               Ind

           Name:                    Rmr*IV*Liberty80042634 Trn: 2290739892Tc


08/18      Orig CO Name:Aes Corporation           Orig ID:9704918002 Desc Date:210818                               8,500.84

           CO Entry Descr:Payments      Sec:CTX     Trace#:021000029409428

           Eed:210818    Ind ID:000029213Usdy21             Ind Name:0009Liberty Power

           Ho Trn: 2309409428Tc


08/18      Orig CO Name:ACH Processing            Orig ID:2731733336 Desc Date:          CO                         8,461.69

           Entry Descr:8887465741Sec:CCD          Trace#:104000019409426 Eed:210818

           Ind ID:17373020                  Ind Name:Jazx ACH Processing

           8887465741 Trn: 2309409426Tc


08/18      Orig CO Name:Firstenergy Serv         Orig ID:1341968288 Desc Date:210818                                8,435.83

           CO Entry Descr:Payments      Sec:CCD     Trace#:021000020739882

           Eed:210818    Ind ID:000000250733280             Ind Name:Liberty Power

           Holdings Trn: 2290739882Tc


08/18      Orig CO Name:Capturis              Orig ID:2431879364 Desc Date:210817 CO                                7,535.09

           Entry Descr:Bill Pay   Sec:CTX     Trace#:042000019409500 Eed:210818        Ind

           ID:4363                  Ind Name:0008Liberty Power Ho Trn: 2309409500Tc


08/18      Orig CO Name:Exelon                Orig ID:8188490861 Desc Date:       CO                                6,547.01

           Entry Descr:Corp Pymntsec:CTX        Trace#:111000029409449 Eed:210818

           Ind ID:0000214534                 Ind Name:0009Liberty Power MA Trn:

           2309409449Tc


08/18      Orig CO Name:Firstenergy Serv         Orig ID:1341968288 Desc Date:210818                                5,614.44

           CO Entry Descr:Payments      Sec:CCD     Trace#:021000020739880

           Eed:210818    Ind ID:000000250733278             Ind Name:Liberty Power

           Holdings Trn: 2290739880Tc


08/18      Orig CO Name:Exelon                Orig ID:8188490866 Desc Date:       CO                                4,529.53

           Entry Descr:Corp Pymntsec:CTX        Trace#:111000029409460 Eed:210818

           Ind ID:0000212326                 Ind Name:0009Liberty Power Ho Trn:

           2309409460Tc


08/18      Orig CO Name:Amer Elec 8152            Orig ID:1314271000 Desc Date:Aug 17                               4,149.67

           CO Entry Descr:EDI Paymntsec:CTX         Trace#:031100209409406

           Eed:210818    Ind ID:Ap003964508               Ind Name:0008Liberty Power

           Ho Trn: 2309409406Tc


08/18      Orig CO Name:American Express           Orig ID:1134992250 Desc Date:210817                              4,090.61

           CO Entry Descr:Settlementsec:CCD        Trace#:091000010739907 Eed:210818

           Ind ID:2582312351                 Ind Name:       2582312351

           Payment Date   21230 Trn: 2290739907Tc


08/18      Orig CO Name:Zoetis Services          Orig ID:1460572157 Desc Date:       CO                             3,854.17

           Entry Descr:2000874506Sec:CTX         Trace#:111000029409510 Eed:210818

           Ind ID:2000874506                 Ind Name:0015Liberty Power Ho Trn:

           2309409510Tc




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Ledger     Description                                                                                             Amount
Date

08/18      Orig CO Name:Natgridusaservco          Orig ID:1041663150 Desc Date:      CO                           3,793.40

           Entry Descr:Niagara Mosec:CTX      Trace#:028000089409527 Eed:210818

           Ind ID:81002083472022             Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2309409527Tc


08/18      Orig CO Name:Firstenergy Serv         Orig ID:1341968288 Desc Date:210818                              2,965.94

           CO Entry Descr:Payments      Sec:CCD     Trace#:021000020739881

           Eed:210818    Ind ID:000000250733279            Ind Name:Liberty Power

           Holdings Trn: 2290739881Tc


08/18      Orig CO Name:NY State Electri       Orig ID:1150398550 Desc Date:       CO                             2,561.59

           Entry Descr:Achpaymentsec:CTX       Trace#:028000089409402 Eed:210818

           Ind ID:930113600027547             Ind Name:0002Liberty Power Ho

           Zz9301Supa21081801 Trn: 2309409402Tc


08/18      Orig CO Name:Amer Elec 8152            Orig ID:1314271000 Desc Date:Aug 17                             2,541.22

           CO Entry Descr:EDI Paymntsec:CTX         Trace#:031100209409415

           Eed:210818    Ind ID:Ap003964509              Ind Name:0008Liberty Power

           Ho Trn: 2309409415Tc


08/18      Orig CO Name:Firstenergy Serv         Orig ID:1341968288 Desc Date:210818                              1,108.39

           CO Entry Descr:Payments      Sec:CCD     Trace#:021000020739885

           Eed:210818    Ind ID:000000250733283            Ind Name:Liberty Power Trn:

           2290739885Tc


08/18      Orig CO Name:Community Action          Orig ID:2751226261 Desc Date:                                        798.51

           CO Entry Descr:Corp Pay     Sec:CCD     Trace#:062000010739909 Eed:210818

           Ind ID:Liberty Power           Ind Name:Liberty Power Holdings Trn:

           2290739909Tc


08/18      Orig CO Name:Firstenergy Serv         Orig ID:1341968288 Desc Date:210818                                   669.07

           CO Entry Descr:Payments      Sec:CCD     Trace#:021000020739884

           Eed:210818    Ind ID:000000250733282            Ind Name:Liberty Power

           Holdings Trn: 2290739884Tc


08/18      Orig CO Name:Rochester Gas &           Orig ID:9107592901 Desc Date:      CO                                380.61

           Entry Descr:Achpaymentsec:CTX       Trace#:021000029409494 Eed:210818

           Ind ID:930213600017950             Ind Name:0002Liberty Power Ho

           Zz9302Supa21081801 Trn: 2309409494Tc


08/18      Orig CO Name:Duquesne Light C          Orig ID:3007915606 Desc Date:       CO                               193.38

           Entry Descr:EDI Paymtssec:CCD       Trace#:043000260739876 Eed:210818

           Ind ID:2021-08-17.00.0          Ind Name:Liberty Power Holdings Trn:

           2290739876Tc


08/19      Lockbox No: 25901 For 99 Items At 16:00 5 Trn: 2100298231Lb                                          37,968.10


08/19      Orig CO Name:Consolidated EDI          Orig ID:8135009340 Desc Date:081821                      1,228,141.44

           CO Entry Descr:100608407 Sec:CTX         Trace#:043000267795062

           Eed:210819    Ind ID:000125881006084            Ind Name:0001Liberty Power

           Ho Trn: 2317795062Tc


08/19      Orig CO Name:Merchant Service          Orig ID:1841010148 Desc Date:210818                         135,724.72

           CO Entry Descr:Merch Dep Sec:CCD         Trace#:042000017795065

           Eed:210819    Ind ID:8030330933               Ind Name:Liberty Power

           Holdings                                                        Merchant

           Activity Trn: 2317795065Tc


08/19      Orig CO Name:Edison Parking           Orig ID:1223442322 Desc Date:210818                            95,909.15

           CO Entry Descr:Fund Tranfsec:CCD        Trace#:051000019575706 Eed:210819

           Ind ID:S-00141                Ind Name:Liberty Power Holdings

           86161239*74362866*98447952*67258953

           *16066599*97788865*66093186*8961571

           6*2311738\00000000000000002603 Trn: 2309575706Tc


08/19      Orig CO Name:Bal Gas&Elec             Orig ID:1520280210 Desc Date:Aug 19                            67,159.80

           CO Entry Descr:EDI Paymntsec:CTX         Trace#:031100207794984

           Eed:210819    Ind ID:0000299983               Ind Name:0008Liberty Power

           MA Trn: 2317794984Tc




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Ledger     Description                                                                                                 Amount
Date

08/19      Orig CO Name:Smith & Wesson B              Orig ID:2870543688 Desc Date:                                 55,604.68

           CO Entry Descr:Apachpaymtsec:CCD            Trace#:211274459575723

           Eed:210819    Ind ID:                       Ind Name:Liberty Power Holdings

           Direct Deposit Trn: 2309575723Tc




                                                                                                                                10268033320000000065
08/19      Orig CO Name:International PA          Orig ID:1130872805 Desc Date:         CO                          50,774.63

           Entry Descr:Trade Pay Sec:CCD         Trace#:043000269575711 Eed:210819

           Ind ID:                     Ind Name:Liberty Power Holdings

           Direct Deposit Trn: 2309575711Tc


08/19      Orig CO Name:ACH Processing               Orig ID:2731733336 Desc Date:         CO                       50,423.13

           Entry Descr:8887465741Sec:CCD           Trace#:104000017794981 Eed:210819

           Ind ID:17380187                   Ind Name:Jazx ACH Processing

           8887465741 Trn: 2317794981Tc


08/19      Orig CO Name:Ameren                   Orig ID:3006936017 Desc Date:        CO                            37,816.53

           Entry Descr:Acctspay      Sec:CCD     Trace#:042000019575683 Eed:210819

           Ind ID:                     Ind Name:Liberty Power Holdings Trn:

           2309575683Tc


08/19      Orig CO Name:Ameren                   Orig ID:3006936017 Desc Date:        CO                            28,631.62

           Entry Descr:Acctspay      Sec:CCD     Trace#:042000019575684 Eed:210819

           Ind ID:                     Ind Name:Liberty Power Holdings Trn:

           2309575684Tc


08/19      Orig CO Name:Pseg                   Orig ID:1221212800 Desc Date:070921 CO                               25,375.18

           Entry Descr:Pseg        Sec:CCD     Trace#:021000029575721 Eed:210819           Ind

           ID:006500052307                 Ind Name:Liberty P070921210819S

           Direct Deposit Trn: 2309575721Tc


08/19      Orig CO Name:Natgridusaservco             Orig ID:1041663150 Desc Date:         CO                       23,150.12

           Entry Descr:Narragansesec:CTX         Trace#:028000087795096 Eed:210819

           Ind ID:81002102092022                Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2317795096Tc


08/19      Orig CO Name:Exelon                  Orig ID:8188490880 Desc Date:        CO                             22,997.94

           Entry Descr:Corp Pymntsec:CTX          Trace#:111000027795046 Eed:210819

           Ind ID:0000219846                  Ind Name:0010Liberty Power CO Trn:

           2317795046Tc


08/19      Orig CO Name:Firstenergy Serv           Orig ID:1341968288 Desc Date:210819                              22,199.49

           CO Entry Descr:Payments         Sec:CCD     Trace#:021000029575691

           Eed:210819    Ind ID:000000250768292                Ind Name:Liberty Power

           Holdings Trn: 2309575691Tc


08/19      Orig CO Name:Exelon                  Orig ID:8188490861 Desc Date:        CO                             16,975.07

           Entry Descr:Corp Pymntsec:CTX          Trace#:111000027795013 Eed:210819

           Ind ID:0000214600                  Ind Name:0009Liberty Power Ho Trn:

           2317795013Tc


08/19      Orig CO Name:Firstenergy Serv           Orig ID:1341968288 Desc Date:210819                              15,578.99

           CO Entry Descr:Payments         Sec:CCD     Trace#:021000029575692

           Eed:210819    Ind ID:000000250768293                Ind Name:Liberty Power

           Holdings Trn: 2309575692Tc


08/19      Orig CO Name:Ameren                   Orig ID:3006936017 Desc Date:        CO                            12,473.81

           Entry Descr:Acctspay      Sec:CCD     Trace#:042000019575685 Eed:210819

           Ind ID:                     Ind Name:Liberty Power Holdings Trn:

           2309575685Tc


08/19      Orig CO Name:Dlco Por                Orig ID:3007915606 Desc Date:         CO                            12,436.40

           Entry Descr:EDI Paymtssec:CCD          Trace#:043000269575701 Eed:210819

           Ind ID:2021-08-18.00.0              Ind Name:Liberty Power Holdings Trn:

           2309575701Tc


08/19      Orig CO Name:Ipay Solutions            Orig ID:9Zzzzzzzzz Desc Date:081821                               11,829.14

           CO Entry Descr:Bill Pmt     Sec:CCD       Trace#:242071759575696 Eed:210819

           Ind ID:Bill Pmt                 Ind Name:Liberty Power

           866-454-6277 Trn: 2309575696Tc




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Ledger     Description                                                                                               Amount
Date

08/19      Orig CO Name:Peco Energy Comp             Orig ID:1230970240 Desc                                      11,146.90

           Date:210817 CO Entry Descr:Pecochoicesec:CCD

           Trace#:111000019575716 Eed:210819          Ind ID:784087293              Ind

           Name:                     Rmr*IV*Liberty80042635 Trn: 2309575716Tc


08/19      Orig CO Name:Engie Insight          Orig ID:1911701028 Desc Date:        CO                            10,867.34

           Entry Descr:820EFT0001Sec:CCD           Trace#:111000019575713 Eed:210819

           Ind ID:Ef1081811421096             Ind Name:Liberty Power Holdings

           Rmr*IV*58323552083                  **547.20**\Dtm*003*20210819**\ Trn:

           2309575713Tc


08/19      Orig CO Name:Firstenergy Serv        Orig ID:1341968288 Desc Date:210819                               10,066.88

           CO Entry Descr:Payments       Sec:CCD     Trace#:021000029575689

           Eed:210819     Ind ID:000000250768290            Ind Name:Liberty Power

           Holdings Trn: 2309575689Tc


08/19      Orig CO Name:Exelon                Orig ID:8188490861 Desc Date:        CO                               9,980.07

           Entry Descr:Corp Pymntsec:CTX       Trace#:111000027795024 Eed:210819

           Ind ID:0000214604                Ind Name:0009Liberty Power MA Trn:

           2317795024Tc


08/19      Orig CO Name:Nstar Electric -       Orig ID:1041278810 Desc Date:        CO                              9,692.46

           Entry Descr:Corp Pymntsec:CTX       Trace#:051000017795104 Eed:210819

           Ind ID:6525221                 Ind Name:0006Liberty Power Ho Trn:

           2317795104Tc


08/19      Orig CO Name:Fidelity Express        Orig ID:2751413801 Desc Date:Aug 21                                 9,144.94

           CO Entry Descr:Bill Pay   Sec:CCD     Trace#:096016939575687 Eed:210819

           Ind ID:9003242                 Ind Name:Liberty Power Trn: 2309575687Tc


08/19      Orig CO Name:Capturis              Orig ID:1531879364 Desc Date:210818 CO                                9,023.42

           Entry Descr:Jcpenney    Sec:CTX     Trace#:042000017795075 Eed:210819

           Ind ID:4363                   Ind Name:0006Liberty Power Ho Trn:

           2317795075Tc


08/19      Orig CO Name:Moneygram P Sys             Orig ID:3841327808 Desc                                         8,720.91

           Date:081821 CO Entry Descr:Mg Settle Sec:PPD        Trace#:043000269575698

           Eed:210819     Ind ID:101070032               Ind Name:Liberty Power

           Holdings      101070032,120678559 Trn: 2309575698Tc


08/19      Orig CO Name:Firstenergy Serv        Orig ID:1341968288 Desc Date:210819                                 8,577.80

           CO Entry Descr:Payments       Sec:CCD     Trace#:021000029575693

           Eed:210819     Ind ID:000000250768294            Ind Name:Liberty Power

           Holdings Trn: 2309575693Tc


08/19      Orig CO Name:Exelon                Orig ID:8188490866 Desc Date:        CO                               7,366.32

           Entry Descr:Corp Pymntsec:CTX       Trace#:111000027795035 Eed:210819

           Ind ID:0000212399                Ind Name:0009Liberty Power Ho Trn:

           2317795035Tc


08/19      Orig CO Name:ACH Processing             Orig ID:2731733336 Desc Date:        CO                          6,167.06

           Entry Descr:8887465741Sec:CCD         Trace#:104000017794982 Eed:210819

           Ind ID:17380194                 Ind Name:Jazx ACH Processing

           8887465741 Trn: 2317794982Tc


08/19      Orig CO Name:Executive Worksp           Orig ID:2134033655 Desc Date:210818                              5,042.78

           CO Entry Descr:Fund Tranfsec:CCD         Trace#:051000019575703 Eed:210819

           Ind ID:S-00141                 Ind Name:Liberty Power Holdings

           36414677*26862016*54036614\

           00000000000000002600 Trn: 2309575703Tc


08/19      Orig CO Name:Amer Elec 8152             Orig ID:1314271000 Desc Date:Aug 18                              5,033.26

           CO Entry Descr:EDI Paymntsec:CTX          Trace#:031100207795003

           Eed:210819     Ind ID:Ap003965013              Ind Name:0008Liberty Power

           Ho Trn: 2317795003Tc


08/19      Orig CO Name:Amer Elec 8152             Orig ID:1314271000 Desc Date:Aug 18                              4,177.64

           CO Entry Descr:EDI Paymntsec:CTX          Trace#:031100207794994

           Eed:210819     Ind ID:Ap003965012              Ind Name:0008Liberty Power

           Ho Trn: 2317794994Tc




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Ledger     Description                                                                                               Amount
Date

08/19      Orig CO Name:Firstenergy Serv          Orig ID:1341968288 Desc Date:210819                               3,056.97

           CO Entry Descr:Payments      Sec:CCD     Trace#:021000029575690

           Eed:210819    Ind ID:000000250768291             Ind Name:Liberty Power

           Holdings Trn: 2309575690Tc




                                                                                                                                  10268033321000000065
08/19      Orig CO Name:American Express           Orig ID:1134992250 Desc Date:210818                              2,930.14

           CO Entry Descr:Settlementsec:CCD        Trace#:091000019575719 Eed:210819

           Ind ID:2582312351                 Ind Name:       2582312351

           Payment Date   21231 Trn: 2309575719Tc


08/19      Orig CO Name:Cass Info. Carr.        Orig ID:9000002001 Desc Date:210818                                 2,542.31

           CO Entry Descr:Conc Acctssec:CCD         Trace#:081000609575709

           Eed:210819    Ind ID:Liber60673B              Ind Name:Liberty Power Trn:

           2309575709Tc


08/19      Orig CO Name:Metrie Inc.            Orig ID:2912006431 Desc Date:       CO                               1,205.66

           Entry Descr:EDI Pymntssec:CTX        Trace#:091000017795112 Eed:210819

           Ind ID:200020000659472              Ind Name:0009Liberty Power Ho

           EDI Trn: 2317795112Tc


08/19      Orig CO Name:Firstenergy Serv          Orig ID:1341968288 Desc Date:210819                                    223.31

           CO Entry Descr:Payments      Sec:CCD     Trace#:021000029575694

           Eed:210819    Ind ID:000000250768295             Ind Name:Liberty Power Trn:

           2309575694Tc


08/19      Orig CO Name:Capturis              Orig ID:2431879364 Desc Date:210818 CO                                      80.19

           Entry Descr:Bill Pay   Sec:CTX     Trace#:042000017795067 Eed:210819       Ind

           ID:4363                  Ind Name:0006Liberty Power Ho Trn: 2317795067Tc


08/19      Orig CO Name:Natgridusaservco          Orig ID:1041663150 Desc Date:         CO                                69.43

           Entry Descr:Narragansesec:CTX        Trace#:028000087795090 Eed:210819

           Ind ID:81002102082022               Ind Name:0005Liberty Power Ho

           Direct Deposit Trn: 2317795090Tc


08/19      Orig CO Name:Rochester Gas &            Orig ID:9107592901 Desc Date:        CO                                54.08

           Entry Descr:Achpaymentsec:CTX         Trace#:021000027795058 Eed:210819

           Ind ID:930213600018011              Ind Name:0002Liberty Power Ho

           Zz9302Supa21081901 Trn: 2317795058Tc


08/19      Orig CO Name:Natgridusaservco          Orig ID:1041663150 Desc Date:         CO                                29.44

           Entry Descr:Niagara Mosec:CTX        Trace#:028000087795083 Eed:210819

           Ind ID:81002102102022               Ind Name:0005Liberty Power Ho

           Direct Deposit Trn: 2317795083Tc


08/20      Lockbox No: 25901 For 146 Items At 16:00 5 Trn: 2100019232Lb                                           73,327.39


08/20      Orig CO Name:Merchant Service          Orig ID:1841010148 Desc Date:210819                           143,239.74

           CO Entry Descr:Merch Dep Sec:CCD         Trace#:042000019250146

           Eed:210820    Ind ID:8030330933                Ind Name:Liberty Power

           Holdings                                                         Merchant

           Activity Trn: 2329250146Tc


08/20      Orig CO Name:Hmshost Pmd               Orig ID:7010532275 Desc Date:210820                             62,907.76

           CO Entry Descr:Payment       Sec:CCD     Trace#:051000019603839

           Eed:210820    Ind ID:01539846                 Ind Name:Libertypower.Pay Trn:

           2319603839Tc


08/20      Orig CO Name:Natgridusaservco          Orig ID:1041663150 Desc Date:         CO                        54,551.20

           Entry Descr:Massachusesec:CTX         Trace#:028000089250184 Eed:210820

           Ind ID:81002116922022               Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2329250184Tc


08/20      Orig CO Name:Central Maine PO           Orig ID:3141798693 Desc Date:        CO                        52,415.24

           Entry Descr:Achpaymentsec:CTX         Trace#:211274459250137 Eed:210820

           Ind ID:931013600013749              Ind Name:0003Liberty Power Ho

           Zz9310Supa21082001 Trn: 2329250137Tc


08/20      Orig CO Name:ACH Processing             Orig ID:2731733336 Desc Date:        CO                        47,831.06

           Entry Descr:8887465741Sec:CCD          Trace#:104000019250055 Eed:210820

           Ind ID:17387065                  Ind Name:Jazx ACH Processing

           8887465741 Trn: 2329250055Tc




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Ledger     Description                                                                                               Amount
Date

08/20      Orig CO Name:Exelon               Orig ID:8188490880 Desc Date:        CO                              38,278.31

           Entry Descr:Corp Pymntsec:CTX       Trace#:111000029250110 Eed:210820

           Ind ID:0000219954                Ind Name:0010Liberty Power CO Trn:

           2329250110Tc


08/20      Orig CO Name:Peco Energy Comp            Orig ID:1230970240 Desc                                       36,046.45

           Date:210818 CO Entry Descr:Pecochoicesec:CCD

           Trace#:111000019603845 Eed:210820         Ind ID:784087293               Ind

           Name:                     Rmr*IV*Liberty80042636 Trn: 2319603845Tc


08/20      Orig CO Name:Natgridusaservco          Orig ID:1041663150 Desc Date:        CO                         34,159.07

           Entry Descr:Massachusesec:CTX        Trace#:028000089250170 Eed:210820

           Ind ID:81002116902022              Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2329250170Tc


08/20      Orig CO Name:Ppl Electric Uti       Orig ID:Fp20001802 Desc Date:       CO                             32,631.37

           Entry Descr:EDI Paymtssec:CTX       Trace#:031000039250032 Eed:210820

           Ind ID:166                  Ind Name:0011Liberty Power Ho Trn:

           2329250032Tc


08/20      Orig CO Name:Ameren                 Orig ID:3006936017 Desc Date:       CO                             25,986.03

           Entry Descr:Acctspay   Sec:CCD      Trace#:042000019603841 Eed:210820

           Ind ID:                    Ind Name:Liberty Power Holdings Trn:

           2319603841Tc


08/20      Orig CO Name:Ameren                 Orig ID:3006936017 Desc Date:       CO                             23,917.23

           Entry Descr:Acctspay   Sec:CCD      Trace#:042000019603842 Eed:210820

           Ind ID:                    Ind Name:Liberty Power Holdings Trn:

           2319603842Tc


08/20      Orig CO Name:Engie Insight          Orig ID:1911701028 Desc Date:        CO                            23,055.30

           Entry Descr:820EFT0001Sec:CCD          Trace#:111000019603830 Eed:210820

           Ind ID:Ef1081911001105             Ind Name:Liberty Power Holdings

           Rmr*IV*81949784594                  **140.35**\Dtm*003*20210820**\ Trn:

           2319603830Tc


08/20      Orig CO Name:ACH Processing            Orig ID:2731733336 Desc Date:        CO                         22,507.95

           Entry Descr:8887465741Sec:CCD          Trace#:104000019250056 Eed:210820

           Ind ID:17387197                 Ind Name:Jazx ACH Processing

           8887465741 Trn: 2329250056Tc


08/20      Orig CO Name:Natgridusaservco          Orig ID:1041663150 Desc Date:        CO                         21,138.93

           Entry Descr:Narragansesec:CTX       Trace#:028000089250220 Eed:210820

           Ind ID:81002116972022              Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2329250220Tc


08/20      Orig CO Name:Natgridusaservco          Orig ID:1041663150 Desc Date:        CO                         20,177.25

           Entry Descr:Massachusesec:CTX        Trace#:028000089250198 Eed:210820

           Ind ID:81002116942022              Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2329250198Tc


08/20      Orig CO Name:Aes Corporation           Orig ID:9704918002 Desc Date:210820                             16,005.29

           CO Entry Descr:Payments      Sec:CTX     Trace#:021000029250122

           Eed:210820    Ind ID:000029864Usdy21             Ind Name:0009Liberty Power

           Ho Trn: 2329250122Tc


08/20      Orig CO Name:Natgridusaservco          Orig ID:1041663150 Desc Date:        CO                         11,304.03

           Entry Descr:Massachusesec:CTX        Trace#:028000089250163 Eed:210820

           Ind ID:81002116892022              Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2329250163Tc


08/20      Orig CO Name:Fidelity Express        Orig ID:2751413801 Desc Date:Aug 21                               10,794.10

           CO Entry Descr:Bill Pay   Sec:CCD      Trace#:096016939603833 Eed:210820

           Ind ID:9003242                Ind Name:Liberty Power Trn: 2319603833Tc


08/20      Orig CO Name:Amer Elec 8152            Orig ID:1314271000 Desc Date:Aug 19                             10,395.68

           CO Entry Descr:EDI Paymntsec:CTX         Trace#:031100209250067

           Eed:210820    Ind ID:Ap003965415               Ind Name:0008Liberty Power

           Ho Trn: 2329250067Tc




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Date

08/20      Orig CO Name:Natgridusaservco             Orig ID:1041663150 Desc Date:        CO                       10,311.24

           Entry Descr:Massachusesec:CTX          Trace#:028000089250156 Eed:210820

           Ind ID:81002116882022                Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2329250156Tc




                                                                                                                                10268033322000000065
08/20      Orig CO Name:Exelon                  Orig ID:8188490861 Desc Date:        CO                            10,280.14

           Entry Descr:Corp Pymntsec:CTX         Trace#:111000029250077 Eed:210820

           Ind ID:0000214714                  Ind Name:0009Liberty Power Ho Trn:

           2329250077Tc


08/20      Orig CO Name:Natgridusaservco             Orig ID:1041663150 Desc Date:        CO                         9,567.83

           Entry Descr:Massachusesec:CTX          Trace#:028000089250177 Eed:210820

           Ind ID:81002116912022                Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2329250177Tc


08/20      Orig CO Name:Moneygram P Sys               Orig ID:3841327808 Desc                                        9,374.10

           Date:081921 CO Entry Descr:Mg Settle Sec:PPD          Trace#:043000269603848

           Eed:210820     Ind ID:101070032                 Ind Name:Liberty Power

           Holdings      101070032,120690181 Trn: 2319603848Tc


08/20      Orig CO Name:Ipay Solutions           Orig ID:9Zzzzzzzzz Desc Date:081921                                 9,191.24

           CO Entry Descr:Bill Pmt     Sec:CCD       Trace#:242071759603835 Eed:210820

           Ind ID:Bill Pmt                 Ind Name:Liberty Power

           866-454-6277 Trn: 2319603835Tc


08/20      Orig CO Name:Ameren                  Orig ID:3006936017 Desc Date:        CO                              9,139.16

           Entry Descr:Acctspay      Sec:CCD     Trace#:042000019603843 Eed:210820

           Ind ID:                     Ind Name:Liberty Power Holdings Trn:

           2319603843Tc


08/20      Orig CO Name:NY State Electri          Orig ID:1150398550 Desc Date:       CO                             8,947.34

           Entry Descr:Achpaymentsec:CTX          Trace#:028000089250142 Eed:210820

           Ind ID:930113600027938               Ind Name:0002Liberty Power Ho

           Zz9301Supa21082001 Trn: 2329250142Tc


08/20      Orig CO Name:Exelon                  Orig ID:8188490861 Desc Date:        CO                              8,008.20

           Entry Descr:Corp Pymntsec:CTX         Trace#:111000029250088 Eed:210820

           Ind ID:0000214718                  Ind Name:0009Liberty Power MA Trn:

           2329250088Tc


08/20      Orig CO Name:Natgridusaservco             Orig ID:1041663150 Desc Date:        CO                         7,327.55

           Entry Descr:Nantucket Sec:CTX         Trace#:028000089250206 Eed:210820

           Ind ID:81002116952022                Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2329250206Tc


08/20      Orig CO Name:Firstenergy Serv          Orig ID:1341968288 Desc Date:210820                                7,064.40

           CO Entry Descr:Payments         Sec:CCD     Trace#:021000029603837

           Eed:210820     Ind ID:000000250800134              Ind Name:Liberty Power

           Holdings Trn: 2319603837Tc


08/20      Orig CO Name:Exelon                  Orig ID:8188490866 Desc Date:        CO                              7,051.67

           Entry Descr:Corp Pymntsec:CTX         Trace#:111000029250099 Eed:210820

           Ind ID:0000212559                  Ind Name:0009Liberty Power Ho Trn:

           2329250099Tc


08/20      Orig CO Name:American Express             Orig ID:1134992250 Desc Date:210819                             5,064.14

           CO Entry Descr:Settlementsec:CCD           Trace#:091000019603853 Eed:210820

           Ind ID:2582312351                  Ind Name:        2582312351

           Payment Date      21232 Trn: 2319603853Tc


08/20      Orig CO Name:Natgridusaservco             Orig ID:1041663150 Desc Date:        CO                         4,940.50

           Entry Descr:Massachusesec:CTX          Trace#:028000089250191 Eed:210820

           Ind ID:81002116932022                Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2329250191Tc


08/20      Orig CO Name:Rochester Gas &              Orig ID:9107592901 Desc Date:        CO                         3,836.30

           Entry Descr:Achpaymentsec:CTX          Trace#:021000029250133 Eed:210820

           Ind ID:930213600018218               Ind Name:0002Liberty Power Ho

           Zz9302Supa21082001 Trn: 2329250133Tc




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Date

08/20      Orig CO Name:Amer Elec 8152           Orig ID:1314271000 Desc Date:Aug 19                                3,601.61

           CO Entry Descr:EDI Paymntsec:CTX        Trace#:031100209250058

           Eed:210820    Ind ID:Ap003965414              Ind Name:0008Liberty Power

           Ho Trn: 2329250058Tc


08/20      Orig CO Name:Natgridusaservco         Orig ID:1041663150 Desc Date:         CO                           1,522.46

           Entry Descr:Niagara Mosec:CTX       Trace#:028000089250148 Eed:210820

           Ind ID:81002116872022              Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2329250148Tc


08/20      Orig CO Name:Capturis             Orig ID:2431879364 Desc Date:210819 CO                                      452.40

           Entry Descr:Bill Pay   Sec:CTX    Trace#:042000019250228 Eed:210820         Ind

           ID:4363                  Ind Name:0006Liberty Power Ho Trn: 2329250228Tc


08/20      Orig CO Name:Bal Gas&Elec            Orig ID:1520280210 Desc Date:Aug 20                                      335.16

           CO Entry Descr:EDI Paymntsec:CTX        Trace#:031100209250045

           Eed:210820    Ind ID:0000300140              Ind Name:0008Liberty Power

           MA Trn: 2329250045Tc


08/20      Orig CO Name:Natgridusaservco         Orig ID:1041663150 Desc Date:         CO                                302.73

           Entry Descr:Nantucket Sec:CTX      Trace#:028000089250213 Eed:210820

           Ind ID:81002116962022              Ind Name:0005Liberty Power Ho

           Direct Deposit Trn: 2329250213Tc


08/20      Orig CO Name:Parker Drilling       Orig ID:3731567200 Desc Date:        CO                                    228.24

           Entry Descr:Tradepay    Sec:CCD     Trace#:081000039603851 Eed:210820

           Ind ID:105275                 Ind Name:Liberty Power Holdings Trn:

           2319603851Tc


08/23      Lockbox No: 25901 For 270 Items At 16:00 5 Trn: 2100123235Lb                                         299,396.98


08/23      Orig CO Name:Merchant Service         Orig ID:1841010148 Desc Date:210820                            166,751.04

           CO Entry Descr:Merch Dep Sec:CCD        Trace#:042000011748808

           Eed:210823    Ind ID:8030330933              Ind Name:Liberty Power

           Holdings                                                        Merchant

           Activity Trn: 2351748808Tc


08/23      Orig CO Name:Engie Insight          Orig ID:1911701028 Desc Date:        CO                            89,040.07

           Entry Descr:820EFT0001Sec:CCD         Trace#:111000015514237 Eed:210823

           Ind ID:Ef1082011151109             Ind Name:Liberty Power Holdings

           Rmr*IV*15555960105                  **408.03**\Dtm*003*20210823**\ Trn:

           2325514237Tc


08/23      Orig CO Name:DE Ohio Other El         Orig ID:9310240030 Desc Date:         CO                         87,441.49

           Entry Descr:EDI Pmt Pssec:CTX       Trace#:043000091748669 Eed:210823

           Ind ID:Ap0001593717               Ind Name:0007Liberty Power Ho Trn:

           2351748669Tc


08/23      Orig CO Name:Merchant Service         Orig ID:1841010148 Desc Date:210821                              66,174.25

           CO Entry Descr:Merch Dep Sec:CCD        Trace#:042000011748792

           Eed:210823    Ind ID:8030330933              Ind Name:Liberty Power

           Holdings                                                        Merchant

           Activity Trn: 2351748792Tc


08/23      Orig CO Name:Orange And Rockl          Orig ID:1131727729 Desc Date:082021                             61,215.54

           CO Entry Descr:100608999 Sec:CTX        Trace#:043000261748756

           Eed:210823    Ind ID:000125881006089            Ind Name:0001Liberty Power

           Ho Trn: 2351748756Tc


08/23      Orig CO Name:Nstar Electric -       Orig ID:1041278810 Desc Date:        CO                            56,126.46

           Entry Descr:Corp Pymntsec:CTX       Trace#:051000011748681 Eed:210823

           Ind ID:6536421                 Ind Name:0006Liberty Power Ho Trn:

           2351748681Tc


08/23      Orig CO Name:Exelon               Orig ID:8188490880 Desc Date:        CO                              53,958.01

           Entry Descr:Corp Pymntsec:CTX       Trace#:111000021748726 Eed:210823

           Ind ID:0000220077                Ind Name:0010Liberty Power CO Trn:

           2351748726Tc




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Date

08/23      Orig CO Name:Comed                 Orig ID:P360938600 Desc Date:210819                                51,449.91

           CO Entry Descr:Ucbpor_Paysec:CCD        Trace#:111000025514220

           Eed:210823    Ind ID:784087293              Ind Name:

           Rmr*IV*Cp00692950911480002041 Trn: 2325514220Tc




                                                                                                                             10268033323000000065
08/23      Orig CO Name:Rockland Electri       Orig ID:4131727729 Desc Date:082021                               44,852.96

           CO Entry Descr:100608896 Sec:CTX       Trace#:043000261748753

           Eed:210823    Ind ID:000125881006088           Ind Name:0001Liberty Power

           Ho Trn: 2351748753Tc


08/23      Orig CO Name:Ppl Electric Uti      Orig ID:Fp20001802 Desc Date:       CO                             42,076.14

           Entry Descr:EDI Paymtssec:CTX      Trace#:031000031748742 Eed:210823

           Ind ID:38                   Ind Name:0009Liberty Power Ho Trn:

           2351748742Tc


08/23      Orig CO Name:Merchant Service        Orig ID:1841010148 Desc Date:210822                              31,066.49

           CO Entry Descr:Merch Dep Sec:CCD        Trace#:042000011748794

           Eed:210823    Ind ID:8030330933              Ind Name:Liberty Power

           Holdings                                                         Merchant

           Activity Trn: 2351748794Tc


08/23      Orig CO Name:Pseg                Orig ID:1221212800 Desc Date:110921 CO                               27,635.16

           Entry Descr:Pseg    Sec:CCD       Trace#:021000025514235 Eed:210823        Ind

           ID:006500052307              Ind Name:Liberty P110921210823S

           Direct Deposit Trn: 2325514235Tc


08/23      Orig CO Name:Ameren                Orig ID:3006936017 Desc Date:       CO                             26,916.04

           Entry Descr:Acctspay   Sec:CCD     Trace#:042000015514229 Eed:210823

           Ind ID:                  Ind Name:Liberty Power Holdings Trn:

           2325514229Tc


08/23      Orig CO Name:Natgridusaservco        Orig ID:1041663150 Desc Date:         CO                         26,750.18

           Entry Descr:Narragansesec:CTX      Trace#:028000081748784 Eed:210823

           Ind ID:81002132312022             Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2351748784Tc


08/23      Orig CO Name:NY State Electri       Orig ID:1150398550 Desc Date:        CO                           26,450.43

           Entry Descr:Achpaymentsec:CTX       Trace#:028000081748689 Eed:210823

           Ind ID:930113600028015             Ind Name:0002Liberty Power Ho

           Zz9301Supa21082301 Trn: 2351748689Tc


08/23      Orig CO Name:Peco Energy Comp          Orig ID:1230970240 Desc                                        21,367.91

           Date:210819 CO Entry Descr:Pecochoicesec:CCD

           Trace#:111000015514217 Eed:210823       Ind ID:784087293                Ind

           Name:                   Rmr*IV*Liberty80042637 Trn: 2325514217Tc


08/23      Orig CO Name:Ameren                Orig ID:3006936017 Desc Date:       CO                             21,001.71

           Entry Descr:Acctspay   Sec:CCD     Trace#:042000015514228 Eed:210823

           Ind ID:                  Ind Name:Liberty Power Holdings Trn:

           2325514228Tc


08/23      Orig CO Name:Exelon               Orig ID:8188490866 Desc Date:       CO                              17,409.98

           Entry Descr:Corp Pymntsec:CTX      Trace#:111000021748715 Eed:210823

           Ind ID:0000212669               Ind Name:0009Liberty Power Ho Trn:

           2351748715Tc


08/23      Orig CO Name:Pseg                Orig ID:1221212800 Desc Date:110921 CO                               17,305.47

           Entry Descr:Pseg    Sec:CCD       Trace#:021000025514233 Eed:210823        Ind

           ID:006500052307              Ind Name:Liberty P110921210823S

           Direct Deposit Trn: 2325514233Tc


08/23      Orig CO Name:Exelon               Orig ID:8188490861 Desc Date:       CO                              16,699.00

           Entry Descr:Corp Pymntsec:CTX      Trace#:111000021748704 Eed:210823

           Ind ID:0000214843               Ind Name:0009Liberty Power MA Trn:

           2351748704Tc


08/23      Orig CO Name:Exelon               Orig ID:8188490861 Desc Date:       CO                              15,436.44

           Entry Descr:Corp Pymntsec:CTX      Trace#:111000021748693 Eed:210823

           Ind ID:0000214834               Ind Name:0009Liberty Power Ho Trn:

           2351748693Tc




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Deposits and Credits         (continued)

Ledger     Description                                                                                                 Amount
Date

08/23      Orig CO Name:Amer Elec 8152               Orig ID:1314271000 Desc Date:Aug 20                            13,790.60

           CO Entry Descr:EDI Paymntsec:CTX            Trace#:031100201748640

           Eed:210823     Ind ID:Ap003967549                Ind Name:0008Liberty Power

           Ho Trn: 2351748640Tc


08/23      Orig CO Name:ACH Processing               Orig ID:2731733336 Desc Date:         CO                       12,439.43

           Entry Descr:8887465741Sec:CCD           Trace#:104000011748806 Eed:210823

           Ind ID:17394030                   Ind Name:Jazx ACH Processing

           8887465741 Trn: 2351748806Tc


08/23      Orig CO Name:Firstenergy Serv           Orig ID:1341968288 Desc Date:210821                              12,095.51

           CO Entry Descr:Payments         Sec:CCD     Trace#:021000025514223

           Eed:210823     Ind ID:000000250836297              Ind Name:Liberty Power

           Holdings Trn: 2325514223Tc


08/23      Orig CO Name:Natgridusaservco             Orig ID:1041663150 Desc Date:         CO                       11,493.02

           Entry Descr:Massachusesec:CTX          Trace#:028000081748769 Eed:210823

           Ind ID:81002132322022                Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2351748769Tc


08/23      Orig CO Name:ACH Processing               Orig ID:2731733336 Desc Date:         CO                       11,121.36

           Entry Descr:8887465741Sec:CCD           Trace#:104000011748805 Eed:210823

           Ind ID:17393942                   Ind Name:Jazx ACH Processing

           8887465741 Trn: 2351748805Tc


08/23      Orig CO Name:Central Maine PO             Orig ID:3141798693 Desc Date:         CO                       10,614.72

           Entry Descr:Achpaymentsec:CTX          Trace#:211274451748678 Eed:210823

           Ind ID:931013600013775                Ind Name:0001Liberty Power Ho

           Zz9310Supa21082301 Trn: 2351748678Tc


08/23      Orig CO Name:Fidelity Express          Orig ID:2751413801 Desc Date:Aug 21                               10,021.61

           CO Entry Descr:Bill Pay     Sec:CCD     Trace#:096016935514212 Eed:210823

           Ind ID:9003242                   Ind Name:Liberty Power Trn: 2325514212Tc


08/23      Orig CO Name:Dlco Por                Orig ID:3007915606 Desc Date:         CO                              9,886.45

           Entry Descr:EDI Paymtssec:CCD          Trace#:043000265514225 Eed:210823

           Ind ID:2021-08-20.00.0              Ind Name:Liberty Power Holdings Trn:

           2325514225Tc


08/23      Orig CO Name:Moneygram P Sys               Orig ID:3841327808 Desc                                         9,750.06

           Date:082021 CO Entry Descr:Mg Settle Sec:PPD          Trace#:043000265514214

           Eed:210823     Ind ID:101070032                 Ind Name:Liberty Power

           Holdings      101070032,120701762 Trn: 2325514214Tc


08/23      Orig CO Name:Ameren                   Orig ID:3006936017 Desc Date:        CO                              9,285.39

           Entry Descr:Acctspay      Sec:CCD     Trace#:042000015514227 Eed:210823

           Ind ID:                     Ind Name:Liberty Power Holdings Trn:

           2325514227Tc


08/23      Orig CO Name:Amer Elec 8152               Orig ID:1314271000 Desc Date:Aug 20                              7,357.79

           CO Entry Descr:EDI Paymntsec:CTX            Trace#:031100201748649

           Eed:210823     Ind ID:Ap003967550                Ind Name:0008Liberty Power

           Ho Trn: 2351748649Tc


08/23      Orig CO Name:Bal Gas&Elec              Orig ID:1520280210 Desc Date:Aug 23                                 6,503.03

           CO Entry Descr:EDI Paymntsec:CTX            Trace#:031100201748659

           Eed:210823     Ind ID:0000300338                 Ind Name:0008Liberty Power

           MA Trn: 2351748659Tc


08/23      Orig CO Name:Ipay Solutions            Orig ID:9Zzzzzzzzz Desc Date:082021                                 6,425.55

           CO Entry Descr:Bill Pmt     Sec:CCD       Trace#:242071755514231 Eed:210823

           Ind ID:Bill Pmt                 Ind Name:Liberty Power

           866-454-6277 Trn: 2325514231Tc


08/23      Orig CO Name:American Express             Orig ID:1134992250 Desc Date:210820                              5,844.13

           CO Entry Descr:Settlementsec:CCD           Trace#:091000015514240 Eed:210823

           Ind ID:2582312351                  Ind Name:         2582312351

           Payment Date      21233 Trn: 2325514240Tc




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Deposits and Credits      (continued)

Ledger     Description                                                                                               Amount
Date

08/23      Orig CO Name:Natgridusaservco          Orig ID:1041663150 Desc Date:        CO                           3,399.78

           Entry Descr:Niagara Mosec:CTX       Trace#:028000081748761 Eed:210823

           Ind ID:81002132342022              Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2351748761Tc




                                                                                                                                  10268033324000000065
08/23      Orig CO Name:Natgridusaservco          Orig ID:1041663150 Desc Date:        CO                           3,382.63

           Entry Descr:Massachusesec:CTX        Trace#:028000081748776 Eed:210823

           Ind ID:81002132332022              Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2351748776Tc


08/23      Orig CO Name:American Express          Orig ID:1134992250 Desc Date:210821                               1,400.21

           CO Entry Descr:Settlementsec:CCD        Trace#:091000011748810 Eed:210823

           Ind ID:2582312351                Ind Name:       2582312351

           Payment Date     21235 Trn: 2351748810Tc


08/23      Orig CO Name:Capturis              Orig ID:2431879364 Desc Date:210820 CO                                1,017.86

           Entry Descr:Bill Pay   Sec:CTX    Trace#:042000011748796 Eed:210823        Ind

           ID:4363                  Ind Name:0007Liberty Power Ho Trn: 2351748796Tc


08/23      Orig CO Name:Rochester Gas &           Orig ID:9107592901 Desc Date:        CO                                915.54

           Entry Descr:Achpaymentsec:CTX        Trace#:021000021748738 Eed:210823

           Ind ID:930213600018282              Ind Name:0002Liberty Power Ho

           Zz9302Supa21082301 Trn: 2351748738Tc


08/23      Orig CO Name:American Express          Orig ID:1134992250 Desc Date:210822                                    405.87

           CO Entry Descr:Settlementsec:CCD        Trace#:091000011748759 Eed:210823

           Ind ID:2582312351                Ind Name:       2582312351

           Payment Date     21235 Trn: 2351748759Tc


08/24      Fedwire Credit Via: Bank of America, N.A./026009593 B/O: Genpact US                                      2,504.35

           Danbury NY 06810 US Ref: Chase Nyc/Ctr/Bnf=Liberty Power Holdings LLC

           Fort Lauderdale FL 33309- 1823 US/Ac-000000004277 Rfb=1170054 316

           Obi=Invoice No 97758563082021 J Ob_I/D Date 20210817 Amount 479.26

           Inv/Oice No 91834884082021 Job_ID D Imad: 0824B6B7Hu1R007890 Trn:

           0340990236Ff

           YOUR REF:     1170054316


08/24      Lockbox No: 25901 For 83 Items At 16:00 5 Trn: 2100630236Lb                                          123,720.07


08/24      Orig CO Name:Nstar Electric -       Orig ID:1041278810 Desc Date:        CO                          304,601.06

           Entry Descr:Corp Pymntsec:CTX       Trace#:051000015132317 Eed:210824

           Ind ID:6544121                 Ind Name:0007Liberty Power Ho Trn:

           2365132317Tc


08/24      Orig CO Name:Merchant Service          Orig ID:1841010148 Desc Date:210823                           191,280.15

           CO Entry Descr:Merch Dep Sec:CCD         Trace#:042000015132329

           Eed:210824    Ind ID:8030330933               Ind Name:Liberty Power

           Holdings                                                          Merchant

           Activity Trn: 2365132329Tc


08/24      Orig CO Name:Comed                  Orig ID:P360938600 Desc Date:210820                              171,022.93

           CO Entry Descr:Ucbpor_Paysec:CCD         Trace#:111000025299793

           Eed:210824    Ind ID:784087293               Ind Name:

           Rmr*IV*Cp00692950911480002042 Trn: 2355299793Tc


08/24      Orig CO Name:Ppl Electric Uti       Orig ID:Fp20001802 Desc Date:       CO                             90,413.69

           Entry Descr:EDI Paymtssec:CTX       Trace#:031000035132209 Eed:210824

           Ind ID:34                    Ind Name:0009Liberty Power Ho Trn:

           2365132209Tc


08/24      Orig CO Name:Natgridusaservco          Orig ID:1041663150 Desc Date:        CO                         56,319.64

           Entry Descr:Narragansesec:CTX       Trace#:028000085132338 Eed:210824

           Ind ID:81002154882022              Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2365132338Tc


08/24      Orig CO Name:Firstenergy Serv         Orig ID:1341968288 Desc Date:210824                              51,511.28

           CO Entry Descr:Payments      Sec:CCD    Trace#:021000025299801

           Eed:210824    Ind ID:000000250896263            Ind Name:Liberty Power

           Holdings Trn: 2355299801Tc




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Deposits and Credits       (continued)

Ledger     Description                                                                                               Amount
Date

08/24      Orig CO Name:Bal Gas&Elec             Orig ID:1520280210 Desc Date:Aug 24                              47,626.17

           CO Entry Descr:EDI Paymntsec:CTX         Trace#:031100205132227

           Eed:210824     Ind ID:0000300575               Ind Name:0008Liberty Power

           MA Trn: 2365132227Tc


08/24      Orig CO Name:Firstenergy Serv         Orig ID:1341968288 Desc Date:210824                              42,339.09

           CO Entry Descr:Payments       Sec:CCD    Trace#:021000025299799

           Eed:210824     Ind ID:000000250896261            Ind Name:Liberty Power

           Holdings Trn: 2355299799Tc


08/24      Orig CO Name:Peco Energy Comp            Orig ID:1230970240 Desc                                       28,163.28

           Date:210820 CO Entry Descr:Pecochoicesec:CCD

           Trace#:111000015299790 Eed:210824          Ind ID:784087293              Ind

           Name:                     Rmr*IV*Liberty80042638 Trn: 2355299790Tc


08/24      Orig CO Name:ACH Processing             Orig ID:2731733336 Desc Date:        CO                        27,391.88

           Entry Descr:8887465741Sec:CCD          Trace#:104000015132225 Eed:210824

           Ind ID:17402018                Ind Name:Jazx ACH Processing

           8887465741 Trn: 2365132225Tc


08/24      Orig CO Name:Moneygram P Sys             Orig ID:3841327808 Desc                                       26,484.72

           Date:082321 CO Entry Descr:Mg Settle Sec:PPD        Trace#:043000265299796

           Eed:210824     Ind ID:101070032               Ind Name:Liberty Power

           Holdings      101070032,120717623,120712459,12072 6531 Trn:

           2355299796Tc


08/24      Orig CO Name:Cass Info. Carr.         Orig ID:9000002001 Desc Date:210823                              25,483.38

           CO Entry Descr:Conc Acctssec:CCD         Trace#:081000605299784

           Eed:210824     Ind ID:Liber60673B             Ind Name:Liberty Power Trn:

           2355299784Tc


08/24      Orig CO Name:Ameren                 Orig ID:3006936017 Desc Date:       CO                             24,946.28

           Entry Descr:Acctspay    Sec:CCD      Trace#:042000015299807 Eed:210824

           Ind ID:                    Ind Name:Liberty Power Holdings Trn:

           2355299807Tc


08/24      Orig CO Name:Exelon                 Orig ID:8188490861 Desc Date:       CO                             24,940.73

           Entry Descr:Corp Pymntsec:CTX        Trace#:111000025132273 Eed:210824

           Ind ID:0000214911               Ind Name:0009Liberty Power Ho Trn:

           2365132273Tc


08/24      Orig CO Name:Fidelity Express         Orig ID:2751413801 Desc Date:Aug 21                              22,483.21

           CO Entry Descr:Bill Pay   Sec:CCD      Trace#:096016935299786 Eed:210824

           Ind ID:9003242                 Ind Name:Liberty Power Trn: 2355299786Tc


08/24      Orig CO Name:Exelon                 Orig ID:8188490880 Desc Date:       CO                             21,690.55

           Entry Descr:Corp Pymntsec:CTX        Trace#:111000025132305 Eed:210824

           Ind ID:0000220179               Ind Name:0010Liberty Power CO Trn:

           2365132305Tc


08/24      Orig CO Name:Ameren                 Orig ID:3006936017 Desc Date:       CO                             18,332.85

           Entry Descr:Acctspay    Sec:CCD      Trace#:042000015299806 Eed:210824

           Ind ID:                    Ind Name:Liberty Power Holdings Trn:

           2355299806Tc


08/24      Orig CO Name:International PA         Orig ID:1130872805 Desc Date:       CO                           17,161.57

           Entry Descr:Trade Pay Sec:CCD        Trace#:043000265299788 Eed:210824

           Ind ID:                    Ind Name:Liberty Power Holdings

           Direct Deposit Trn: 2355299788Tc


08/24      Orig CO Name:Pseg                 Orig ID:1221212800 Desc Date:120921 CO                               16,201.85

           Entry Descr:Pseg      Sec:CCD      Trace#:021000025299813 Eed:210824         Ind

           ID:006500052307               Ind Name:Liberty P120921210824S

           Direct Deposit Trn: 2355299813Tc


08/24      Orig CO Name:Natgridusaservco           Orig ID:1041663150 Desc Date:        CO                        16,089.02

           Entry Descr:Narragansesec:CTX        Trace#:028000085132345 Eed:210824

           Ind ID:81002154892022               Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2365132345Tc




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Ledger     Description                                                                                                Amount
Date

08/24      Orig CO Name:Amer Elec 8152               Orig ID:1314271000 Desc Date:Aug 23                           15,015.75

           CO Entry Descr:EDI Paymntsec:CTX            Trace#:031100205132263

           Eed:210824    Ind ID:Ap003968149                 Ind Name:0008Liberty Power

           Ho Trn: 2365132263Tc




                                                                                                                                10268033325000000065
08/24      Orig CO Name:Firstenergy Serv          Orig ID:1341968288 Desc Date:210824                              14,561.87

           CO Entry Descr:Payments         Sec:CCD     Trace#:021000025299802

           Eed:210824    Ind ID:000000250896264               Ind Name:Liberty Power

           Holdings Trn: 2355299802Tc


08/24      Orig CO Name:Engie Insight            Orig ID:1911701028 Desc Date:       CO                            14,211.09

           Entry Descr:820EFT0001Sec:CCD             Trace#:111000015299810 Eed:210824

           Ind ID:Ef1082311451103               Ind Name:Liberty Power Holdings

           Rmr*IV*15719185456                    **3091.87**\Dtm*003*20210824**\ Trn:

           2355299810Tc


08/24      Orig CO Name:Bal Gas&Elec              Orig ID:1520280210 Desc Date:Aug 24                              11,455.69

           CO Entry Descr:EDI Paymntsec:CTX            Trace#:031100205132236

           Eed:210824    Ind ID:0000300576                  Ind Name:0008Liberty Power

           MA Trn: 2365132236Tc


08/24      Orig CO Name:Ipay Solutions           Orig ID:9Zzzzzzzzz Desc Date:082321                               11,243.48

           CO Entry Descr:Bill Pmt     Sec:CCD       Trace#:242071755299817 Eed:210824

           Ind ID:Bill Pmt                 Ind Name:Liberty Power

           866-454-6277 Trn: 2355299817Tc


08/24      Orig CO Name:Exelon                  Orig ID:8188490861 Desc Date:        CO                            11,087.68

           Entry Descr:Corp Pymntsec:CTX         Trace#:111000025132283 Eed:210824

           Ind ID:0000214915                  Ind Name:0009Liberty Power MA Trn:

           2365132283Tc


08/24      Orig CO Name:Firstenergy Serv          Orig ID:1341968288 Desc Date:210824                              10,898.96

           CO Entry Descr:Payments         Sec:CCD     Trace#:021000025299803

           Eed:210824    Ind ID:000000250896265               Ind Name:Liberty Power

           Holdings Trn: 2355299803Tc


08/24      Orig CO Name:Exelon                  Orig ID:8188490866 Desc Date:        CO                              7,409.08

           Entry Descr:Corp Pymntsec:CTX         Trace#:111000025132294 Eed:210824

           Ind ID:0000212745                  Ind Name:0009Liberty Power Ho Trn:

           2365132294Tc


08/24      Orig CO Name:Firstenergy Serv          Orig ID:1341968288 Desc Date:210824                                7,402.36

           CO Entry Descr:Payments         Sec:CCD     Trace#:021000025299800

           Eed:210824    Ind ID:000000250896262               Ind Name:Liberty Power

           Holdings Trn: 2355299800Tc


08/24      Orig CO Name:Ameren                  Orig ID:3006936017 Desc Date:        CO                              6,480.77

           Entry Descr:Acctspay      Sec:CCD     Trace#:042000015299808 Eed:210824

           Ind ID:                     Ind Name:Liberty Power Holdings Trn:

           2355299808Tc


08/24      Orig CO Name:Firstenergy Serv          Orig ID:1341968288 Desc Date:210824                                6,079.51

           CO Entry Descr:Payments         Sec:CCD     Trace#:021000025299804

           Eed:210824    Ind ID:000000250896266               Ind Name:Liberty Power Trn:

           2355299804Tc


08/24      Orig CO Name:Amer Elec 8152               Orig ID:1314271000 Desc Date:Aug 23                             4,352.47

           CO Entry Descr:EDI Paymntsec:CTX            Trace#:031100205132254

           Eed:210824    Ind ID:Ap003968148                 Ind Name:0008Liberty Power

           Ho Trn: 2365132254Tc


08/24      Orig CO Name:ACH Processing               Orig ID:2731733336 Desc Date:        CO                         3,516.69

           Entry Descr:8887465741Sec:CCD           Trace#:104000015132224 Eed:210824

           Ind ID:17401936                   Ind Name:Jazx ACH Processing

           8887465741 Trn: 2365132224Tc


08/24      Orig CO Name:NY State Electri          Orig ID:1150398550 Desc Date:       CO                             1,437.32

           Entry Descr:Achpaymentsec:CTX          Trace#:028000085132220 Eed:210824

           Ind ID:930113600028214               Ind Name:0002Liberty Power Ho

           Zz9301Supa21082401 Trn: 2365132220Tc




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Ledger     Description                                                                                              Amount
Date

08/24      Orig CO Name:Central Maine PO          Orig ID:3141798693 Desc Date:       CO                           1,423.63

           Entry Descr:Achpaymentsec:CTX        Trace#:211274455132326 Eed:210824

           Ind ID:931013600013891             Ind Name:0001Liberty Power Ho

           Zz9310Supa21082401 Trn: 2365132326Tc


08/24      Orig CO Name:Natgridusaservco          Orig ID:1041663150 Desc Date:       CO                                838.65

           Entry Descr:Niagara Mosec:CTX       Trace#:028000085132331 Eed:210824

           Ind ID:81002154902022              Ind Name:0005Liberty Power Ho

           Direct Deposit Trn: 2365132331Tc


08/24      Orig CO Name:American Express          Orig ID:1134992250 Desc Date:210823                                   645.51

           CO Entry Descr:Settlementsec:CCD        Trace#:091000015299815 Eed:210824

           Ind ID:2582312351                Ind Name:       2582312351

           Payment Date     21236 Trn: 2355299815Tc


08/24      Orig CO Name:Capturis             Orig ID:2431879364 Desc Date:210823 CO                                     169.08

           Entry Descr:Bill Pay   Sec:CTX    Trace#:042000015132246 Eed:210824       Ind

           ID:4363                  Ind Name:0006Liberty Power Ho Trn: 2365132246Tc


08/24      Orig CO Name:Rochester Gas &           Orig ID:9107592901 Desc Date:       CO                                 12.70

           Entry Descr:Achpaymentsec:CTX        Trace#:021000025132353 Eed:210824

           Ind ID:930213600018425             Ind Name:0002Liberty Power Ho

           Zz9302Supa21082401 Trn: 2365132353Tc


08/25      Lockbox No: 25901 For 160 Items At 16:00 5 Trn: 2100184237Lb                                          70,609.38


08/25      Orig CO Name:Merchant Service          Orig ID:1841010148 Desc Date:210824                          127,818.34

           CO Entry Descr:Merch Dep Sec:CCD         Trace#:042000013605280

           Eed:210825    Ind ID:8030330933               Ind Name:Liberty Power

           Holdings                                                        Merchant

           Activity Trn: 2373605280Tc


08/25      Orig CO Name:Nstar Electric -      Orig ID:1041278810 Desc Date:        CO                          104,177.44

           Entry Descr:Corp Pymntsec:CTX       Trace#:051000013605167 Eed:210825

           Ind ID:6547121                Ind Name:0006Liberty Power Ho Trn:

           2373605167Tc


08/25      Orig CO Name:Natgridusaservco          Orig ID:1041663150 Desc Date:       CO                         68,580.81

           Entry Descr:Massachusesec:CTX        Trace#:028000083605302 Eed:210825

           Ind ID:81002167892022              Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2373605302Tc


08/25      Orig CO Name:Firstenergy Serv        Orig ID:1341968288 Desc Date:210825                              61,859.13

           CO Entry Descr:Payments      Sec:CCD    Trace#:021000025813217

           Eed:210825    Ind ID:000000250933097            Ind Name:Liberty Power

           Holdings Trn: 2365813217Tc


08/25      Orig CO Name:Comed                 Orig ID:P360938600 Desc Date:210823                                60,753.60

           CO Entry Descr:Ucbpor_Paysec:CCD         Trace#:111000025813224

           Eed:210825    Ind ID:784087293               Ind Name:

           Rmr*IV*Cp00692950911480002043 Trn: 2365813224Tc


08/25      Orig CO Name:Peco Energy Comp           Orig ID:1230970240 Desc                                       43,740.27

           Date:210823 CO Entry Descr:Pecochoicesec:CCD

           Trace#:111000015813221 Eed:210825         Ind ID:784087293              Ind

           Name:                    Rmr*IV*Liberty80042639 Trn: 2365813221Tc


08/25      Orig CO Name:Central Hudson          Orig ID:1140555980 Desc Date:202108                              36,661.90

           CO Entry Descr:ACH Pymnt Sec:CCD         Trace#:091000015813245

           Eed:210825    Ind ID:48809-051               Ind Name:Liberty Power Holdings

           Trn: 2365813245Tc


08/25      Orig CO Name:International PA        Orig ID:1130872805 Desc Date:       CO                           31,968.24

           Entry Descr:Trade Pay Sec:CCD       Trace#:043000265813235 Eed:210825

           Ind ID:                   Ind Name:Liberty Power Holdings

           Direct Deposit Trn: 2365813235Tc


08/25      Orig CO Name:Firstenergy Serv        Orig ID:1341968288 Desc Date:210825                              30,899.16

           CO Entry Descr:Payments      Sec:CCD    Trace#:021000025813216

           Eed:210825    Ind ID:000000250933096            Ind Name:Liberty Power

           Holdings Trn: 2365813216Tc




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Ledger     Description                                                                                                  Amount
Date

08/25      Orig CO Name:Exelon                   Orig ID:8188490880 Desc Date:       CO                              30,212.26

           Entry Descr:Corp Pymntsec:CTX          Trace#:111000023605233 Eed:210825

           Ind ID:0000220264                   Ind Name:0010Liberty Power CO Trn:

           2373605233Tc




                                                                                                                                 10268033326000000065
08/25      Orig CO Name:Ameren                    Orig ID:3006936017 Desc Date:       CO                             28,830.81

           Entry Descr:Acctspay      Sec:CCD      Trace#:042000015813241 Eed:210825

           Ind ID:                     Ind Name:Liberty Power Holdings Trn:

           2365813241Tc


08/25      Orig CO Name:Ppl Electric Uti          Orig ID:Fp20001802 Desc Date:       CO                             25,163.36

           Entry Descr:EDI Paymtssec:CTX          Trace#:031000033605245 Eed:210825

           Ind ID:85                       Ind Name:0009Liberty Power Ho Trn:

           2373605245Tc


08/25      Orig CO Name:Firstenergy Serv            Orig ID:1341968288 Desc Date:210825                              24,766.84

           CO Entry Descr:Payments         Sec:CCD     Trace#:021000025813215

           Eed:210825     Ind ID:000000250933095               Ind Name:Liberty Power

           Holdings Trn: 2365813215Tc


08/25      Orig CO Name:ACH Processing               Orig ID:2731733336 Desc Date:        CO                         24,128.36

           Entry Descr:8887465741Sec:CCD            Trace#:104000015813210 Eed:210825

           Ind ID:17419302                    Ind Name:Jazx ACH Processing

           8887465741 Trn: 2365813210Tc


08/25      Orig CO Name:Exelon                   Orig ID:8188490861 Desc Date:       CO                              23,519.33

           Entry Descr:Corp Pymntsec:CTX          Trace#:111000023605201 Eed:210825

           Ind ID:0000214987                   Ind Name:0009Liberty Power Ho Trn:

           2373605201Tc


08/25      Orig CO Name:Engie Insight             Orig ID:1911701028 Desc Date:        CO                            21,980.07

           Entry Descr:820EFT0001Sec:CCD             Trace#:111000015813227 Eed:210825

           Ind ID:Ef1082411431114                Ind Name:Liberty Power Holdings

           Rmr*IV*01861797778                     **177.48**\Dtm*003*20210825**\ Trn:

           2365813227Tc


08/25      Orig CO Name:Ameren                    Orig ID:3006936017 Desc Date:       CO                             18,871.66

           Entry Descr:Acctspay      Sec:CCD      Trace#:042000015813240 Eed:210825

           Ind ID:                     Ind Name:Liberty Power Holdings Trn:

           2365813240Tc


08/25      Orig CO Name:Moneygram P Sys               Orig ID:3841327808 Desc                                        16,473.67

           Date:082421 CO Entry Descr:Mg Settle Sec:PPD           Trace#:043000265813232

           Eed:210825     Ind ID:101070032                  Ind Name:Liberty Power

           Holdings      101070032,120729697 Trn: 2365813232Tc


08/25      Orig CO Name:American Express             Orig ID:1134992250 Desc Date:210824                             14,168.58

           CO Entry Descr:Settlementsec:CCD           Trace#:091000015813205 Eed:210825

           Ind ID:2582312351                   Ind Name:        2582312351

           Payment Date      21237 Trn: 2365813205Tc


08/25      Orig CO Name:Tomsofmaine 8432              Orig ID:1010287460 Desc Date:Aug                               13,498.49

           25 CO Entry Descr:EDI Paymntsec:CTX             Trace#:031100203605256

           Eed:210825     Ind ID:Ust121000016482               Ind Name:0007Liberty Power

           Ho Trn: 2373605256Tc


08/25      Orig CO Name:Fidelity Express           Orig ID:2751413801 Desc Date:Aug 21                               13,242.95

           CO Entry Descr:Bill Pay     Sec:CCD      Trace#:096016935813230 Eed:210825

           Ind ID:9003242                    Ind Name:Liberty Power Trn: 2365813230Tc


08/25      Orig CO Name:Ipay Solutions            Orig ID:9Zzzzzzzzz Desc Date:082421                                12,714.39

           CO Entry Descr:Bill Pmt     Sec:CCD       Trace#:242071755813243 Eed:210825

           Ind ID:Bill Pmt                  Ind Name:Liberty Power

           866-454-6277 Trn: 2365813243Tc


08/25      Orig CO Name:Firstenergy Serv            Orig ID:1341968288 Desc Date:210825                              10,949.15

           CO Entry Descr:Payments         Sec:CCD     Trace#:021000025813214

           Eed:210825     Ind ID:000000250933094               Ind Name:Liberty Power

           Holdings Trn: 2365813214Tc




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Ledger     Description                                                                                               Amount
Date

08/25      Orig CO Name:Aes Corporation           Orig ID:9704918002 Desc Date:210825                               9,368.07

           CO Entry Descr:Payments     Sec:CTX      Trace#:021000023605265

           Eed:210825    Ind ID:000030293Usdy21             Ind Name:0009Liberty Power

           Ho Trn: 2373605265Tc


08/25      Orig CO Name:ACH Processing            Orig ID:2731733336 Desc Date:          CO                         8,988.39

           Entry Descr:8887465741Sec:CCD         Trace#:104000015813209 Eed:210825

           Ind ID:17419198                  Ind Name:Jazx ACH Processing

           8887465741 Trn: 2365813209Tc


08/25      Orig CO Name:Exelon                Orig ID:8188490866 Desc Date:       CO                                8,749.89

           Entry Descr:Corp Pymntsec:CTX        Trace#:111000023605222 Eed:210825

           Ind ID:0000212817                 Ind Name:0009Liberty Power Ho Trn:

           2373605222Tc


08/25      Orig CO Name:Pseg                  Orig ID:1221212800 Desc Date:130921 CO                                7,820.74

           Entry Descr:Pseg       Sec:CCD     Trace#:021000025813237 Eed:210825          Ind

           ID:006500052307              Ind Name:Liberty P130921210825S

           Direct Deposit Trn: 2365813237Tc


08/25      Orig CO Name:Exelon                Orig ID:8188490861 Desc Date:       CO                                7,644.98

           Entry Descr:Corp Pymntsec:CTX        Trace#:111000023605211 Eed:210825

           Ind ID:0000214991                 Ind Name:0009Liberty Power MA Trn:

           2373605211Tc


08/25      Orig CO Name:NY State Electri         Orig ID:1150398550 Desc Date:       CO                             7,168.49

           Entry Descr:Achpaymentsec:CTX         Trace#:028000083605178 Eed:210825

           Ind ID:930113600028361              Ind Name:0002Liberty Power Ho

           Zz9301Supa21082501 Trn: 2373605178Tc


08/25      Orig CO Name:Ameren                 Orig ID:3006936017 Desc Date:        CO                              5,759.85

           Entry Descr:Acctspay    Sec:CCD     Trace#:042000015813239 Eed:210825

           Ind ID:                   Ind Name:Liberty Power Holdings Trn:

           2365813239Tc


08/25      Orig CO Name:Central Maine PO          Orig ID:3141798693 Desc Date:          CO                         3,651.34

           Entry Descr:Achpaymentsec:CTX         Trace#:211274453605175 Eed:210825

           Ind ID:931013600013954              Ind Name:0001Liberty Power Ho

           Zz9310Supa21082501 Trn: 2373605175Tc


08/25      Orig CO Name:Capturis              Orig ID:2431879364 Desc Date:210824 CO                                3,250.56

           Entry Descr:Bill Pay   Sec:CTX     Trace#:042000013605310 Eed:210825        Ind

           ID:4363                  Ind Name:0007Liberty Power Ho Trn: 2373605310Tc


08/25      Orig CO Name:Cass Info. Carr.         Orig ID:9000002001 Desc Date:210824                                2,907.07

           CO Entry Descr:Conc Acctssec:CCD         Trace#:081000605813207

           Eed:210825    Ind ID:Liber60673B              Ind Name:Liberty Power Trn:

           2365813207Tc


08/25      Orig CO Name:Amer Elec 8152            Orig ID:1314271000 Desc Date:Aug 24                               2,815.40

           CO Entry Descr:EDI Paymntsec:CTX         Trace#:031100203605182

           Eed:210825    Ind ID:Ap003968985               Ind Name:0008Liberty Power

           Ho Trn: 2373605182Tc


08/25      Orig CO Name:Natgridusaservco          Orig ID:1041663150 Desc Date:          CO                         2,304.30

           Entry Descr:Niagara Mosec:CTX        Trace#:028000083605294 Eed:210825

           Ind ID:81002167902022               Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2373605294Tc


08/25      Orig CO Name:Amer Elec 8152            Orig ID:1314271000 Desc Date:Aug 24                               2,211.11

           CO Entry Descr:EDI Paymntsec:CTX         Trace#:031100203605191

           Eed:210825    Ind ID:Ap003968986               Ind Name:0008Liberty Power

           Ho Trn: 2373605191Tc


08/25      Orig CO Name:Dlco Por               Orig ID:3007915606 Desc Date:        CO                              2,018.80

           Entry Descr:EDI Paymtssec:CCD        Trace#:043000265813212 Eed:210825

           Ind ID:2021-08-24.00.0            Ind Name:Liberty Power Holdings Trn:

           2365813212Tc




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Ledger     Description                                                                                               Amount
Date

08/25      Orig CO Name:Firstenergy Serv         Orig ID:1341968288 Desc Date:210825                                1,875.68

           CO Entry Descr:Payments      Sec:CCD     Trace#:021000025813218

           Eed:210825    Ind ID:000000250933098             Ind Name:Liberty Power

           Holdings Trn: 2365813218Tc




                                                                                                                                10268033327000000065
08/25      Orig CO Name:Firstenergy Serv         Orig ID:1341968288 Desc Date:210825                                1,374.72

           CO Entry Descr:Payments      Sec:CCD     Trace#:021000025813219

           Eed:210825    Ind ID:000000250933099             Ind Name:Liberty Power Trn:

           2365813219Tc


08/25      Orig CO Name:Rochester Gas &           Orig ID:9107592901 Desc Date:        CO                           1,157.78

           Entry Descr:Achpaymentsec:CTX         Trace#:021000023605276 Eed:210825

           Ind ID:930213600018531              Ind Name:0002Liberty Power Ho

           Zz9302Supa21082501 Trn: 2373605276Tc


08/25      Orig CO Name:Nutrien Ag Solut         Orig ID:2001322941 Desc Date:        CO                                 6.33

           Entry Descr:EDI Paymtssec:CTX        Trace#:043000263605282 Eed:210825

           Ind ID:6002133347                 Ind Name:0010Liberty Power CO Trn:

           2373605282Tc


08/26      Lockbox No: 25901 For 79 Items At 16:00 5 Trn: 2100279238Lb                                            79,343.46


08/26      Orig CO Name:Cl+P - Distribut        Orig ID:1060303850 Desc Date:       CO                       2,520,954.90

           Entry Descr:Corp Pymntsec:CTX        Trace#:051000011162510 Eed:210826

           Ind ID:3510811                Ind Name:0006Liberty Power Ho Trn:

           2381162510Tc


08/26      Orig CO Name:Smith & Wesson B           Orig ID:2870543688 Desc Date:                                241,513.86

           CO Entry Descr:Apachpaymtsec:CCD          Trace#:211274453292510

           Eed:210826    Ind ID:                    Ind Name:Liberty Power Holdings

           Direct Deposit Trn: 2373292510Tc


08/26      Orig CO Name:Merchant Service          Orig ID:1841010148 Desc Date:210825                           150,598.15

           CO Entry Descr:Merch Dep Sec:CCD         Trace#:042000011162640

           Eed:210826    Ind ID:8030330933               Ind Name:Liberty Power

           Holdings                                                         Merchant

           Activity Trn: 2381162640Tc


08/26      Orig CO Name:Natgridusaservco          Orig ID:1041663150 Desc Date:        CO                         73,133.32

           Entry Descr:Massachusesec:CTX         Trace#:028000081162584 Eed:210826

           Ind ID:81002186252022               Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2381162584Tc


08/26      Orig CO Name:Natgridusaservco          Orig ID:1041663150 Desc Date:        CO                         70,113.87

           Entry Descr:Narragansesec:CTX        Trace#:028000081162599 Eed:210826

           Ind ID:81002186232022               Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2381162599Tc


08/26      Orig CO Name:Engie Insight           Orig ID:1911701028 Desc Date:       CO                            48,587.60

           Entry Descr:820EFT0001Sec:CCD          Trace#:111000013292498 Eed:210826

           Ind ID:Ef1082511481111              Ind Name:Liberty Power Holdings

           Rmr*IV*41594437398                   **986.70**\Dtm*003*20210826**\ Trn:

           2373292498Tc


08/26      Orig CO Name:Pseg                  Orig ID:1221212800 Desc Date:140921 CO                              45,251.53

           Entry Descr:Pseg        Sec:CCD    Trace#:021000023292526 Eed:210826        Ind

           ID:006500052307              Ind Name:Liberty P140921210826S

           Direct Deposit Trn: 2373292526Tc


08/26      Orig CO Name:ACH Processing            Orig ID:2731733336 Desc Date:        CO                         39,707.31

           Entry Descr:8887465741Sec:CCD         Trace#:104000013292517 Eed:210826

           Ind ID:17426422               Ind Name:Jazx ACH Processing

           8887465741 Trn: 2373292517Tc


08/26      Orig CO Name:Bal Gas&Elec             Orig ID:1520280210 Desc Date:Aug 26                              38,823.20

           CO Entry Descr:EDI Paymntsec:CTX         Trace#:031100201162607

           Eed:210826    Ind ID:0000300804               Ind Name:0008Liberty Power

           MA Trn: 2381162607Tc




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Ledger     Description                                                                                                 Amount
Date

08/26      Orig CO Name:Natgridusaservco             Orig ID:1041663150 Desc Date:        CO                        38,596.82

           Entry Descr:Massachusesec:CTX          Trace#:028000081162577 Eed:210826

           Ind ID:81002186242022                Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2381162577Tc


08/26      Orig CO Name:Firstenergy Serv          Orig ID:1341968288 Desc Date:210826                               33,480.89

           CO Entry Descr:Payments         Sec:CCD     Trace#:021000023292505

           Eed:210826     Ind ID:000000250997799              Ind Name:Liberty Power

           Holdings Trn: 2373292505Tc


08/26      Orig CO Name:Firstenergy Serv          Orig ID:1341968288 Desc Date:210826                               30,464.29

           CO Entry Descr:Payments         Sec:CCD     Trace#:021000023292503

           Eed:210826     Ind ID:000000250997797              Ind Name:Liberty Power

           Holdings Trn: 2373292503Tc


08/26      Orig CO Name:Amer Elec 8152               Orig ID:1314271000 Desc Date:Aug 25                            30,197.66

           CO Entry Descr:EDI Paymntsec:CTX            Trace#:031100201162626

           Eed:210826     Ind ID:Ap003969996                Ind Name:0008Liberty Power

           Ho Trn: 2381162626Tc


08/26      Orig CO Name:Exelon                  Orig ID:8188490880 Desc Date:        CO                             30,129.86

           Entry Descr:Corp Pymntsec:CTX         Trace#:111000021162557 Eed:210826

           Ind ID:0000220359                  Ind Name:0010Liberty Power CO Trn:

           2381162557Tc


08/26      Orig CO Name:Exelon                  Orig ID:8188490861 Desc Date:        CO                             28,922.97

           Entry Descr:Corp Pymntsec:CTX         Trace#:111000021162525 Eed:210826

           Ind ID:0000215067                  Ind Name:0009Liberty Power Ho Trn:

           2381162525Tc


08/26      Orig CO Name:Firstenergy Serv          Orig ID:1341968288 Desc Date:210826                               22,320.60

           CO Entry Descr:Payments         Sec:CCD     Trace#:021000023292506

           Eed:210826     Ind ID:000000250997800              Ind Name:Liberty Power

           Holdings Trn: 2373292506Tc


08/26      Orig CO Name:Central Maine PO             Orig ID:3141798693 Desc Date:        CO                        19,432.72

           Entry Descr:Achpaymentsec:CTX          Trace#:211274451162518 Eed:210826

           Ind ID:931013600013991               Ind Name:0001Liberty Power Ho

           Zz9310Supa21082601 Trn: 2381162518Tc


08/26      Orig CO Name:Peco Energy Comp               Orig ID:1230970240 Desc                                      14,435.23

           Date:210824 CO Entry Descr:Pecochoicesec:CCD

           Trace#:111000013292521 Eed:210826            Ind ID:784087293              Ind

           Name:                      Rmr*IV*Liberty80042640 Trn: 2373292521Tc


08/26      Orig CO Name:Cass Info. Carr.          Orig ID:9000002001 Desc Date:210825                               13,682.06

           CO Entry Descr:Conc Acctssec:CCD           Trace#:081000603292519

           Eed:210826     Ind ID:Liber60673B               Ind Name:Liberty Power Trn:

           2373292519Tc


08/26      Orig CO Name:Exelon                  Orig ID:8188490866 Desc Date:        CO                             11,527.12

           Entry Descr:Corp Pymntsec:CTX         Trace#:111000021162546 Eed:210826

           Ind ID:0000212888                  Ind Name:0009Liberty Power Ho Trn:

           2381162546Tc


08/26      Orig CO Name:Firstenergy Serv          Orig ID:1341968288 Desc Date:210826                               11,180.70

           CO Entry Descr:Payments         Sec:CCD     Trace#:021000023292504

           Eed:210826     Ind ID:000000250997798              Ind Name:Liberty Power

           Holdings Trn: 2373292504Tc


08/26      Orig CO Name:Moneygram P Sys               Orig ID:3841327808 Desc                                       10,959.22

           Date:082521 CO Entry Descr:Mg Settle Sec:PPD          Trace#:043000263292530

           Eed:210826     Ind ID:101070032                 Ind Name:Liberty Power

           Holdings      101070032,120748621 Trn: 2373292530Tc


08/26      Orig CO Name:Ipay Solutions           Orig ID:9Zzzzzzzzz Desc Date:082521                                10,023.91

           CO Entry Descr:Bill Pmt     Sec:CCD       Trace#:242071753292528 Eed:210826

           Ind ID:Bill Pmt                 Ind Name:Liberty Power

           866-454-6277 Trn: 2373292528Tc




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Ledger     Description                                                                                               Amount
Date

08/26      Orig CO Name:Firstenergy Serv        Orig ID:1341968288 Desc Date:210826                                 9,671.01

           CO Entry Descr:Payments      Sec:CCD     Trace#:021000023292507

           Eed:210826    Ind ID:000000250997801             Ind Name:Liberty Power

           Holdings Trn: 2373292507Tc




                                                                                                                               10268033328000000065
08/26      Orig CO Name:Ameren                 Orig ID:3006936017 Desc Date:       CO                               8,648.67

           Entry Descr:Acctspay   Sec:CCD      Trace#:042000013292512 Eed:210826

           Ind ID:                   Ind Name:Liberty Power Holdings Trn:

           2373292512Tc


08/26      Orig CO Name:Natgridusaservco          Orig ID:1041663150 Desc Date:         CO                          8,621.72

           Entry Descr:Massachusesec:CTX        Trace#:028000081162591 Eed:210826

           Ind ID:81002186262022             Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2381162591Tc


08/26      Orig CO Name:Fidelity Express        Orig ID:2751413801 Desc Date:Aug 21                                 7,490.71

           CO Entry Descr:Bill Pay   Sec:CCD     Trace#:096016933292496 Eed:210826

           Ind ID:9003242                Ind Name:Liberty Power Trn: 2373292496Tc


08/26      Orig CO Name:Amer Elec 8152            Orig ID:1314271000 Desc Date:Aug 25                               7,283.46

           CO Entry Descr:EDI Paymntsec:CTX         Trace#:031100201162617

           Eed:210826    Ind ID:Ap003969995               Ind Name:0008Liberty Power

           Ho Trn: 2381162617Tc


08/26      Orig CO Name:Ameren                 Orig ID:3006936017 Desc Date:       CO                               6,513.86

           Entry Descr:Acctspay   Sec:CCD      Trace#:042000013292514 Eed:210826

           Ind ID:                   Ind Name:Liberty Power Holdings Trn:

           2373292514Tc


08/26      Orig CO Name:Dlco Por             Orig ID:3007915606 Desc Date:         CO                               5,560.52

           Entry Descr:EDI Paymtssec:CCD        Trace#:043000263292501 Eed:210826

           Ind ID:2021-08-25.00.0           Ind Name:Liberty Power Holdings Trn:

           2373292501Tc


08/26      Orig CO Name:Natgridusaservco          Orig ID:1041663150 Desc Date:         CO                          5,102.41

           Entry Descr:Niagara Mosec:CTX       Trace#:028000081162569 Eed:210826

           Ind ID:81002186272022             Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2381162569Tc


08/26      Orig CO Name:Idexx Reference           Orig ID:8010393723 Desc Date:        CO                           5,057.82

           Entry Descr:Corp Pymntsec:CTX       Trace#:111000022868998 Eed:210826

           Ind ID:0000097978               Ind Name:0011Liberty Power Ho Trn:

           2382868998Tc


08/26      Orig CO Name:Exelon               Orig ID:8188490861 Desc Date:        CO                                4,618.55

           Entry Descr:Corp Pymntsec:CTX       Trace#:111000021162535 Eed:210826

           Ind ID:0000215072               Ind Name:0009Liberty Power MA Trn:

           2381162535Tc


08/26      Orig CO Name:NY State Electri        Orig ID:1150398550 Desc Date:        CO                             2,785.97

           Entry Descr:Achpaymentsec:CTX        Trace#:028000081162521 Eed:210826

           Ind ID:930113600028442             Ind Name:0002Liberty Power Ho

           Zz9301Supa21082601 Trn: 2381162521Tc


08/26      Orig CO Name:American Express           Orig ID:1134992250 Desc Date:210825                              2,188.05

           CO Entry Descr:Settlementsec:CCD        Trace#:091000013292524 Eed:210826

           Ind ID:2582312351               Ind Name:         2582312351

           Payment Date     21238 Trn: 2373292524Tc


08/26      Orig CO Name:ACH Processing            Orig ID:2731733336 Desc Date:         CO                          2,051.79

           Entry Descr:8887465741Sec:CCD         Trace#:104000013292516 Eed:210826

           Ind ID:17426299               Ind Name:Jazx ACH Processing

           8887465741 Trn: 2373292516Tc


08/26      Orig CO Name:Ameren                 Orig ID:3006936017 Desc Date:       CO                               1,682.44

           Entry Descr:Acctspay   Sec:CCD      Trace#:042000013292513 Eed:210826

           Ind ID:                   Ind Name:Liberty Power Holdings Trn:

           2373292513Tc




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Ledger     Description                                                                                               Amount
Date

08/26      Orig CO Name:Rochester Gas &           Orig ID:9107592901 Desc Date:         CO                               360.24

           Entry Descr:Achpaymentsec:CTX        Trace#:021000021162636 Eed:210826

           Ind ID:930213600018607             Ind Name:0002Liberty Power Ho

           Zz9302Supa21082601 Trn: 2381162636Tc


08/26      Orig CO Name:Firstenergy Serv        Orig ID:1341968288 Desc Date:210826                                      237.63

           CO Entry Descr:Payments      Sec:CCD    Trace#:021000023292508

           Eed:210826    Ind ID:000000250997802            Ind Name:Liberty Power Trn:

           2373292508Tc


08/27      Fedwire Credit Via: Bank of America, N.A./026009593 B/O: Genpact US                                      1,648.57

           Danbury NY 06810 US Ref: Chase Nyc/Ctr/Bnf=Liberty Power Holdings LLC

           Fort Lauderdale FL 33309- 1823 US/Ac-000000004277 Rfb=1170054 353

           Obi=Invoice No 11298202082021 J Ob_I/D Date 20210817 Amount 410.27

           Inv/Oice No 46331726082021 Job_ID D Imad: 0827B6B7Hu1R008469 Trn:

           0306650239Ff

           YOUR REF:     1170054353


08/27      Lockbox No: 25901 For 205 Items At 16:00 5 Trn: 2100864239Lb                                           94,069.15


08/27      Orig CO Name:Nstar Elect- Wes         Orig ID:1041961130 Desc Date:         CO                       440,151.88

           Entry Descr:Corp Pymntsec:CTX       Trace#:051000010694938 Eed:210827

           Ind ID:1183041                 Ind Name:0006Liberty Power Ho Trn:

           2390694938Tc


08/27      Orig CO Name:Merchant Service          Orig ID:1841010148 Desc Date:210826                           137,149.93

           CO Entry Descr:Merch Dep Sec:CCD         Trace#:042000010694925

           Eed:210827    Ind ID:8030330933               Ind Name:Liberty Power

           Holdings                                                          Merchant

           Activity Trn: 2390694925Tc


08/27      Orig CO Name:ACH Processing            Orig ID:2731733336 Desc Date:        CO                         79,828.18

           Entry Descr:8887465741Sec:CCD        Trace#:104000010694950 Eed:210827

           Ind ID:17432828                 Ind Name:Jazx ACH Processing

           8887465741 Trn: 2390694950Tc


08/27      Orig CO Name:ACH Processing            Orig ID:2731733336 Desc Date:        CO                         74,367.32

           Entry Descr:8887465741Sec:CCD        Trace#:104000010694951 Eed:210827

           Ind ID:17432849                 Ind Name:Jazx ACH Processing

           8887465741 Trn: 2390694951Tc


08/27      Orig CO Name:Exelon               Orig ID:8188490880 Desc Date:        CO                              69,700.39

           Entry Descr:Corp Pymntsec:CTX       Trace#:111000020694812 Eed:210827

           Ind ID:0000220470                Ind Name:0010Liberty Power CO Trn:

           2390694812Tc


08/27      Orig CO Name:Natgridusaservco          Orig ID:1041663150 Desc Date:        CO                         54,747.12

           Entry Descr:Massachusesec:CTX        Trace#:028000080694839 Eed:210827

           Ind ID:81002199842022              Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2390694839Tc


08/27      Orig CO Name:Ameren                Orig ID:3006936017 Desc Date:        CO                             46,205.49

           Entry Descr:Acctspay   Sec:CCD     Trace#:042000011802152 Eed:210827

           Ind ID:                  Ind Name:Liberty Power Holdings Trn:

           2381802152Tc


08/27      Orig CO Name:Natgridusaservco          Orig ID:1041663150 Desc Date:        CO                         44,306.97

           Entry Descr:Massachusesec:CTX        Trace#:028000080694860 Eed:210827

           Ind ID:81002199872022              Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2390694860Tc


08/27      Orig CO Name:Ppl Electric Uti      Orig ID:Fp20001802 Desc Date:        CO                             42,924.52

           Entry Descr:EDI Paymtssec:CTX       Trace#:031000030694914 Eed:210827

           Ind ID:151                   Ind Name:0009Liberty Power Ho Trn:

           2390694914Tc


08/27      Orig CO Name:Natgridusaservco          Orig ID:1041663150 Desc Date:        CO                         42,336.47

           Entry Descr:Massachusesec:CTX        Trace#:028000080694874 Eed:210827

           Ind ID:81002200632022              Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2390694874Tc




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Ledger     Description                                                                                              Amount
Date

08/27      Orig CO Name:Engie Insight         Orig ID:1911701028 Desc Date:        CO                            41,982.68

           Entry Descr:820EFT0001Sec:CCD        Trace#:111000011802163 Eed:210827

           Ind ID:Ef1082611141122            Ind Name:Liberty Power Holdings

           Rmr*IV*82710019382                 **2716.08**\Dtm*003*20210827**\ Trn:




                                                                                                                              10268033329000000065
           2381802163Tc


08/27      Orig CO Name:Excelitas Techno        Orig ID:8042052042 Desc Date:         CO                         35,776.72

           Entry Descr:0000751013Sec:CTX       Trace#:111000020694953 Eed:210827

           Ind ID:2040027791               Ind Name:0016Liberty Power Ho Trn:

           2390694953Tc


08/27      Orig CO Name:Exelon               Orig ID:8188490861 Desc Date:       CO                              34,590.24

           Entry Descr:Corp Pymntsec:CTX      Trace#:111000020694780 Eed:210827

           Ind ID:0000215166               Ind Name:0009Liberty Power Ho Trn:

           2390694780Tc


08/27      Orig CO Name:Nstar Electric -      Orig ID:1041278810 Desc Date:        CO                            34,372.54

           Entry Descr:Corp Pymntsec:CTX      Trace#:051000010694930 Eed:210827

           Ind ID:6562521                Ind Name:0006Liberty Power Ho Trn:

           2390694930Tc


08/27      Orig CO Name:Natgridusaservco        Orig ID:1041663150 Desc Date:         CO                         33,842.19

           Entry Descr:Massachusesec:CTX       Trace#:028000080694853 Eed:210827

           Ind ID:81002199862022             Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2390694853Tc


08/27      Orig CO Name:Ameren                Orig ID:3006936017 Desc Date:       CO                             31,578.86

           Entry Descr:Acctspay    Sec:CCD    Trace#:042000011802150 Eed:210827

           Ind ID:                   Ind Name:Liberty Power Holdings Trn:

           2381802150Tc


08/27      Orig CO Name:Natgridusaservco        Orig ID:1041663150 Desc Date:         CO                         31,509.49

           Entry Descr:Massachusesec:CTX       Trace#:028000080694888 Eed:210827

           Ind ID:81002200652022             Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2390694888Tc


08/27      Orig CO Name:Natgridusaservco        Orig ID:1041663150 Desc Date:         CO                         30,712.62

           Entry Descr:Narragansesec:CTX      Trace#:028000080694896 Eed:210827

           Ind ID:81002200662022             Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2390694896Tc


08/27      Orig CO Name:Ameren                Orig ID:3006936017 Desc Date:       CO                             12,682.47

           Entry Descr:Acctspay    Sec:CCD    Trace#:042000011802151 Eed:210827

           Ind ID:                   Ind Name:Liberty Power Holdings Trn:

           2381802151Tc


08/27      Orig CO Name:Moneygram P Sys           Orig ID:3841327808 Desc                                        11,743.00

           Date:082621 CO Entry Descr:Mg Settle Sec:PPD      Trace#:043000261802166

           Eed:210827     Ind ID:101070032             Ind Name:Liberty Power

           Holdings      101070032,120758549 Trn: 2381802166Tc


08/27      Orig CO Name:Exelon               Orig ID:8188490866 Desc Date:       CO                              10,335.67

           Entry Descr:Corp Pymntsec:CTX      Trace#:111000020694801 Eed:210827

           Ind ID:0000213034               Ind Name:0009Liberty Power Ho Trn:

           2390694801Tc


08/27      Orig CO Name:Peco Energy Comp          Orig ID:1230970240 Desc                                          8,873.29

           Date:210825 CO Entry Descr:Pecochoicesec:CCD

           Trace#:111000011802169 Eed:210827       Ind ID:784087293                Ind

           Name:                    Rmr*IV*Liberty80042641 Trn: 2381802169Tc


08/27      Orig CO Name:Natgridusaservco        Orig ID:1041663150 Desc Date:         CO                           8,745.43

           Entry Descr:Massachusesec:CTX       Trace#:028000080694832 Eed:210827

           Ind ID:81002199832022             Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2390694832Tc


08/27      Orig CO Name:Natgridusaservco        Orig ID:1041663150 Desc Date:         CO                           7,283.68

           Entry Descr:Massachusesec:CTX       Trace#:028000080694867 Eed:210827

           Ind ID:81002199882022             Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2390694867Tc




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Deposits and Credits         (continued)

Ledger     Description                                                                                                Amount
Date

08/27      Orig CO Name:NY State Electri          Orig ID:1150398550 Desc Date:       CO                             7,168.77

           Entry Descr:Achpaymentsec:CTX          Trace#:028000080694946 Eed:210827

           Ind ID:930113600028776               Ind Name:0002Liberty Power Ho

           Zz9301Supa21082701 Trn: 2390694946Tc


08/27      Orig CO Name:Natgridusaservco             Orig ID:1041663150 Desc Date:        CO                         6,871.26

           Entry Descr:Massachusesec:CTX          Trace#:028000080694881 Eed:210827

           Ind ID:81002200642022                Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2390694881Tc


08/27      Orig CO Name:Fidelity Express          Orig ID:2751413801 Desc Date:Aug 21                                6,837.51

           CO Entry Descr:Bill Pay     Sec:CCD       Trace#:096016931802148 Eed:210827

           Ind ID:9003242                   Ind Name:Liberty Power Trn: 2381802148Tc


08/27      Orig CO Name:Natgridusaservco             Orig ID:1041663150 Desc Date:        CO                         6,571.15

           Entry Descr:Niagara Mosec:CTX         Trace#:028000080694824 Eed:210827

           Ind ID:81002199822022                Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2390694824Tc


08/27      Orig CO Name:Central Maine PO             Orig ID:3141798693 Desc Date:        CO                         6,013.05

           Entry Descr:Achpaymentsec:CTX          Trace#:211274450694927 Eed:210827

           Ind ID:931013600014172               Ind Name:0001Liberty Power Ho

           Zz9310Supa21082701 Trn: 2390694927Tc


08/27      Orig CO Name:Exelon                  Orig ID:8188490861 Desc Date:        CO                              5,379.00

           Entry Descr:Corp Pymntsec:CTX         Trace#:111000020694790 Eed:210827

           Ind ID:0000215172                  Ind Name:0009Liberty Power MA Trn:

           2390694790Tc


08/27      Orig CO Name:Ipay Solutions           Orig ID:9Zzzzzzzzz Desc Date:082621                                 4,871.34

           CO Entry Descr:Bill Pmt     Sec:CCD       Trace#:242071751802161 Eed:210827

           Ind ID:Bill Pmt                 Ind Name:Liberty Power

           866-454-6277 Trn: 2381802161Tc


08/27      Orig CO Name:Aes Corporation              Orig ID:9704918002 Desc Date:210827                             4,059.23

           CO Entry Descr:Payments         Sec:CTX     Trace#:021000020694971

           Eed:210827    Ind ID:000030818Usdy21                Ind Name:0009Liberty Power

           Ho Trn: 2390694971Tc


08/27      Orig CO Name:Amer Elec 8152               Orig ID:1314271000 Desc Date:Aug 26                             3,934.40

           CO Entry Descr:EDI Paymntsec:CTX            Trace#:031100200694770

           Eed:210827    Ind ID:Ap003970723                  Ind Name:0008Liberty Power

           Ho Trn: 2390694770Tc


08/27      Orig CO Name:Natgridusaservco             Orig ID:1041663150 Desc Date:        CO                         3,891.45

           Entry Descr:Massachusesec:CTX          Trace#:028000080694846 Eed:210827

           Ind ID:81002199852022                Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2390694846Tc


08/27      Orig CO Name:Amer Elec 8152               Orig ID:1314271000 Desc Date:Aug 26                             3,289.72

           CO Entry Descr:EDI Paymntsec:CTX            Trace#:031100200694761

           Eed:210827    Ind ID:Ap003970722                  Ind Name:0008Liberty Power

           Ho Trn: 2390694761Tc


08/27      Orig CO Name:Dlco Por                Orig ID:3007915606 Desc Date:        CO                              2,316.19

           Entry Descr:EDI Paymtssec:CCD          Trace#:043000261802156 Eed:210827

           Ind ID:2021-08-26.00.0             Ind Name:Liberty Power Holdings Trn:

           2381802156Tc


08/27      Orig CO Name:American Express              Orig ID:1134992250 Desc Date:210826                                 523.14

           CO Entry Descr:Settlementsec:CCD           Trace#:091000011802154 Eed:210827

           Ind ID:2582312351                  Ind Name:         2582312351

           Payment Date      21239 Trn: 2381802154Tc


08/27      Orig CO Name:Champion Lab                 Orig ID:1370995645 Desc Date:        CO                               58.88

           Entry Descr:ACH Paymt Sec:PPD          Trace#:091000011802158 Eed:210827

           Ind ID:00388824                   Ind Name:Liberty Power Corp LLC     ACH

           Paymt Trn: 2381802158Tc




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Ledger     Description                                                                                              Amount
Date

08/27      Orig CO Name:Rochester Gas &          Orig ID:9107592901 Desc Date:         CO                               35.61

           Entry Descr:Achpaymentsec:CTX       Trace#:021000020694910 Eed:210827

           Ind ID:930213600018814             Ind Name:0002Liberty Power Ho

           Zz9302Supa21082701 Trn: 2390694910Tc




                                                                                                                                10268033330000000065
08/27      Orig CO Name:Natgridusaservco         Orig ID:1041663150 Desc Date:        CO                                16.89

           Entry Descr:Narragansesec:CTX       Trace#:028000080694903 Eed:210827

           Ind ID:81002200672022             Ind Name:0005Liberty Power Ho

           Direct Deposit Trn: 2390694903Tc


08/30      Lockbox No: 25901 For 210 Items At 16:00 5 Trn: 2101535242Lb                                        229,140.97


08/30      Orig CO Name:Nstar Electric -      Orig ID:1041278810 Desc Date:        CO                          222,701.24

           Entry Descr:Corp Pymntsec:CTX       Trace#:051000015656191 Eed:210830

           Ind ID:6570721               Ind Name:0007Liberty Power Ho Trn:

           2425656191Tc


08/30      Orig CO Name:Merchant Service         Orig ID:1841010148 Desc Date:210827                           148,898.07

           CO Entry Descr:Merch Dep Sec:CCD        Trace#:042000015656218

           Eed:210830    Ind ID:8030330933              Ind Name:Liberty Power

           Holdings                                                        Merchant

           Activity Trn: 2425656218Tc


08/30      Orig CO Name:Comed                 Orig ID:P360938600 Desc Date:210826                                71,923.48

           CO Entry Descr:Ucbpor_Paysec:CCD        Trace#:111000020551117

           Eed:210830    Ind ID:784087293              Ind Name:

           Rmr*IV*Cp00692950911480002044 Trn: 2390551117Tc


08/30      Orig CO Name:Engie Insight         Orig ID:1911701028 Desc Date:        CO                            71,527.35

           Entry Descr:820EFT0001Sec:CCD        Trace#:111000010551138 Eed:210830

           Ind ID:Ef1082711551125            Ind Name:Liberty Power Holdings

           Rmr*IV*66717956155                 **426.71**\Dtm*003*20210830**\ Trn:

           2390551138Tc


08/30      Orig CO Name:Exelon               Orig ID:8188490861 Desc Date:       CO                              64,744.21

           Entry Descr:Corp Pymntsec:CTX       Trace#:111000025656136 Eed:210830

           Ind ID:0000215283               Ind Name:0009Liberty Power Ho Trn:

           2425656136Tc


08/30      Orig CO Name:Ppl Electric Uti      Orig ID:Fp20001802 Desc Date:       CO                             61,534.04

           Entry Descr:Edipaymts Sec:CTX      Trace#:031000035656057 Eed:210830

           Ind ID:000000174                Ind Name:0013Liberty Power Ho Trn:

           2425656057Tc


08/30      Orig CO Name:Pseg                Orig ID:1221212800 Desc Date:180921 CO                               60,675.30

           Entry Descr:Pseg    Sec:CCD       Trace#:021000020551125 Eed:210830        Ind

           ID:006500052307              Ind Name:Liberty P180921210830S

           Direct Deposit Trn: 2390551125Tc


08/30      Orig CO Name:Merchant Service         Orig ID:1841010148 Desc Date:210828                             52,339.55

           CO Entry Descr:Merch Dep Sec:CCD        Trace#:042000015656187

           Eed:210830    Ind ID:8030330933              Ind Name:Liberty Power

           Holdings                                                        Merchant

           Activity Trn: 2425656187Tc


08/30      Orig CO Name:Exelon               Orig ID:8188490880 Desc Date:       CO                              47,868.95

           Entry Descr:Corp Pymntsec:CTX       Trace#:111000025656168 Eed:210830

           Ind ID:0000220597               Ind Name:0010Liberty Power CO Trn:

           2425656168Tc


08/30      Orig CO Name:Ameren                Orig ID:3006936017 Desc Date:       CO                             33,724.25

           Entry Descr:Acctspay   Sec:CCD     Trace#:042000010551107 Eed:210830

           Ind ID:                  Ind Name:Liberty Power Holdings Trn:

           2390551107Tc


08/30      Orig CO Name:Pseg                Orig ID:1221212800 Desc Date:180921 CO                               28,377.30

           Entry Descr:Pseg    Sec:CCD       Trace#:021000020551127 Eed:210830        Ind

           ID:006500052307              Ind Name:Liberty P180921210830S

           Direct Deposit Trn: 2390551127Tc




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Ledger     Description                                                                                                 Amount
Date

08/30      Orig CO Name:Natgridusaservco           Orig ID:1041663150 Desc Date:         CO                         28,045.27

           Entry Descr:Narragansesec:CTX         Trace#:028000085656095 Eed:210830

           Ind ID:81002222152022                Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2425656095Tc


08/30      Orig CO Name:Merchant Service           Orig ID:1841010148 Desc Date:210829                              23,544.98

           CO Entry Descr:Merch Dep Sec:CCD           Trace#:042000015656189

           Eed:210830     Ind ID:8030330933                Ind Name:Liberty Power

           Holdings                                                            Merchant

           Activity Trn: 2425656189Tc


08/30      Orig CO Name:Ameren                   Orig ID:3006936017 Desc Date:       CO                             21,052.38

           Entry Descr:Acctspay      Sec:CCD     Trace#:042000010551106 Eed:210830

           Ind ID:                     Ind Name:Liberty Power Holdings Trn:

           2390551106Tc


08/30      Orig CO Name:Natgridusaservco           Orig ID:1041663150 Desc Date:         CO                         20,181.02

           Entry Descr:Massachusesec:CTX          Trace#:028000085656087 Eed:210830

           Ind ID:81002222172022                Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2425656087Tc


08/30      Orig CO Name:Peco Energy Comp             Orig ID:1230970240 Desc                                        16,358.90

           Date:210826 CO Entry Descr:Pecochoicesec:CCD

           Trace#:111000010551114 Eed:210830          Ind ID:784087293                Ind

           Name:                      Rmr*IV*Liberty80042642 Trn: 2390551114Tc


08/30      Orig CO Name:ACH Processing              Orig ID:2731733336 Desc Date:        CO                         15,127.44

           Entry Descr:8887465741Sec:CCD           Trace#:104000010551134 Eed:210830

           Ind ID:17439103                   Ind Name:Jazx ACH Processing

           8887465741 Trn: 2390551134Tc


08/30      Orig CO Name:Moneygram P Sys              Orig ID:3841327808 Desc                                        10,389.65

           Date:082721 CO Entry Descr:Mg Settle Sec:PPD         Trace#:043000260551122

           Eed:210830     Ind ID:101070032                Ind Name:Liberty Power

           Holdings      101070032,120770231 Trn: 2390551122Tc


08/30      Orig CO Name:Ameren                   Orig ID:3006936017 Desc Date:       CO                             10,193.68

           Entry Descr:Acctspay      Sec:CCD     Trace#:042000010551105 Eed:210830

           Ind ID:                     Ind Name:Liberty Power Holdings Trn:

           2390551105Tc


08/30      Orig CO Name:American Express            Orig ID:1134992250 Desc Date:210828                               9,543.19

           CO Entry Descr:Settlementsec:CCD         Trace#:091000015656216 Eed:210830

           Ind ID:2582312351                  Ind Name:       2582312351

           Payment Date      21242 Trn: 2425656216Tc


08/30      Orig CO Name:Exelon                  Orig ID:8188490866 Desc Date:       CO                                9,003.49

           Entry Descr:Corp Pymntsec:CTX         Trace#:111000025656157 Eed:210830

           Ind ID:0000213147                  Ind Name:0009Liberty Power Ho Trn:

           2425656157Tc


08/30      Orig CO Name:ACH Processing              Orig ID:2731733336 Desc Date:        CO                           8,483.81

           Entry Descr:8887465741Sec:CCD           Trace#:104000010551133 Eed:210830

           Ind ID:17439078                   Ind Name:Jazx ACH Processing

           8887465741 Trn: 2390551133Tc


08/30      Orig CO Name:Ipay Solutions           Orig ID:9Zzzzzzzzz Desc Date:082721                                  8,423.58

           CO Entry Descr:Bill Pmt     Sec:CCD     Trace#:242071750551131 Eed:210830

           Ind ID:Bill Pmt                 Ind Name:Liberty Power

           866-454-6277 Trn: 2390551131Tc


08/30      Orig CO Name:Exelon                  Orig ID:8188490861 Desc Date:       CO                                7,600.23

           Entry Descr:Corp Pymntsec:CTX         Trace#:111000025656146 Eed:210830

           Ind ID:0000215290                  Ind Name:0009Liberty Power MA Trn:

           2425656146Tc


08/30      Orig CO Name:Fidelity Express          Orig ID:2751413801 Desc Date:Aug 21                                 7,068.04

           CO Entry Descr:Bill Pay     Sec:CCD     Trace#:096016930551112 Eed:210830

           Ind ID:9003242                   Ind Name:Liberty Power Trn: 2390551112Tc




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Ledger     Description                                                                                               Amount
Date

08/30      Orig CO Name:Natgridusaservco          Orig ID:1041663150 Desc Date:         CO                          6,298.02

           Entry Descr:Massachusesec:CTX         Trace#:028000085656080 Eed:210830

           Ind ID:81002222162022               Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2425656080Tc




                                                                                                                                  10268033331000000065
08/30      Orig CO Name:Natgridusaservco          Orig ID:1041663150 Desc Date:         CO                          4,828.40

           Entry Descr:Niagara Mosec:CTX        Trace#:028000085656072 Eed:210830

           Ind ID:81002222182022               Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2425656072Tc


08/30      Orig CO Name:Central Maine PO          Orig ID:3141798693 Desc Date:         CO                          3,322.74

           Entry Descr:Achpaymentsec:CTX         Trace#:211274455656184 Eed:210830

           Ind ID:931013600014193              Ind Name:0001Liberty Power Ho

           Zz9310Supa21083001 Trn: 2425656184Tc


08/30      Orig CO Name:American Express           Orig ID:1134992250 Desc Date:210827                              2,829.32

           CO Entry Descr:Settlementsec:CCD        Trace#:091000015656134 Eed:210830

           Ind ID:2582312351                Ind Name:        2582312351

           Payment Date     21240 Trn: 2425656134Tc


08/30      Orig CO Name:Amer Elec 8152            Orig ID:1314271000 Desc Date:Aug 27                               2,487.02

           CO Entry Descr:EDI Paymntsec:CTX         Trace#:031100205656124

           Eed:210830      Ind ID:Ap003972540             Ind Name:0008Liberty Power

           Ho Trn: 2425656124Tc


08/30      Orig CO Name:Bal Gas&Elec             Orig ID:1520280210 Desc Date:Aug 30                                2,016.02

           CO Entry Descr:EDI Paymntsec:CTX         Trace#:031100205656105

           Eed:210830      Ind ID:0000301160             Ind Name:0008Liberty Power

           MA Trn: 2425656105Tc


08/30      Orig CO Name:Amer Elec 8152            Orig ID:1314271000 Desc Date:Aug 27                               1,842.19

           CO Entry Descr:EDI Paymntsec:CTX         Trace#:031100205656115

           Eed:210830      Ind ID:Ap003972539             Ind Name:0008Liberty Power

           Ho Trn: 2425656115Tc


08/30      Orig CO Name:Rochester Gas &           Orig ID:9107592901 Desc Date:         CO                          1,643.84

           Entry Descr:Achpaymentsec:CTX         Trace#:021000025656180 Eed:210830

           Ind ID:930213600018872              Ind Name:0002Liberty Power Ho

           Zz9302Supa21083001 Trn: 2425656180Tc


08/30      Orig CO Name:Dlco Por               Orig ID:3007915606 Desc Date:       CO                                    985.27

           Entry Descr:EDI Paymtssec:CCD        Trace#:043000260551120 Eed:210830

           Ind ID:2021-08-27.00.0           Ind Name:Liberty Power Holdings Trn:

           2390551120Tc


08/30      Orig CO Name:Dollar Bank, Fsb         Orig ID:8250444380 Desc Date:        CO                                 839.80

           Entry Descr:Ap Paymentsec:CCD         Trace#:243074380551109 Eed:210830

           Ind ID:Db   -   3047          Ind Name:Liberty Power Holdings Trn:

           2390551109Tc


08/30      Orig CO Name:Dollar Bank, Fsb         Orig ID:8250444380 Desc Date:        CO                                 805.19

           Entry Descr:Ap Paymentsec:CCD         Trace#:243074380551110 Eed:210830

           Ind ID:Db   -   3047          Ind Name:Liberty Power Holdings Trn:

           2390551110Tc


08/30      Orig CO Name:Capturis               Orig ID:2431879364 Desc Date:210827 CO                                    378.40

           Entry Descr:Bill Pay   Sec:CTX    Trace#:042000015656220 Eed:210830        Ind

           ID:4363                  Ind Name:0006Liberty Power Ho Trn: 2425656220Tc


08/30      Orig CO Name:American Express           Orig ID:1134992250 Desc Date:210829                                   345.49

           CO Entry Descr:Settlementsec:CCD        Trace#:091000015656103 Eed:210830

           Ind ID:2582312351                Ind Name:        2582312351

           Payment Date     21242 Trn: 2425656103Tc


08/30      Orig CO Name:NY State Electri         Orig ID:1150398550 Desc Date:       CO                                   77.34

           Entry Descr:Achpaymentsec:CTX         Trace#:028000085656200 Eed:210830

           Ind ID:930113600028850              Ind Name:0002Liberty Power Ho

           Zz9301Supa21083001 Trn: 2425656200Tc




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Ledger     Description                                                                                                Amount
Date

08/30      Orig CO Name:Csi/Aims Compani           Orig ID:2465666824 Desc Date:                                           32.07

           CO Entry Descr:Elec Paymtsec:PPD         Trace#:322270280551129 Eed:210830

           Ind ID:Lpt003                 Ind Name:Liberty Power Ls Main Trn:

           2390551129Tc


08/30      Orig CO Name:Cass Info. Carr.         Orig ID:9000002001 Desc Date:210827                                       31.96

           CO Entry Descr:Conc Acctssec:CCD         Trace#:081000600551136

           Eed:210830      Ind ID:Liber60673B            Ind Name:Liberty Power Trn:

           2390551136Tc


08/30      Orig CO Name:Nutrien Ag Solut         Orig ID:2001322941 Desc Date:        CO                                    8.14

           Entry Descr:EDI Paymtssec:CTX        Trace#:043000265656204 Eed:210830

           Ind ID:6002133774               Ind Name:0010Liberty Power CO Trn:

           2425656204Tc


08/31      Orig CO Name:Csi/Aims Compani           Orig ID:2465666824 Desc Date:                                          893.44

           CO Entry Descr:Elec Paymtsec:PPD         Trace#:322270285694425 Eed:210830

           Ind ID:                   Ind Name:Liberty Power Holdings Trn:

           2425694425Tc


08/31      Fedwire Credit Via: Bank of America, N.A./026009593 B/O: Genpact US                                       1,359.86

           Danbury NY 06810 US Ref: Chase Nyc/Ctr/Bnf=Liberty Power Holdings LLC

           Fort Lauderdale FL 33309- 1823 US/Ac-000000004277 Rfb=1170054 401

           Obi=Invoice No 90368185072021 J Ob_I/D Date 20210720 Amount 414.48

           Inv/Oice No 66139979072021 Job_ID D Imad: 0831B6B7Hu3R002721 Trn:

           0046260243Ff

           YOUR REF:     1170054401


08/31      Lockbox No: 25901 For 128 Items At 16:00 5 Trn: 2100250243Lb                                            94,192.54


08/31      Orig CO Name:Comed                   Orig ID:P360938600 Desc Date:210827                              198,010.85

           CO Entry Descr:Ucbpor_Paysec:CCD          Trace#:111000025931007

           Eed:210831      Ind ID:784087293              Ind Name:

           Rmr*IV*Cp00692950911480002045 Trn: 2425931007Tc


08/31      Orig CO Name:Merchant Service           Orig ID:1841010148 Desc Date:210830                           180,806.60

           CO Entry Descr:Merch Dep Sec:CCD          Trace#:042000015707328

           Eed:210831      Ind ID:8030330933             Ind Name:Liberty Power

           Holdings                                                         Merchant

           Activity Trn: 2435707328Tc


08/31      Orig CO Name:Firstenergy Serv         Orig ID:1341968288 Desc Date:210831                               64,551.53

           CO Entry Descr:Payments       Sec:CCD    Trace#:021000025930994

           Eed:210831      Ind ID:000000251117980           Ind Name:Liberty Power

           Holdings Trn: 2425930994Tc


08/31      Orig CO Name:Firstenergy Serv         Orig ID:1341968288 Desc Date:210831                               47,136.64

           CO Entry Descr:Payments       Sec:CCD    Trace#:021000025930992

           Eed:210831      Ind ID:000000251117978           Ind Name:Liberty Power

           Holdings Trn: 2425930992Tc


08/31      Orig CO Name:Ameren                  Orig ID:3006936017 Desc Date:       CO                             37,483.97

           Entry Descr:Acctspay    Sec:CCD      Trace#:042000015930986 Eed:210831

           Ind ID:                   Ind Name:Liberty Power Holdings Trn:

           2425930986Tc


08/31      Orig CO Name:Nstar Electric -        Orig ID:1041278810 Desc Date:        CO                            34,980.95

           Entry Descr:Corp Pymntsec:CTX        Trace#:051000015707333 Eed:210831

           Ind ID:6581021                 Ind Name:0006Liberty Power Ho Trn:

           2435707333Tc


08/31      Orig CO Name:ACH Processing             Orig ID:2731733336 Desc Date:        CO                         31,333.23

           Entry Descr:8887465741Sec:CCD          Trace#:104000015707357 Eed:210831

           Ind ID:17445980                Ind Name:Jazx ACH Processing

           8887465741 Trn: 2435707357Tc


08/31      Orig CO Name:Peco Energy Comp            Orig ID:1230970240 Desc                                        30,504.49

           Date:210827 CO Entry Descr:Pecochoicesec:CCD

           Trace#:111000015931004 Eed:210831         Ind ID:784087293                Ind

           Name:                    Rmr*IV*Liberty80042643 Trn: 2425931004Tc




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                                                                              Account Number:                      2233




Deposits and Credits         (continued)

Ledger     Description                                                                                                 Amount
Date

08/31      Orig CO Name:Natgridusaservco           Orig ID:1041663150 Desc Date:         CO                         28,434.94

           Entry Descr:Narragansesec:CTX         Trace#:028000085707234 Eed:210831

           Ind ID:81002236122022                Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2435707234Tc




                                                                                                                                10268033332000000065
08/31      Orig CO Name:Pseg                   Orig ID:1221212800 Desc Date:190921 CO                               26,174.52

           Entry Descr:Pseg        Sec:CCD     Trace#:021000025930998 Eed:210831         Ind

           ID:006500052307                 Ind Name:Liberty P190921210831S

           Direct Deposit Trn: 2425930998Tc


08/31      Orig CO Name:Moneygram P Sys              Orig ID:3841327808 Desc                                        25,628.58

           Date:083021 CO Entry Descr:Mg Settle Sec:PPD         Trace#:043000265931010

           Eed:210831     Ind ID:101070032                Ind Name:Liberty Power

           Holdings      101070032,120780916,120796116,12078 9622 Trn:

           2425931010Tc


08/31      Orig CO Name:Exelon                  Orig ID:8188490880 Desc Date:       CO                              24,653.30

           Entry Descr:Corp Pymntsec:CTX         Trace#:111000025707312 Eed:210831

           Ind ID:0000220696                  Ind Name:0010Liberty Power CO Trn:

           2435707312Tc


08/31      Orig CO Name:Bal Gas&Elec              Orig ID:1520280210 Desc Date:Aug 31                               22,488.00

           CO Entry Descr:EDI Paymntsec:CTX          Trace#:031100205707270

           Eed:210831     Ind ID:0000301403                Ind Name:0008Liberty Power

           MA Trn: 2435707270Tc


08/31      Orig CO Name:Natgridusaservco           Orig ID:1041663150 Desc Date:         CO                         22,243.47

           Entry Descr:Narragansesec:CTX         Trace#:028000085707227 Eed:210831

           Ind ID:81002236112022                Ind Name:0006Liberty Power Ho

           Direct Deposit Trn: 2435707227Tc


08/31      Orig CO Name:Ppl Electric Uti         Orig ID:Fp20001802 Desc Date:       CO                             21,536.55

           Entry Descr:Edipaymts Sec:CTX         Trace#:031000035707214 Eed:210831

           Ind ID:000000363                  Ind Name:0011Liberty Power Ho Trn:

           2435707214Tc


08/31      Orig CO Name:Exelon                  Orig ID:8188490866 Desc Date:       CO                              21,274.71

           Entry Descr:Corp Pymntsec:CTX         Trace#:111000025707301 Eed:210831

           Ind ID:0000213233                  Ind Name:0009Liberty Power Ho Trn:

           2435707301Tc


08/31      Orig CO Name:Fidelity Express          Orig ID:2751413801 Desc Date:Aug 21                               19,651.74

           CO Entry Descr:Bill Pay     Sec:CCD     Trace#:096016935930990 Eed:210831

           Ind ID:9003242                   Ind Name:Liberty Power Trn: 2425930990Tc


08/31      Orig CO Name:Bal Gas&Elec              Orig ID:1520280210 Desc Date:Aug 31                               18,609.49

           CO Entry Descr:EDI Paymntsec:CTX          Trace#:031100205707261

           Eed:210831     Ind ID:0000301402                Ind Name:0008Liberty Power

           MA Trn: 2435707261Tc


08/31      Orig CO Name:Ameren                   Orig ID:3006936017 Desc Date:       CO                             18,266.49

           Entry Descr:Acctspay      Sec:CCD     Trace#:042000015930985 Eed:210831

           Ind ID:                     Ind Name:Liberty Power Holdings Trn:

           2425930985Tc


08/31      Orig CO Name:Exelon                  Orig ID:8188490861 Desc Date:       CO                              13,741.96

           Entry Descr:Corp Pymntsec:CTX         Trace#:111000025707280 Eed:210831

           Ind ID:0000215378                  Ind Name:0009Liberty Power Ho Trn:

           2435707280Tc


08/31      Orig CO Name:Ipay Solutions           Orig ID:9Zzzzzzzzz Desc Date:083021                                13,433.80

           CO Entry Descr:Bill Pmt     Sec:CCD     Trace#:242071755931002 Eed:210831

           Ind ID:Bill Pmt                 Ind Name:Liberty Power

           866-454-6277 Trn: 2425931002Tc


08/31      Orig CO Name:ACH Processing              Orig ID:2731733336 Desc Date:        CO                         12,825.83

           Entry Descr:8887465741Sec:CCD           Trace#:104000015707356 Eed:210831

           Ind ID:17445933                   Ind Name:Jazx ACH Processing

           8887465741 Trn: 2435707356Tc




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                                                                            Account Number:                      2233




Deposits and Credits      (continued)

Ledger     Description                                                                                               Amount
Date

08/31      Orig CO Name:Engie Insight           Orig ID:1911701028 Desc Date:       CO                            10,762.41

           Entry Descr:820EFT0001Sec:CCD          Trace#:111000015707330 Eed:210831

           Ind ID:Ef1083019211101              Ind Name:Liberty Power Holdings

           Rmr*IV*41970122949                   **574.55**\Dtm*003*20210831**\ Trn:

           2435707330Tc


08/31      Orig CO Name:Firstenergy Serv         Orig ID:1341968288 Desc Date:210831                                9,239.04

           CO Entry Descr:Payments      Sec:CCD     Trace#:021000025930993

           Eed:210831     Ind ID:000000251117979            Ind Name:Liberty Power

           Holdings Trn: 2425930993Tc


08/31      Orig CO Name:Firstenergy Serv         Orig ID:1341968288 Desc Date:210831                                8,732.98

           CO Entry Descr:Payments      Sec:CCD     Trace#:021000025930995

           Eed:210831     Ind ID:000000251117981            Ind Name:Liberty Power

           Holdings Trn: 2425930995Tc


08/31      Orig CO Name:Firstenergy Serv         Orig ID:1341968288 Desc Date:210831                                8,253.12

           CO Entry Descr:Payments      Sec:CCD     Trace#:021000025930996

           Eed:210831     Ind ID:000000251117982            Ind Name:Liberty Power Trn:

           2425930996Tc


08/31      Orig CO Name:Exelon                 Orig ID:8188490861 Desc Date:       CO                               7,223.14

           Entry Descr:Corp Pymntsec:CTX        Trace#:111000025707290 Eed:210831

           Ind ID:0000215382                Ind Name:0009Liberty Power MA Trn:

           2435707290Tc


08/31      Orig CO Name:Central Maine PO           Orig ID:3141798693 Desc Date:        CO                          6,935.20

           Entry Descr:Achpaymentsec:CTX         Trace#:211274455707349 Eed:210831

           Ind ID:931013600014306              Ind Name:0001Liberty Power Ho

           Zz9310Supa21083101 Trn: 2435707349Tc


08/31      Orig CO Name:Cass Info. Carr.         Orig ID:9000002001 Desc Date:210830                                6,403.32

           CO Entry Descr:Conc Acctssec:CCD         Trace#:081000605930988

           Eed:210831     Ind ID:Liber60673B             Ind Name:Liberty Power Trn:

           2425930988Tc


08/31      Orig CO Name:Ameren                 Orig ID:3006936017 Desc Date:       CO                               5,111.31

           Entry Descr:Acctspay    Sec:CCD      Trace#:042000015930984 Eed:210831

           Ind ID:                   Ind Name:Liberty Power Holdings Trn:

           2425930984Tc


08/31      Orig CO Name:Amer Elec 8152            Orig ID:1314271000 Desc Date:Aug 30                               2,707.58

           CO Entry Descr:EDI Paymntsec:CTX         Trace#:031100205707242

           Eed:210831     Ind ID:Ap003973309              Ind Name:0008Liberty Power

           Ho Trn: 2435707242Tc


08/31      Orig CO Name:Western Oilf0699          Orig ID:1951362750 Desc Date:         CO                          2,292.33

           Entry Descr:Trade Pay Sec:CCD        Trace#:051000014267762 Eed:210831

           Ind ID:16448                 Ind Name:Liberty Power Holdings Trn:

           2434267762Tc


08/31      Orig CO Name:Amer Elec 8152            Orig ID:1314271000 Desc Date:Aug 30                               1,549.42

           CO Entry Descr:EDI Paymntsec:CTX         Trace#:031100205707251

           Eed:210831     Ind ID:Ap003973310              Ind Name:0008Liberty Power

           Ho Trn: 2435707251Tc


08/31      Orig CO Name:Capturis               Orig ID:2431879364 Desc Date:210830 CO                               1,259.81

           Entry Descr:Bill Pay   Sec:CTX    Trace#:042000015707341 Eed:210831          Ind

           ID:4363                  Ind Name:0006Liberty Power Ho Trn: 2435707341Tc


08/31      Orig CO Name:Rochester Gas &            Orig ID:9107592901 Desc Date:        CO                               643.50

           Entry Descr:Achpaymentsec:CTX         Trace#:021000025707324 Eed:210831

           Ind ID:930213600019041              Ind Name:0002Liberty Power Ho

           Zz9302Supa21083101 Trn: 2435707324Tc


08/31      Orig CO Name:American Express           Orig ID:1134992250 Desc Date:210830                                   477.90

           CO Entry Descr:Settlementsec:CCD        Trace#:091000015931000 Eed:210831

           Ind ID:2582312351                Ind Name:        2582312351

           Payment Date    21243 Trn: 2425931000Tc




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                                                                         Account Number:                       2233




Deposits and Credits      (continued)

Ledger     Description                                                                                             Amount
Date

08/31      Orig CO Name:NY State Electri       Orig ID:1150398550 Desc Date:       CO                                  279.70

           Entry Descr:Achpaymentsec:CTX       Trace#:028000085707352 Eed:210831

           Ind ID:930113600029085             Ind Name:0002Liberty Power Ho

           Zz9301Supa21083101 Trn: 2435707352Tc




                                                                                                                                10268033333000000065
08/31      Orig CO Name:Ryder Truck Rent         Orig ID:6590747035 Desc Date:       CO                                 10.81

           Entry Descr:49171     Sec:CTX     Trace#:111000028000835 Eed:210831       Ind

           ID:0002552560                Ind Name:0013Liberty Power Ho Trn:

           2438000835Tc


Total                                                                                                   $27,582,675.22

Withdrawals and Debits

Ledger     Description                                                                                             Amount
Date

08/02      Deposited Item Returned       Stop Payment    099004633                                                 $141.00

           Sub:0000025901# of Items00001

           Dep Date010101Ck Amt0000014100


08/02      Cash Concentration Transfer Debit To Account               9780 Trn:                               598,226.30

           0012610400Xf


08/03      Cash Concentration Transfer Debit To Account               9780 Trn:                             1,091,008.63

           0011490400Xf


08/04      Deposited Item Returned       Refer To Maker 099008406                                                      142.12

           Sub:0000025901# of Items00001Ck#:0000285400

           Dep Amt0015393025       Dep Date080221Ck Amt0000014212


08/04      Cash Concentration Transfer Debit To Account               9780 Trn:                               696,041.66

           0011690400Xf


08/05      Deposited Item Returned       Stop Payment    099005656                                                     736.13

           Sub:0000025901# of Items00001Ck#:0000947512

           Dep Amt0006831411       Dep Date080321Ck Amt0000073613


08/05      Cash Concentration Transfer Debit To Account               9780 Trn:                             1,245,619.53

           0011690400Xf


08/06      Cash Concentration Transfer Debit To Account               9780 Trn:                               894,608.55

           0011290400Xf


08/09      Cash Concentration Transfer Debit To Account               9780 Trn:                               869,748.03

           0011690400Xf


08/10      Cash Concentration Transfer Debit To Account               9780 Trn:                             1,208,496.31

           0011350400Xf


08/11      Cash Concentration Transfer Debit To Account               9780 Trn:                             1,009,811.22

           0011130400Xf


08/12      Cash Concentration Transfer Debit To Account               9780 Trn:                               770,304.80

           0011590400Xf


08/13      Deposited Item Returned       NSF 2ND        099000458                                                      139.78

           Sub:0000025901# of Items00001Ck#:0000001903

           Dep Amt0020466828       Dep Date080921Ck Amt0000013978


08/13      Deposited Item Returned       NSF 2ND        099014749                                                       60.00

           Sub:0000025901# of Items00001Ck#:0000001159

           Dep Amt0008358197       Dep Date081121Ck Amt0000006000


08/13      Cash Concentration Transfer Debit To Account               9780 Trn:                               866,324.74

           0011710400Xf


08/16      Cash Concentration Transfer Debit To Account               9780 Trn:                             1,020,800.21

           0012590400Xf


08/17      Cash Concentration Transfer Debit To Account               9780 Trn:                             2,005,421.82

           0011110400Xf


08/18      Cash Concentration Transfer Debit To Account               9780 Trn:                               850,276.23

           0011130400Xf




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                                                                             July 31, 2021 through August 31, 2021
                                                                           Account Number:                     2233




Withdrawals and Debits       (continued)

Ledger     Description                                                                                             Amount
Date

08/19      Deposited Item Returned      Stop Payment    099003678                                                 2,635.82

           Sub:0000025901# of Items00001Ck#:0000002244

           Dep Amt0022847791       Dep Date081621Ck Amt0000263582


08/19      Cash Concentration Transfer Debit To Account                9780 Trn:                            2,073,733.43

           0013390400Xf


08/20      Deposited Item Returned      Stop Payment    099005004                                                      137.66

           Sub:0000025901# of Items00001Ck#:6846803603

           Dep Amt0014652900       Dep Date081821Ck Amt0000013766


08/20      Cash Concentration Transfer Debit To Account                9780 Trn:                              877,078.13

           0011990400Xf


08/23      Cash Concentration Transfer Debit To Account                9780 Trn:                            1,413,672.20

           0011990400Xf


08/24      Deposited Item Returned      Stop Payment    099003964                                                      865.02

           Sub:0000025901# of Items00001Ck#:0000951163

           Dep Amt0007332739       Dep Date082021Ck Amt0000086502


08/24      Deposited Item Returned      Stop Payment    099013962                                                      414.37

           Sub:0000025901# of Items00001Ck#:0000002420

           Dep Amt0007332739       Dep Date082021Ck Amt0000041437


08/24      Deposited Item Returned      NSF 2ND        099014357                                                       231.70

           Sub:0000025901# of Items00001Ck#:0000005084

           Dep Amt0007332739       Dep Date082021Ck Amt0000023170


08/24      Cash Concentration Transfer Debit To Account                9780 Trn:                            1,477,438.95

           0011530400Xf


08/25      Cash Concentration Transfer Debit To Account                9780 Trn:                              994,661.69

           0011770400Xf


08/26      Cash Concentration Transfer Debit To Account                9780 Trn:                            3,691,256.10

           0011810400Xf


08/27      Cash Concentration Transfer Debit To Account                9780 Trn:                            1,523,302.46

           0011970400Xf


08/30      Deposited Item Returned      NSF 2ND        099000117                                                       236.42

           Sub:0000025901# of Items00001Ck#:0000000225

           Dep Amt0012372007       Dep Date082421Ck Amt0000023642


08/30      Cash Concentration Transfer Debit To Account                9780 Trn:                            1,317,005.16

           0012210400Xf


08/31      Cash Concentration Transfer Debit To Account                9780 Trn:                            1,082,099.05

           0011630400Xf


Total                                                                                                    $27,582,675.22


Daily Balance


                                             Ledger                                                                    Ledger
Date                                        Balance        Date                                                    Balance

08/02                                          $0.00       08/17                                                        $0.00

08/03                                          $0.00       08/18                                                        $0.00

08/04                                          $0.00       08/19                                                        $0.00

08/05                                          $0.00       08/20                                                        $0.00

08/06                                          $0.00       08/23                                                        $0.00

08/09                                          $0.00       08/24                                                        $0.00

08/10                                          $0.00       08/25                                                        $0.00

08/11                                          $0.00       08/26                                                        $0.00

08/12                                          $0.00       08/27                                                        $0.00

08/13                                          $0.00       08/30                                                        $0.00

08/16                                          $0.00       08/31                                                        $0.00




          Your service charges, fees and earnings credit have been calculated through account analysis.



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                                                                                             July 31, 2021 through August 31, 2021
      JPMorgan Chase Bank, N.A.
                                                                                       Account Number:                          2548
      P O Box 182051
      Columbus, OH 43218 - 2051
                                                                                         Customer Service Information

                                                                                    If you have any questions about your
                                                                                    statement, please contact your
                                                                                    Customer Service Professional.
     00004316 WBS 201 211 24421 NNNNNNNNNNN    1 000000000 C2 0000


     LPT LLC DBA LPT SP LLC
     CUSTOMER DEPOSITS TX ACCOUNTS
     2100 W CYPRESS CREEK RD STE 130
     FORT LAUDERDALE FL 33309




                                                                                                                                                00043160101000000021
Commercial Checking

Summary
                                                                     Number                      Market Value/Amount                   Shares


Opening Ledger Balance                                                                               $278,904.19


Deposits and Credits                                                     0                                   $0.00


Withdrawals and Debits                                                   0                                   $0.00


Checks Paid                                                              0                                   $0.00


Ending Ledger Balance                                                                                $278,904.19




                Your service charges, fees and earnings credit have been calculated through account analysis.




* Annual Percentage Yield Earned - the percentage rate earned if balances remain on deposit for a full year with compounding, no

change in the interest rate and all interest rate and all interest is left in the account.



Please examine this statement of account at once. By continuing to use the account, you agree that: (1) the account is subject to

the Bank's deposit account agreement, and (2) the Bank has no responsibility for any error in or improper charge to the account

(including any unauthorized or altered check) unless you notify us in writing of this error or charge within sixty days of the mailing or

availability of the first statement on which the error or charge appears.
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                                                                                             July 31, 2021 through August 31, 2021
        JPMorgan Chase Bank, N.A.
                                                                                           Account Number:                      3760
        P O Box 182051
        Columbus, OH 43218 - 2051
                                                                                             Customer Service Information

                                                                                        If you have any questions about your
                                                                                        statement, please contact your
                                                                                        Customer Service Professional.
       00013369 WBS 201 211 24421 NNNNNNNNNNN   1 000000000 C1 0000


       LIBERTY POWER HOLDINGS LLC
       LC COLLATERAL
       2100 W CYPRESS CREEK RD STE 130
       FORT LAUDERDALE FL 33309




                                                                                                                                                 00133690101000000021
Premium Commercial Money Market

Summary
                                                                      Number                     Market Value/Amount                    Shares


Opening Ledger Balance                                                                             $4,375,544.57


Deposits and Credits                                                      1                                 $36.62


Withdrawals and Debits                                                    0                                  $0.00


Checks Paid                                                               0                                  $0.00


Ending Ledger Balance                                                                              $4,375,581.19


Average Ledger Balance                          $4,375,545


Interest Credited This Period                        $36.62                    Interest Credited Year-to-Date                        $429.04


Rate(s):                     08/01 to 08/31 at 0.01%


Deposits and Credits

Ledger              Description                                                                                                      Amount
Date
08/31              Interest Payment                                                                                                    $36.62

Total                                                                                                                                $36.62



Daily Balance


                                                         Ledger                                                                       Ledger
Date                                                    Balance            Date                                                      Balance
08/31                                           $4,375,581.19




* Annual Percentage Yield Earned - the percentage rate earned if balances remain on deposit for a full year with compounding, no

change in the interest rate and all interest rate and all interest is left in the account.



Please examine this statement of account at once. By continuing to use the account, you agree that: (1) the account is subject to

the Bank's deposit account agreement, and (2) the Bank has no responsibility for any error in or improper charge to the account

(including any unauthorized or altered check) unless you notify us in writing of this error or charge within sixty days of the mailing or

availability of the first statement on which the error or charge appears.
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                                                                                             July 31, 2021 through August 31, 2021
       JPMorgan Chase Bank, N.A.
                                                                                        Account Number:                        9199
       P O Box 182051
       Columbus, OH 43218 - 2051
                                                                                         Customer Service Information

                                                                                     If you have any questions about your
                                                                                     statement, please contact your
                                                                                     Customer Service Professional.
       00025434 WBS 201 211 24421 NNNNNNNNNNN   1 000000000 80 0000


       LIBERTY POWER HOLDINGS LLC
       OPERATING ACCOUNT
       2100 W CYPRESS CREEK RD STE 130
       FORT LAUDERDALE FL 33309




                                                                                                                                                 00254340701000000027
Commercial Checking

Summary
                                                                      Number                     Market Value/Amount                    Shares


Opening Ledger Balance                                                                               $436,774.57


Deposits and Credits                                                      8                        $7,178,265.48


Withdrawals and Debits                                                 140                         $7,008,351.47


Checks Paid                                                              58                          $184,584.49


Ending Ledger Balance                                                                                $422,104.09


Deposits and Credits

Ledger             Description                                                                                                        Amount

Date


08/04              Book Transfer Credit B/O: Liberty Power Holdings LLC Fort Lauderdale FL                                      $101,185.54
                   33309-1823 US Ref: Funding Request Trn: 4445200216Jo
                   YOUR REF: ATS OF 21/08/04

08/06              Book Transfer Credit B/O: Liberty Power Holdings LLC Fort Lauderdale FL                                       933,322.22
                   33309-1823 US Ref: Funding Request Trn: 2380800218Jo
                   YOUR REF: ATS OF 21/08/06

08/11              Book Transfer Credit B/O: Liberty Power Holdings LLC Fort Lauderdale FL                                       436,345.74
                   33309-1823 US Ref: Funding Request Trn: 4392300223Jo
                   YOUR REF: ATS OF 21/08/11

08/13              Book Transfer Credit B/O: Liberty Power Holdings LLC Fort Lauderdale FL                                     1,223,345.92
                   33309-1823 US Ref: Funding Request Trn: 2799200225Jo
                   YOUR REF: ATS OF 21/08/13

08/18              Book Transfer Credit B/O: Liberty Power Holdings LLC Fort Lauderdale FL                                       778,863.75
                   33309-1823 US Ref: Funding Request Trn: 2586800230Jo
                   YOUR REF: ATS OF 21/08/18

08/20              Book Transfer Credit B/O: Liberty Power Holdings LLC Fort Lauderdale FL                                     1,960,183.54
                   33309-1823 US Ref: Funding Request Trn: 2077700232Jo
                   YOUR REF: ATS OF 21/08/20




* Annual Percentage Yield Earned - the percentage rate earned if balances remain on deposit for a full year with compounding, no

change in the interest rate and all interest rate and all interest is left in the account.



Please examine this statement of account at once. By continuing to use the account, you agree that: (1) the account is subject to

the Bank's deposit account agreement, and (2) the Bank has no responsibility for any error in or improper charge to the account

(including any unauthorized or altered check) unless you notify us in writing of this error or charge within sixty days of the mailing or

availability of the first statement on which the error or charge appears.
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                                                                          Account Number:                      9199




Deposits and Credits     (continued)


Ledger     Description                                                                                                Amount

Date


08/25      Book Transfer Credit B/O: Liberty Power Holdings LLC Fort Lauderdale FL                            590,127.48
           33309-1823 US Ref: Funding Request Trn: 2292100237Jo
           YOUR REF: ATS OF 21/08/25

08/27      Book Transfer Credit B/O: Liberty Power Holdings LLC Fort Lauderdale FL                         1,154,891.29
           33309-1823 US Ref: Funding Request Trn: 3446900239Jo
           YOUR REF: ATS OF 21/08/27

Total                                                                                                     $7,178,265.48



Withdrawals and Debits

Ledger     Description                                                                                                Amount

Date

08/02      Orig CO Name:Merchant Service       Orig ID:1841010148 Desc Date:210731                            $40,247.16
           CO Entry Descr:Merch Fee Sec:CCD      Trace#:042000015886307
           Eed:210802    Ind ID:8030330933            Ind Name:Liberty Power
           Holdings                                                       Merchant
           Activity Trn: 2145886307Tc

08/03      Orig CO Name:Icheckgatewaycom        Orig ID:2731733336 Desc Date:                                     3,950.04
           CO Entry Descr:8887465741Sec:CCD       Trace#:091408590574029
           Eed:210803    Ind ID:B22B42E56501            Ind Name:Liberty Power
           8887465741 Trn: 2150574029Tc

08/03      Orig CO Name:Icheckgatewaycom        Orig ID:2731733336 Desc Date:                                     3,352.26
           CO Entry Descr:8887465741Sec:CCD       Trace#:091408590574030
           Eed:210803    Ind ID:67Abd0A8Da41            Ind Name:Liberty Power
           Holdings                                                       8887465741
           Trn: 2150574030Tc

08/03      Letter of Credit (Debit) Stal Funds Adjust Nuscgn098478 Cref Ctcs-270910                                   125.00
           Trn: 9901467528Lc
           YOUR REF: CTCS-270910

08/04      Fedwire Debit Via: Pncbank Phil/031000053 A/C: Customized Energy                                           414.00
           Solutions US Imad: 0804B1Qgc08C025173 Trn: 5244200216Jo
           YOUR REF: WHOLESALE

08/04      Book Transfer Debit A/C: Flexential Corp. Charlotte NC 28273-5735 US Trn:                            12,074.89
           5244400216Jo
           YOUR REF: COLO RENT

08/04      Fedwire Debit Via: Bk Amer Nyc/026009593 A/C: Nstar Electric US                                        2,662.65
           Ref:/Bnf/Acct. 40002234538 Imad: 0804B1Qgc01C006237 Trn:
           5244300216Jo
           YOUR REF: UTILITY

08/04      Fedwire Debit Via: Bankunited NA FL/267090594 A/C: Compuquip                                           2,450.00
           Technologies US Imad: 0804B1Qgc06C010704 Trn: 5244100216Jo
           YOUR REF: IT SERVICES

08/04      Fedwire Debit Via: Consumers Coop CU/271984311 A/C: Frank T. Locascio                                      577.12
           US Imad: 0804B1Qgc07C014067 Trn: 5244600216Jo
           YOUR REF: EXPENSES

08/04      Orig CO Name:Liberty Power Ho       Orig ID:9699199003 Desc Date:Prfund                              28,013.65
           CO Entry Descr:Corp Pay Sec:CCD      Trace#:021000027160463 Eed:210804
           Ind ID:9699199003             Ind Name:EFT File Name: Rp2161Z
           EFT/ACH Created Offset For Origin#: 9090209001    CO Eff   Date: 21/08/04
           210804 Rp2161Zo Trn: 2167160463Tc

08/04      Letter of Credit (Debit) Stal Funds Adjust Nuscgn098497 Cref Ctcs-334732                                   125.00
           Trn: 9901468866Lc
           YOUR REF: CTCS-334732




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Withdrawals and Debits      (continued)

Ledger     Description                                                                                               Amount

Date

08/05      Orig CO Name:Merchant Service       Orig ID:1841010148 Desc Date:210803                                    26.95
           CO Entry Descr:Merch Chbksec:CCD      Trace#:042000017185416
           Eed:210805    Ind ID:8030330933            Ind Name:Liberty Power
           Holdings                                                       Merchant
           Activity Trn: 2177185416Tc




                                                                                                                              10254340702000000067
08/06      Fedwire Debit Via: Bmo Harris Bank NA/071000288 A/C: Startek, Inc. US                                 8,533.00
           Ref:/Time/13:34 Imad: 0806B1Qgc01C006437 Trn: 4164300218Jo
           YOUR REF: QA SERVICES

08/06      Fedwire Debit Via: Citibank Nyc/021000089 A/C: Teleperformance Columbia                               1,283.00
           US Ref:/Time/13:34 Imad: 0806B1Qgc01C006436 Trn: 4165300218Jo
           YOUR REF: COMMISSIONS

08/06      Book Transfer Debit A/C: Simply Competitive Energy LLC Dba Sulphur                                    1,211.74
           Springs TX 75482-0217 US Trn: 4165000218Jo
           YOUR REF: COMMISSIONS

08/06      Fedwire Debit Via: Fnb of PA/043318092 A/C: Unified Energy Alliance LLC US                                899.52
           Ref: Aff Imad: 0806B1Qgc01C006435 Trn: 4164400218Jo
           YOUR REF: COMMISSIONS

08/06      Fedwire Debit Via: Bk Amer Nyc/026009593 A/C: New Wave Power LLC US                                   3,750.00
           Imad: 0806B1Qgc01C006439 Trn: 4164900218Jo
           YOUR REF: COMMISSIONS

08/06      Book Transfer Debit A/C: Bank of Montreal Montreal H2Y1L6 Canada CA Trn:                            12,390.00
           4165100218Jo
           YOUR REF: COMMISSIONS

08/06      Book Transfer Debit A/C: North American Venture Capital LLC Allen TX                                  8,240.00
           75002-8387 US Trn: 4164800218Jo
           YOUR REF: COMMISSIONS

08/06      Fedwire Debit Via: Wells Fargo NA/121000248 A/C: Mark Whyle US                                        4,780.00
           Ref:/Time/13:34 Imad: 0806B1Qgc05C007771 Trn: 4164200218Jo
           YOUR REF: COMMISSIONS

08/06      Book Transfer Debit A/C: Synegence, LLC Tampa FL 33629-6515 US Trn:                                   3,655.00
           4165200218Jo
           YOUR REF: COMMISSIONS

08/06      Book Transfer Debit A/C: International Marketing Concepts Downers Grove IL                            3,393.00
           60515-1526 US Trn: 4164700218Jo
           YOUR REF: COMMISSIONS

08/06      Fedwire Debit Via: Evolve B & T/084106768 A/C: Baby Shark Networks US                                 1,700.00
           Imad: 0806B1Qgc06C009891 Trn: 4164600218Jo
           YOUR REF: COMMISSIONS

08/06      Fedwire Debit Via: Suncoast FL/263182817 A/C: Savon Energy, LLC US                                        163.69
           Imad: 0806B1Qgc02C005758 Trn: 4164500218Jo
           YOUR REF: COMMISSIONS

08/06      Fedwire Debit Via: City Nb of Fla/066004367 A/C: Genovese Joblove &                               365,000.00
           Battista, P.A. US Imad: 0806B1Qgc04C015030 Trn: 4169000218Jo
           YOUR REF: PROFESS FEE ESCR

08/06      Orig CO Name:Liberty Power Ho       Orig ID:9699199003 Desc Date:Prfund                           493,713.50
           CO Entry Descr:Corp Pay Sec:CCD      Trace#:021000027424030 Eed:210806
           Ind ID:9699199003              Ind Name:EFT File Name: Rp21815
           EFT/ACH Created Offset For Origin#: 9090209001    CO Eff   Date: 21/08/06
           210806 Rp21815S Trn: 2187424030Tc

08/09      Orig CO Name:Merchant Service       Orig ID:1841010148 Desc Date:210805                                   337.24
           CO Entry Descr:Merch Chbksec:CCD      Trace#:042000014764815
           Eed:210809    Ind ID:8030330933            Ind Name:Liberty Power
           Holdings                                                       Merchant
           Activity Trn: 2214764815Tc

08/10      Fedwire Debit Via: Bk Amer Nyc/026009593 A/C: Assured Partners of                                   23,192.21
           Florida/Cypreus Imad: 0810B1Qgc07C012686 Trn: 4909900222Jo
           YOUR REF: INSURANCE




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Ledger     Description                                                                                                Amount

Date

08/11      Book Transfer Debit A/C: ADP Client Trust Wilmington DE 19801- US Ref:                             341,263.79
           ADP Wage Pay Trn: 3121900223Jo
           YOUR REF: 6000175839

08/11      Fedwire Debit Via: Wells Fargo NA/121000248 A/C: Ice US OTC Commodity                                  2,130.00
           Mkts LLC US Ref:/Bnf/Acct. # 8623199463/Time/14:23 Imad:
           0811B1Qgc07C016084 Trn: 4555400223Jo
           YOUR REF: WHOLESALE

08/11      Fedwire Debit Via: Wells Fargo NA/121000248 A/C: Genesys Cloud Services                              22,632.83
           Inc. US Ref:/Time/14:23 Imad: 0811B1Qgc07C016086 Trn: 4555300223Jo
           YOUR REF: PURECLOUD SERVIC

08/11      Book Transfer Debit A/C: Royal Bank of Canada Payment Centertoronto On                                 7,457.38
           Canada M5V2Y-1 CA Trn: 4555500223Jo
           YOUR REF: SOFTWARE

08/11      Fedwire Debit Via: Pncbank Phil/031000053 A/C: Customized Energy                                       7,399.39
           Solutions US Imad: 0811B1Qgc05C006676 Trn: 4556300223Jo
           YOUR REF: WHOLESALE

08/11      Fedwire Debit Via: TD Bank, NA/026013673 A/C: Tfs Energy Futures, LLC US                                   500.00
           Imad: 0811B1Qgc08C020530 Trn: 4556400223Jo
           YOUR REF: REC SERVICES

08/11      Fedwire Debit Via: Wells Fargo NA/121000248 A/C: Aba/122105278 Phoenix                               14,362.88
           AZ US Ben: Calibrus Call Center Services, LLC US Ref:/Time/14:26 Imad:
           0811B1Qgc06C010025 Trn: 4556200223Jo
           YOUR REF: NONREF

08/11      Orig CO Name:Liberty Power Ho         Orig ID:9699199003 Desc Date:Prfund                              8,827.50
           CO Entry Descr:Corp Pay Sec:CCD        Trace#:021000029294396 Eed:210811
           Ind ID:9699199003                Ind Name:EFT File Name: Rp2231P
           EFT/ACH Created Offset For Origin#: 9090209001     CO Eff   Date: 21/08/11
           210811 Rp2231Pl Trn: 2239294396Tc

08/12      Orig CO Name:ACH Processing           Orig ID:2731733336 Desc Date:       CO                               290.71
           Entry Descr:8887465741Sec:CCD        Trace#:104000018112077 Eed:210812
           Ind ID:17332851                 Ind Name:ACH Processing
           8887465741 Trn: 2248112077Tc

08/13      Book Transfer Debit A/C: Bank of Montreal Montreal H2Y1L6 Canada CA Trn:                             12,180.00
           4800900225Jo
           YOUR REF: COMMISSIONS

08/13      Book Transfer Debit A/C: Synegence, LLC Tampa FL 33629-6515 US Trn:                                    5,865.00
           4801900225Jo
           YOUR REF: COMMISSIONS

08/13      Fedwire Debit Via: Bk Amer Nyc/026009593 A/C: New Wave Power LLC US                                    5,550.00
           Imad: 0813B1Qgc07C015237 Trn: 4800800225Jo
           YOUR REF: COMMISSIONS

08/13      Fedwire Debit Via: Pnc Bank, Ohio/041000124 A/C: Baby Shark Networks US                                4,420.00
           Imad: 0813B1Qgc06C012880 Trn: 4801600225Jo
           YOUR REF: COMMISSIONS

08/13      Fedwire Debit Via: Wells Fargo NA/121000248 A/C: Mark Whyle US                                         4,390.00
           Ref:/Time/14:28 Imad: 0813B1Qgc07C015236 Trn: 4801400225Jo
           YOUR REF: COMMISSIONS

08/13      Book Transfer Debit A/C: North American Venture Capital LLC Allen TX                                   2,860.00
           75002-8387 US Trn: 4800700225Jo
           YOUR REF: COMMISSIONS

08/13      Fedwire Debit Via: Citibank Nyc/021000089 A/C: Teleperformance Columbia                                2,065.00
           US Ref:/Time/14:28 Imad: 0813B1Qgc06C012879 Trn: 4801000225Jo
           YOUR REF: COMMISSIONS

08/13      Book Transfer Debit A/C: International Marketing Concepts Downers Grove IL                             1,989.00
           60515-1526 US Trn: 4800600225Jo
           YOUR REF: COMMISSIONS




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Withdrawals and Debits        (continued)

Ledger     Description                                                                                                Amount

Date

08/13      Fedwire Debit Via: Bbva USA/062001186 A/C: Go Energy Solutions LLC US                                      577.07
           Imad: 0813B1Qgc07C015230 Trn: 4800500225Jo
           YOUR REF: COMMISSIONS

08/13      Fedwire Debit Via: Suncoast FL/263182817 A/C: Savon Energy, LLC US                                         281.72
           Imad: 0813B1Qgc08C025076 Trn: 4801500225Jo




                                                                                                                               10254340703000000067
           YOUR REF: COMMISSIONS

08/13      Book Transfer Debit A/C: Satori Enterprises LLC Chicago IL 60606-6680 US                                   592.25
           Trn: 4801800225Jo
           YOUR REF: COMMISSIONS

08/13      Book Transfer Debit A/C: Genscape, Inc. Louisville KY 40202- US Trn:                                       500.00
           4806000225Jo
           YOUR REF: ENERGY SERVICES

08/13      Fedwire Debit Via: Citicorp FL/266086554 A/C: Victoria M. Dusch US Imad:                                    15.02
           0813B1Qgc01C006077 Trn: 4805900225Jo
           YOUR REF: EXPENSES

08/13      Fedwire Debit Via: Bkam IL Cgo/071000039 A/C: Concur Technologies US                                   3,489.59
           Imad: 0813B1Qgc03C005134 Trn: 4805300225Jo
           YOUR REF: AP MODULE

08/13      Fedwire Debit Via: City Nb of Fla/066004367 A/C: Genovese Joblove &                                365,000.00
           Battista, P.A. US Imad: 0813B1Qgc03C005156 Trn: 4805500225Jo
           YOUR REF: PROFESS FEE ESCR

08/13      Fedwire Debit Via: Consumers Coop CU/271984311 A/C: Frank T. Locascio                                  7,590.00
           US Imad: 0813B1Qgc03C005155 Trn: 4805400225Jo
           YOUR REF: EXPENSES

08/13      Fedwire Debit Via: Pncbank NJ/031207607 A/C: ADP, Inc. US Imad:                                            572.30
           0813B1Qgc01C006401 Trn: 5215000225Jo
           YOUR REF: PAYROLL PROCESSI

08/13      Orig CO Name:Liberty Power Ho         Orig ID:9699199003 Desc Date:Prfund                          725,105.19
           CO Entry Descr:Maine Tax Sec:CCD       Trace#:021000023540556
           Eed:210813     Ind ID:9699199003             Ind Name:EFT File Name:
           Rp2251D       EFT/ACH Created Offset For Origin#: 9090209001    CO Eff
           Date: 21/08/13        210813 Rp2251D3 Trn: 2253540556Tc

08/13      Orig CO Name:Liberty Power Ho         Orig ID:9699199003 Desc Date:Prfund                            60,893.32
           CO Entry Descr:Corp Pay Sec:CCD        Trace#:021000023540553 Eed:210813
           Ind ID:9699199003                Ind Name:EFT File Name: Rp22518
           EFT/ACH Created Offset For Origin#: 9090209001     CO Eff   Date: 21/08/13
           210813 Rp225185 Trn: 2253540553Tc

08/16      Orig CO Name:Merchant Service         Orig ID:1841010148 Desc Date:210812                                  879.60
           CO Entry Descr:Merch Chbksec:CCD        Trace#:042000014074780
           Eed:210816     Ind ID:8030330933             Ind Name:Liberty Power
           Holdings                                                        Merchant
           Activity Trn: 2284074780Tc

08/16      Account Analysis Settlement Charge                                                                     9,035.39

08/18      Orig CO Name:Merchant Service         Orig ID:1841010148 Desc Date:210816                                  552.57
           CO Entry Descr:Merch Chbksec:CCD        Trace#:042000010192820
           Eed:210818     Ind ID:8030330933             Ind Name:Liberty Power
           Holdings                                                        Merchant
           Activity Trn: 2300192820Tc

08/18      Fedwire Debit Via: Bk Amer Nyc/026009593 A/C: Nstar Electric CO US                                         300.00
           Ref:/Bnf/Acct. #414 4000357431 Imad: 0818B1Qgc06C013482 Trn:
           5230400230Jo
           YOUR REF: UTILITY

08/18      Fedwire Debit Via: Bk Amer Nyc/026009593 A/C: Connecticut Light & Power                                    202.00
           CO. US Ref:/Bnf/Acct. #114 4000358764 Imad: 0818B1Qgc08C025258 Trn:
           5230500230Jo
           YOUR REF: UTILITY




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Ledger     Description                                                                                               Amount

Date

08/18      Fedwire Debit Via: Citibank Nyc/021000089 A/C: Central 1 Credit Union                               21,120.00
           Vancouver Canada V6J4S-7 CA Ben: Canlith Technologies Hamilton, On L9C
           4C2 CA Ref:/Time/14:39 Imad: 0818B1Qgc08C025267 Trn: 5230900230Jo
           YOUR REF: IT SERVICES

08/18      Fedwire Debit Via: Wells Fargo NA/121000248 A/C: Lumen US                                           20,584.41
           Ref:/Time/14:39 Imad: 0818B1Qgc08C025268 Trn: 5230600230Jo
           YOUR REF: TELEPHONE / INTE

08/18      Fedwire Debit Via: First Midwest Bank/071901604 A/C: National Gift Card US                          11,000.00
           Imad: 0818B1Qgc08C025276 Trn: 5230700230Jo
           YOUR REF: CUSTOMER REWARDS

08/18      Book Transfer Debit A/C: Shane Mcdonald Bradenton FL 34208-5077 US Trn:                               5,483.69
           5230800230Jo
           YOUR REF: EXPENSES

08/18      Orig CO Name:Liberty Power Ho       Orig ID:9699199003 Desc Date:Prfund                             50,860.83
           CO Entry Descr:Corp Pay Sec:CCD      Trace#:021000029309113 Eed:210818
           Ind ID:9699199003              Ind Name:EFT File Name: Rp2301O
           EFT/ACH Created Offset For Origin#: 9090209001    CO Eff   Date: 21/08/18
           210818 Rp2301Ot Trn: 2309309113Tc

08/19      Orig CO Name:Merchant Service       Orig ID:1841010148 Desc Date:210817                                   271.51
           CO Entry Descr:Merch Chbksec:CCD      Trace#:042000018545111
           Eed:210819    Ind ID:8030330933             Ind Name:Liberty Power
           Holdings                                                       Merchant
           Activity Trn: 2318545111Tc

08/19      Orig CO Name:Liberty Power Ho       Orig ID:9699199003 Desc Date:Prfund                           626,057.32
           CO Entry Descr:Texall   Sec:CCD    Trace#:021000029161293 Eed:210819
           Ind ID:9699199003              Ind Name:EFT File Name: Rp2311V
           EFT/ACH Created Offset For Origin#: 9090209001    CO Eff   Date: 21/08/19
           210819 Rp2311Vq Trn: 2319161293Tc

08/20      Orig CO Name:Merchant Service       Orig ID:1841010148 Desc Date:210818                               1,010.83
           CO Entry Descr:Merch Chbksec:CCD      Trace#:042000010279287
           Eed:210820    Ind ID:8030330933             Ind Name:Liberty Power
           Holdings                                                       Merchant
           Activity Trn: 2320279287Tc

08/20      Fedwire Debit Via: Bbva USA/062001186 A/C: Go Energy Solutions LLC US                               31,792.22
           Imad: 0820B1Qgc08C025829 Trn: 5421800232Jo
           YOUR REF: COMMISSIONS

08/20      Book Transfer Debit A/C: International Marketing Concepts Downers Grove IL                          15,209.89
           60515-1526 US Trn: 5421900232Jo
           YOUR REF: COMMISSIONS

08/20      Book Transfer Debit A/C: Bank of Montreal Montreal H2Y1L6 Canada CA Trn:                            12,180.00
           5420900232Jo
           YOUR REF: COMMISSIONS

08/20      Fedwire Debit Via: Verabk NA Hendersn/111903151 A/C: Eisenbach                                      10,801.25
           Consulting, LLC Ref: Ebc Imad: 0820B1Qgc08C025832 Trn: 5421600232Jo
           YOUR REF: NONREF

08/20      Book Transfer Debit A/C: Synegence, LLC Tampa FL 33629-6515 US Trn:                                   5,950.00
           5422700232Jo
           YOUR REF: COMMISSIONS

08/20      Fedwire Debit Via: Bk Amer Nyc/026009593 A/C: New Wave Power LLC US                                   3,690.00
           Imad: 0820B1Qgc08C025831 Trn: 5422200232Jo
           YOUR REF: COMMISSIONS

08/20      Book Transfer Debit A/C: Onyx Power & Gas Consulting LLC Dallas TX 75240                              2,073.64
           US Trn: 5422300232Jo
           YOUR REF: COMMISSIONS

08/20      Book Transfer Debit A/C: National Energy Cost Services Inc. Brooklyn NY                               1,971.62
           11219-3011 US Trn: 5422100232Jo
           YOUR REF: COMMISSIONS




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Date

08/20      Fedwire Debit Via: Citibank Nyc/021000089 A/C: Teleperformance Columbia                              1,885.00
           US Ref:/Time/16:01 Imad: 0820B1Qgc08C025828 Trn: 5421000232Jo
           YOUR REF: COMMISSIONS

08/20      Fedwire Debit Via: Peoples Bank/221172186 A/C: Globele Energy LLC Ref:                               1,862.11
           Gbe/Time/16:01 Imad: 0820B1Qgc08C025823 Trn: 5421700232Jo




                                                                                                                             10254340704000000067
           YOUR REF: NONREF

08/20      Fedwire Debit Via: Austin Bk NA Jacks/113103276 A/C: Curtis Clark Energy                             1,647.17
           Services, LLC Ref: Cur Imad: 0820B1Qgc08C025825 Trn: 5421500232Jo
           YOUR REF: NONREF

08/20      Book Transfer Debit A/C: Satori Enterprises LLC Chicago IL 60606-6680 US                                 877.77
           Trn: 5422500232Jo
           YOUR REF: COMMISSIONS

08/20      Fedwire Debit Via: Capital One NA/031176110 A/C: Joseph Sutton Ref: Seg                                  711.33
           Imad: 0820B1Qgc08C025827 Trn: 5420800232Jo
           YOUR REF: NONREF

08/20      Fedwire Debit Via: Webster Bank CT/211170101 A/C: Titan Energy New                                 63,369.34
           England, Inc. Ref: Ten Imad: 0820B1Qgc08C025842 Trn: 5422800232Jo
           YOUR REF: NONREF

08/20      Fedwire Debit Via: Wells Fargo NA/121000248 A/C: Sprague Energ US                                  21,951.82
           Ref:/Time/16:01 Imad: 0820B1Qgc08C025844 Trn: 5422900232Jo
           YOUR REF: COMMISSIONS

08/20      Book Transfer Debit A/C: North American Venture Capital LLC Allen TX                               19,146.06
           75002-8387 US Trn: 5422000232Jo
           YOUR REF: COMMISSIONS

08/20      Fedwire Debit Via: Wells Fargo NA/121000248 A/C: Avion Energy Group Ref:                             4,759.23
           Avi/Time/16:01 Imad: 0820B1Qgc05C009661 Trn: 5421400232Jo
           YOUR REF: NONREF

08/20      Book Transfer Debit A/C: Pes Brokers Inc Richmond TX 77406-2024 US Trn:                              3,731.42
           5422400232Jo
           YOUR REF: COMMISSIONS

08/20      Fedwire Debit Via: Wells Fargo NA/121000248 A/C: Mark Whyle US                                       3,525.00
           Ref:/Time/16:01 Imad: 0820B1Qgc05C009660 Trn: 5420400232Jo
           YOUR REF: COMMISSIONS

08/20      Fedwire Debit Via: Fnb of PA/043318092 A/C: Unified Energy Alliance LLC US                           3,173.62
           Ref: Aff Imad: 0820B1Qgc08C025843 Trn: 5420500232Jo
           YOUR REF: COMMISSIONS

08/20      Fedwire Debit Via: Pnc Bank, Ohio/041000124 A/C: Baby Shark Networks US                              2,210.00
           Imad: 0820B1Qgc03C008398 Trn: 5420600232Jo
           YOUR REF: COMMISSIONS

08/20      Fedwire Debit Via: Cy Natl Bk LA/122016066 A/C: Atlas Commodities II Retail                          2,173.91
           Energy US Ref:/Time/16:01 Imad: 0820B1Qgc08C025835 Trn: 5421100232Jo
           YOUR REF: COMMISSIONS

08/20      Fedwire Debit Via: Bk Amer Nyc/026009593 A/C: Kinect Energy, Inc.. US Ref:                           1,929.61
           Ode Imad: 0820B1Qgc08C025839 Trn: 5420700232Jo
           YOUR REF: NONREF

08/20      Fedwire Debit Via: Wells Fargo NA/121000248 A/C: Amerex Brokers                                      1,105.90
           LLC-Retail US Ref:/Time/16:01 Imad: 0820B1Qgc03C008396 Trn:
           5421300232Jo
           YOUR REF: COMMISSIONS

08/20      Fedwire Debit Via: Suncoast FL/263182817 A/C: Savon Energy, LLC US                                       575.72
           Imad: 0820B1Qgc08C025841 Trn: 5421200232Jo
           YOUR REF: COMMISSIONS

08/20      Book Transfer Debit A/C: Summit Energy Services Inc Louisville KY                                        306.87
           40223-6179 US Trn: 5422600232Jo
           YOUR REF: COMMISSIONS




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                                                                             Account Number:                     9199




Withdrawals and Debits       (continued)

Ledger     Description                                                                                                  Amount

Date

08/20      Fedwire Debit Via: City Nb of Fla/066004367 A/C: Genovese Joblove &                                  300,000.00
           Battista, P.A. US Imad: 0820B1Qgc06C017009 Trn: 5427300232Jo
           YOUR REF: PROFESS FEE ESCR

08/20      Fedwire Debit Via: First Midwest Bank/071901604 A/C: National Gift Card US                             10,000.00
           Imad: 0820B1Qgc08C025900 Trn: 5426900232Jo
           YOUR REF: CUSTOMER REWARDS

08/20      Fedwire Debit Via: Pac Western Bk CA/122238200 A/C: Stretto US Imad:                                   88,453.34
           0820B1Qgc06C017014 Trn: 5427100232Jo
           YOUR REF: PROFESSIONAL SVC

08/20      Fedwire Debit Via: Hsbc USA/021001088 A/C: Softwareone US Imad:                                          4,089.46
           0820B1Qgc06C017022 Trn: 5427000232Jo
           YOUR REF: IT SERVICES

08/20      Fedwire Debit Via: Pncbank NJ/031207607 A/C: ADP, Inc. US Imad:                                              273.25
           0820B1Qgc06C017018 Trn: 5427200232Jo
           YOUR REF: PAYROLL PROCESSI

08/20      Book Transfer Debit A/C: Royal Bank of Canada Payment Centertoronto On                               286,495.42
           Canada M5V2Y-1 CA Ref: N/A Trn: 5427400232Jo
           YOUR REF: NONREF

08/20      Orig CO Name:Liberty Power Ho        Orig ID:9699199003 Desc Date:Prfund                             918,151.96
           CO Entry Descr:Corp Pay Sec:CCD       Trace#:021000025235736 Eed:210820
           Ind ID:9699199003               Ind Name:EFT File Name: Rp2321R
           EFT/ACH Created Offset For Origin#: 9090209001     CO Eff     Date: 21/08/20
           210820 Rp2321R3 Trn: 2325235736Tc

08/23      Orig CO Name:Merchant Service        Orig ID:1841010148 Desc Date:210819                                      55.43
           CO Entry Descr:Merch Chbksec:CCD       Trace#:042000012947723
           Eed:210823    Ind ID:8030330933             Ind Name:Liberty Power
           Holdings                                                          Merchant
           Activity Trn: 2352947723Tc

08/23      Orig CO Name:Liberty Power Ho        Orig ID:9699199003 Desc Date:Prfund                             118,064.18
           CO Entry Descr:NY Tax     Sec:CCD    Trace#:021000024965646 Eed:210823
           Ind ID:9699199003               Ind Name:EFT File Name: Rp2350R
           EFT/ACH Created Offset For Origin#: 9090209001     CO Eff     Date: 21/08/23
           210823 Rp2350Rm Trn: 2354965646Tc

08/24      Letter of Credit (Debit) Stal Funds Adjust Nuscgn099395 Cref Ctcs-946240                                     125.00
           Trn: 9901487308Lc
           YOUR REF: CTCS-946240

08/25      Orig CO Name:Merchant Service        Orig ID:1841010148 Desc Date:210823                                     356.16
           CO Entry Descr:Merch Chbksec:CCD       Trace#:042000014371066
           Eed:210825    Ind ID:8030330933             Ind Name:Liberty Power
           Holdings                                                          Merchant
           Activity Trn: 2374371066Tc

08/25      Fedwire Debit Via: Pac Western Bk CA/122238200 A/C: Stretto US Imad:                                 107,900.00
           0825B1Qgc04C005408 Trn: 4507100237Jo
           YOUR REF: PROFESSIONAL SVC

08/25      Fedwire Debit Via: Bankunited NA FL/267090594 A/C: Compuquip                                             2,450.00
           Technologies US Imad: 0825B1Qgc07C009701 Trn: 4506600237Jo
           YOUR REF: IT SERVICES

08/25      Fedwire Debit Via: Pncbank Phil/031000053 A/C: DE Lage Laden Financial                                   2,803.18
           Services, Ius Ref:/Bnf/Acct. #1350306 - Liberty Power Imad:
           0825B1Qgc07C009704 Trn: 4507400237Jo
           YOUR REF: IT SERVERS

08/25      Fedwire Debit Via: Wells Fargo NA/121000248 A/C: Ice US OTC Commodity                                    2,130.00
           Mkts LLC US Ref:/Bnf/Acct. # 8623199463/Time/14:10 Imad:
           0825B1Qgc08C025506 Trn: 4506800237Jo
           YOUR REF: WHOLESALE

08/25      Fedwire Debit Via: Wells Fargo NA/121000248 A/C: Lumen US                                                1,241.05
           Ref:/Time/14:10 Imad: 0825B1Qgc08C025503 Trn: 4506900237Jo
           YOUR REF: TELEPHONE / INTE


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                                                                                July 31, 2021 through August 31, 2021
                                                                               Account Number:                    9199




Withdrawals and Debits       (continued)

Ledger     Description                                                                                                   Amount

Date

08/25      Book Transfer Debit A/C: Bank of Ireland Dublin 1 Ireland Ie Trn:                                         3,433.90
           4507000237Jo
           YOUR REF: QA

08/25      Fedwire Debit Via: Texas Partners Bk/114025641 A/C: Usio Output Solutions                               30,608.39
           US Imad: 0825B1Qgc03C005874 Trn: 4507200237Jo




                                                                                                                                  10254340705000000067
           YOUR REF: POSTAGE

08/25      Fedwire Debit Via: Texas Partners Bk/114025641 A/C: Usio Output Solutions                               15,020.19
           US Imad: 0825B1Qgc06C006431 Trn: 4507300237Jo
           YOUR REF: PRINTING SERVICE

08/25      Fedwire Debit Via: Wells Fargo NA/121000248 A/C: Aba/122105278 Phoenix                                  20,368.04
           AZ US Ben: Calibrus Call Center Services, LLC US Ref:/Time/14:13 Imad:
           0825B1Qgc08C025696 Trn: 4506500237Jo
           YOUR REF: NONREF

08/25      Book Transfer Debit A/C: ADP Client Trust Wilmington DE 19801- US Ref:                                353,446.64
           ADP Wage Pay Trn: 5355400237Jo
           YOUR REF: 8050028960

08/25      Orig CO Name:Liberty Power Ho        Orig ID:9699199003 Desc Date:Prfund                                17,108.99
           CO Entry Descr:Corp Pay Sec:CCD        Trace#:021000023030838 Eed:210825
           Ind ID:9699199003               Ind Name:EFT File Name: Rp2371G
           EFT/ACH Created Offset For Origin#: 9090209001      CO Eff   Date: 21/08/25
           210825 Rp2371GA Trn: 2373030838Tc

08/25      Orig CO Name:Liberty Power Ho        Orig ID:9699199003 Desc Date:Prfund                                      162.50
           CO Entry Descr:Corp Pay Sec:CCD        Trace#:021000023030835 Eed:210825
           Ind ID:9699199003               Ind Name:EFT File Name: Rp2371G
           EFT/ACH Created Offset For Origin#: 9090209001      CO Eff   Date: 21/08/25
           210825 Rp2371Gb Trn: 2373030835Tc

08/26      Letter of Credit (Debit) Stal Funds Adjust Nuscgn099470 Cref Ctcs-723332                                      125.00
           Trn: 9901489924Lc
           YOUR REF: CTCS-723332

08/27      Orig CO Name:Merchant Service        Orig ID:1841010148 Desc Date:210825                                       87.92
           CO Entry Descr:Merch Chbksec:CCD        Trace#:042000011759818
           Eed:210827    Ind ID:8030330933              Ind Name:Liberty Power
           Holdings                                                            Merchant
           Activity Trn: 2391759818Tc

08/27      Fedwire Debit Via: Wells Fargo NA/121000248 A/C: Mark Whyle US                                            5,600.00
           Ref:/Time/15:26 Imad: 0827B1Qgc05C009685 Trn: 5964300239Jo
           YOUR REF: COMMISSIONS

08/27      Fedwire Debit Via: Citibank Nyc/021000089 A/C: Teleperformance Columbia                                   2,084.00
           US Ref:/Time/15:26 Imad: 0827B1Qgc05C009684 Trn: 5964200239Jo
           YOUR REF: COMMISSIONS

08/27      Book Transfer Debit A/C: All American Marketing LLC Fort Lauderdale FL                                  13,293.00
           33309-1823 US Trn: 5964400239Jo
           YOUR REF: COMMISSIONS

08/27      Book Transfer Debit A/C: Synegence, LLC Tampa FL 33629-6515 US Trn:                                       8,670.00
           5964800239Jo
           YOUR REF: COMMISSIONS

08/27      Book Transfer Debit A/C: Bank of Montreal Montreal H2Y1L6 Canada CA Trn:                                17,797.04
           5964700239Jo
           YOUR REF: COMMISSIONS

08/27      Fedwire Debit Via: Bk Amer Nyc/026009593 A/C: New Wave Power LLC US                                       3,330.00
           Imad: 0827B1Qgc06C011488 Trn: 5964600239Jo
           YOUR REF: COMMISSIONS

08/27      Book Transfer Debit A/C: International Marketing Concepts Downers Grove IL                                2,457.00
           60515-1526 US Trn: 5964500239Jo
           YOUR REF: COMMISSIONS

08/27      Fedwire Debit Via: Fnb of PA/043318092 A/C: Unified Energy Alliance LLC US                                    516.17
           Ref: Aff Imad: 0827B1Qgc06C011491 Trn: 5964100239Jo
           YOUR REF: COMMISSIONS


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                                                                                      Account Number:                     9199




Withdrawals and Debits              (continued)

Ledger            Description                                                                                                 Amount

Date

08/27             Fedwire Debit Via: City Nb of Fla/066004367 A/C: Genovese Joblove &                                    300,000.00
                  Battista, P.A. US Imad: 0827B1Qgc01C006903 Trn: 5967900239Jo
                  YOUR REF: PROFESS FEE ESCR

08/27             Fedwire Debit Via: Wells Fargo NA/121000248 A/C: University City Housing                                 48,690.86
                  Company US Ref:/Time/15:26 Imad: 0827B1Qgc06C011506 Trn:
                  5968100239Jo
                  YOUR REF: RENT

08/27             Fedwire Debit Via: Citibank Nyc/021000089 A/C: Central 1 Credit Union                                    11,715.00
                  Vancouver Canada V6J4S-7 CA Ben: Canlith Technologies Hamilton, On L9C
                  4C2 CA Ref:/Time/15:26 Imad: 0827B1Qgc03C007120 Trn: 5967700239Jo
                  YOUR REF: IT SERVICES

08/27             Book Transfer Debit A/C: Shane Mcdonald Bradenton FL 34208-5077 US Trn:                                    5,108.02
                  5968200239Jo
                  YOUR REF: EXPENSES

08/27             Fedwire Debit Via: Svb Boston Pvt/011002343 A/C: Gray & Company LLC US                                   30,000.00
                  Imad: 0827B1Qgc03C007126 Trn: 5968000239Jo
                  YOUR REF: INDEPT DIRECTOR

08/27             Fedwire Debit Via: First Citz Raleigh/053100300 A/C: Topping Kessler &                                     8,628.75
                  Company US Ref:/Time/15:26 Imad: 0827B1Qgc01C006907 Trn:
                  5968300239Jo
                  YOUR REF: PROFESSIONAL SVC

08/27             Fedwire Debit Via: Union LA Aka Uboc/122000496 A/C: J2 Cloud Services,                                          363.89
                  LLC US Ref:/Bnf/Customer No.17896/Time/15:26 Imad:
                  0827B1Qgc03C007122 Trn: 5967800239Jo
                  YOUR REF: IT

08/27             Orig CO Name:Liberty Power Ho        Orig ID:9699199003 Desc Date:Prfund                               597,823.03
                  CO Entry Descr:Corp Pay Sec:CCD          Trace#:021000020303748 Eed:210827
                  Ind ID:9699199003               Ind Name:EFT File Name: Rp2391W
                  EFT/ACH Created Offset For Origin#: 9090209001         CO Eff   Date: 21/08/27
                  210827 Rp2391We Trn: 2390303748Tc

08/27             Orig CO Name:Liberty Power Ho        Orig ID:9699199003 Desc Date:Prfund                                 67,612.00
                  CO Entry Descr:Tax Pmnts Sec:CCD          Trace#:021000020303745
                  Eed:210827    Ind ID:9699199003               Ind Name:EFT File Name:
                  Rp2391W       EFT/ACH Created Offset For Origin#: 9090209001        CO Eff
                  Date: 21/08/27       210827 Rp2391Wf Trn: 2390303745Tc

08/30             Orig CO Name:Merchant Service        Orig ID:1841010148 Desc Date:210826                                        433.50
                  CO Entry Descr:Merch Chbksec:CCD          Trace#:042000016881532
                  Eed:210830    Ind ID:8030330933               Ind Name:Liberty Power
                  Holdings                                                            Merchant
                  Activity Trn: 2426881532Tc

08/30             Letter of Credit (Debit) Stal Funds Adjust Nuscgn099569 Cref Ctcs-721065                                        125.00
                  Trn: 9901492199Lc
                  YOUR REF: CTCS-721065

08/30             Letter of Credit (Debit) Stal Funds Adjust Nuscgn099571 Cref Ctcs-931891                                        125.00
                  Trn: 9901492198Lc
                  YOUR REF: CTCS-931891

Total                                                                                                                $7,008,351.47




Checks Paid

         Check    Date Paid        Amount         Check      Date Paid        Amount           Check     Date Paid            Amount

          8829    08/11          $1,325.75          8971*    08/03           $126.40             8981     08/06               $417.11
          8926*   08/19          $4,332.49          8973*    08/04           $465.00             8982     08/04               $198.81
          8939*   08/04             $83.35          8974     08/03           $108.86             8984*    08/12               $293.11
          8949*   08/17         $11,719.07          8976*    08/10           $121.50             8985     08/09               $285.89
          8958*   08/02             $51.38          8977     08/02            $70.76             8986     08/10               $442.89
          8962*   08/16            $219.64          8978     08/05          $7,382.75            8987     08/03            $1,363.38
          8967*   08/03         $19,534.93          8980*    08/05            $10.00             8988     08/03                   $31.11

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                                                                                     Account Number:                       9199




Checks Paid             (continued)


         Check     Date Paid          Amount       Check    Date Paid          Amount           Check     Date Paid            Amount

          8989     08/05          $2,500.00         9005    08/23             $289.57             9021     08/31               $250.00
          8990     08/03          $4,643.75         9006    08/20           $24,670.47            9024*    08/27               $741.13
          8991     08/04          $2,784.52         9007    08/20              $86.46             9027*    08/30                   $16.48
          8993*    08/16          $1,788.00         9010*   08/25            $2,342.42            9028     08/31               $275.00
          8994     08/24              $139.50       9011    08/24           $11,765.46            9029     08/27            $7,264.80
          8996*    08/16          $5,524.42         9012    08/23              $49.26             9030     08/30               $354.26
          8997     08/16               $18.06       9013    08/23             $133.74             9031     08/27               $874.00




                                                                                                                                            10254340706000000067
          8998     08/17              $416.75       9014    08/31             $263.41             9032     08/27            $1,144.15
          9000*    08/13              $215.62       9015    08/30             $120.89             9033     08/30               $247.23
          9001     08/13              $144.50       9017*   08/25           $28,253.39            9034     08/27               $179.16
          9002     08/23         $24,671.02         9019*   08/31             $250.00             9036*    08/27            $5,595.04
          9003     08/20              $297.00       9020    08/31             $250.00             9039*    08/30               $161.57
          9004     08/20          $7,279.28


Total          58 check(s)                                                                                             $184,584.49
* indicates gap in sequence


Daily Balance


                                                     Ledger                                                                        Ledger

Date                                                Balance         Date                                                       Balance

08/02                                           $396,405.27         08/17                                               $423,711.13
08/03                                           $363,169.54         08/18                                             $1,092,471.38
08/04                                           $414,506.09         08/19                                               $461,810.06
08/05                                           $404,586.39         08/20                                               $562,575.63
08/06                                           $428,779.05         08/23                                               $419,312.43
08/09                                           $428,155.92         08/24                                               $407,282.47
08/10                                           $404,399.32         08/25                                               $409,785.10
08/11                                           $434,845.54         08/26                                               $409,660.10
08/12                                           $434,261.72         08/27                                               $424,976.43
08/13                                           $453,312.06         08/30                                               $423,392.50
08/16                                           $435,846.95         08/31                                               $422,104.09




                  Your service charges, fees and earnings credit have been calculated through account analysis.




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                                                                                 Account Number:                      9199




       Liberty Power Holdings LLC
       Operating Account




                                                                                                                                     10254340707000000067
Stop Payment Renewal Notice


Account Number                 9199                                                                  Bank Number:           201




The following Stop Payments will automatically renew for a 1-year period. You can revoke a current stop payment via your
online channel (Chase.com or JPM ACCESS) or by calling the number on your statement or contacting your Customer
Service Representative.



Revoke           Sequence           Date             Renewal                  Low Range or                        High Range

Stop             Number             Entered          Date                    Check Number                           or Amount

                 0000033            11/10/2015       11/10/2021                        2283                          $1,334.91
                 0000034            11/10/2015       11/10/2021                        2447                          $4,886.00
                 0000035            11/10/2015       11/10/2021                        2453                                $244.98
                 0000036            11/10/2015       11/10/2021                        2504                        $18,429.55
                 0000037            11/24/2015       11/24/2021                        2495                                 $35.15
                 0000046            11/04/2016       11/04/2021                        3696                                $263.28
                 0000067            11/02/2017       11/02/2021                        4942                                $217.44
                 0000068            11/27/2017       11/27/2021                        4915                          $4,059.91
                 0000141            11/05/2020       11/05/2021                        8587                                $803.44
                 0000142            11/16/2020       11/16/2021                        6992                          $1,893.80




Liberty Power Holdings LLC                                                            JPMorgan Chase Bank, N.A.
Operating Account                                                                     P O Box 182051
2100 W Cypress Creek Rd Ste 130                                                       Columbus     OH 43218-2051
Fort Lauderdale FL 33309




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      JPMorgan Chase Bank, N.A.
                                                                                       Account Number:                          9207
      P O Box 182051
      Columbus, OH 43218 - 2051
                                                                                         Customer Service Information

                                                                                    If you have any questions about your
                                                                                    statement, please contact your
                                                                                    Customer Service Professional.
     00004315 WBS 201 211 24421 NNNNNNNNNNN    1 000000000 C2 0000


     LIBERTY POWER HOLDINGS LLC
     CUSTOMER DEPOSITS NON TEXAS
     2100 W CYPRESS CREEK RD STE 130
     FORT LAUDERDALE FL 33309




                                                                                                                                                00043150101000000021
Commercial Checking

Summary
                                                                     Number                      Market Value/Amount                   Shares


Opening Ledger Balance                                                                                $93,240.49


Deposits and Credits                                                     0                                   $0.00


Withdrawals and Debits                                                   0                                   $0.00


Checks Paid                                                              0                                   $0.00


Ending Ledger Balance                                                                                 $93,240.49




                Your service charges, fees and earnings credit have been calculated through account analysis.




* Annual Percentage Yield Earned - the percentage rate earned if balances remain on deposit for a full year with compounding, no

change in the interest rate and all interest rate and all interest is left in the account.



Please examine this statement of account at once. By continuing to use the account, you agree that: (1) the account is subject to

the Bank's deposit account agreement, and (2) the Bank has no responsibility for any error in or improper charge to the account

(including any unauthorized or altered check) unless you notify us in writing of this error or charge within sixty days of the mailing or

availability of the first statement on which the error or charge appears.
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                                                                                             July 31, 2021 through August 31, 2021
      JPMorgan Chase Bank, N.A.
                                                                                       Account Number:                          9780
      P O Box 182051
      Columbus, OH 43218 - 2051
                                                                                         Customer Service Information

                                                                                    If you have any questions about your
                                                                                    statement, please contact your
                                                                                    Customer Service Professional.
     00022655 WBS 201 211 24421 NNNNNNNNNNN    1 000000000 C1 0000


     LIBERTY POWER HOLDINGS LLC

     BLOCKED ACCOUNT

     2100 W CYPRESS CREEK RD STE 130

     FORT LAUDERDALE FL 33309




                                                                                                                                            00226550301000000023
                          IMPORTANT DISCLOSURES REGARDING SWEEP ACCOUNTS



    As an industry leader, JPMorgan Chase Bank, N.A. (the Bank) recognizes the importance of healthy and transparent

    financial markets. In accordance with requirements of the Federal Deposit Insurance Corporation (FDIC), we are

    required to provide to you the disclosures below. The below disclosures apply to each of your account(s) maintained at

    the Bank by the same legal entity. Please refer to your legal agreement or sweep statement to identify your sweep

    service with the Bank. If you have further questions, please contact your banking representative.




    End-of-Day Investment Sweeps ( JPMorgan Chase Bank, N.A. London Branch, International Banking Facility
    (IBF), and/or Fed Funds Purchased), US Dollar Pooling & Cross Border Sweeps                     In the event of a failure of the

    Bank, funds swept offshore or to the London Branch Deposit Investment Vehicle, IBF Investment Vehicle or the Fed

    Funds Investment Vehicle, as reflected on the Banks end-of-day ledger balance, would not be considered deposits by

    the FDIC, and the beneficial owner of such funds would be treated as an unsecured general creditor of the receivership

    estate of the Bank.




    Intra-day & End-of-Day Investment Sweep  JPMorgan Money Market Funds
    In the event of a failure of the Bank, funds swept to a money market fund, as reflected on the Banks end-of-day ledger

    balance, would not be considered deposits by the FDIC. However, the FDIC would treat the beneficial owners swept

    funds in one of two ways: (a) if the failed Banks assets were transferred to an acquiring institution, the swept funds

    would be returned back into the beneficial owners deposit account on the business day following the failure of the Bank;

    or (b) if the failed Bank will be dissolved, the beneficial owner would receive a check or other payment from the FDIC to

    reacquire the beneficial owners allotted interest in the money market fund in accordance with the FDICs normal

    procedures.




* Annual Percentage Yield Earned - the percentage rate earned if balances remain on deposit for a full year with compounding, no

change in the interest rate and all interest rate and all interest is left in the account.




Please examine this statement of account at once.       By continuing to use the account, you agree that: (1) the account is subject to

the Bank's deposit account agreement, and (2) the Bank has no responsibility for any error in or improper charge to the account

(including any unauthorized or altered check) unless you notify us in writing of this error or charge within sixty days of the mailing or

availability of the first statement on which the error or charge appears.
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                                                                                           July 31, 2021 through August 31, 2021
                                                                                         Account Number:                     9780




   Intra-day Investment Sweep  Third Party Money Market Funds (Invesco, Blackrock, Dreyfus, Federated,
   Fidelity, Goldman Sachs, & Morgan Stanley)
   In the event of a failure of the Bank, funds swept to a money market fund (whether the sweep actually occurs will

   depend on the transaction cut-off time used by the FDIC), as reflected on the Banks end-of-day ledger balance, would

   not be considered deposits by the FDIC.      However, the FDIC would treat the beneficial owners swept funds in one of

   two ways: (a) if the failed Banks assets were transferred to an acquiring institution, the swept funds would be returned

   back into the beneficial owners deposit account on the business day following the failure of the Bank; or (b) if the failed

   Bank will be dissolved, the beneficial owner would receive a check or other payment from the FDIC to reacquire the

   beneficial owners allotted interest in the money market fund in accordance with the FDICs normal procedures. If the

   funds are not swept, such funds would remain in the deposit account, be treated as deposits, and be insured under the

   applicable insurance rules and limits of the FDIC.




   End-of-Day Loan Sweep & Fed Funds Borrowed Sweep
   In the event of a failure of the Bank, funds swept as part of the Loan Payment Option, or the pay down component of

   the Loan Borrowing and Payment Option or the payment component of Fed Funds Borrowed, as reflected on the

   Banks end-of-day ledger balance, would not be considered deposits by the FDIC, but such swept funds would reduce

   the loan balance or Fed Funds Borrowed balance owed by the customer to the receivership estate of the Bank.




   Physical Cash Concentration (In-Country Sweeps, Cross Currency Sweeps & Just In Time Funding (JIT))
   In the event of a failure of the Bank, funds transferred as part of a cash concentration product will be considered

   deposits of the account in which the funds are held, as reflected on the Banks end-of-day ledger balance, by the FDIC

   after completion of all transactions related to the cash concentration product and will be insured by the FDIC under its

   applicable insurance rules up to applicable limits.




   Multibank Sweep
   In the event of a failure of the Bank, (a) funds transferred from the Master Account at JPMorgan as part of the

   Multibank Sweep Service (whether the transfer actually occurs will depend on the transaction cut-off time used by the

   FDIC, as reflected on the Banks end-of-day ledger balance) would not be considered deposits of the Bank by the FDIC.

   If the funds are transferred from the Bank, the FDIC would treat the funds as deposits at the Participant Account Bank,

   subject to applicable insurance (if any) rules and limits of the FDIC.    If the funds are not transferred from the Bank, such

   funds would remain on deposit in the Master Account, be treated as deposits at the Bank, and be insured under the

   applicable rules and limits of the FDIC. (b) Funds transferred to the Bank from the Participant Account Bank as part of

   the Multibank Sweep Service will be treated as deposits in the Master Account, as reflected on the Banks end-of-day

   ledger balance, and would be insured under the applicable rules and limits of the FDIC.




   Multibank Sweep Third Party Bank Master
   In the event of a failure of the Bank, (a) funds transferred from the Participant Account at the Bank as part of the

   Multibank Sweep Service (whether the transfer actually occurs will depend on the transaction cut-off time used by the

   FDIC, as reflected on the Banks end-of-day ledger balance) would not be considered deposits of the Bank by the FDIC.

   If the funds are transferred from the Bank, the FDIC would treat the funds as deposits at the Master Account Bank,

   subject to applicable insurance (if any) rules and limits of the FDIC.    If the funds are not transferred from the Bank, such

   funds would remain on deposit in the Participant Account, be treated as deposits at the Bank, and be insured under the

   applicable rules and limits of the FDIC.   (b) Funds transferred to the Bank from the Master Account Bank as part of the

   Service will be treated as deposits in the Participant Account, as reflected on the Bank end-of-day ledger balance, and

   would be insured under the applicable rules and limits of the FDIC.




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   and regulations and service terms.


Commercial Checking

Summary
                                                                 Number                      Market Value/Amount                    Shares


Opening Ledger Balance                                                                         $6,911,169.36



Opening Collected Balance                                                                      $6,824,981.36



Deposits and Credits                                                 23                       $27,577,038.07



Withdrawals and Debits                                               14                       $25,178,312.11



Checks Paid                                                           0                                  $0.00




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                                                                              Account Number:                      9780




                                                            Number                 Market Value/Amount                     Shares


Ending Ledger Balance                                                                $9,309,895.32
Ending Collected Balance                                                             $9,140,476.95

Deposits and Credits

Ledger   Value   Description                                                                                             Amount
Date     Date




                                                                                                                                    10226550302000000063
08/02            Cash Concentration Transfer Credit From Account              2233 Trn:                          $598,226.30

                 0012620400Xf

                 1 DAY FLOAT       08/03                $53,322.00

                 2 DAY FLOAT       08/04                $89,550.00


08/03            Cash Concentration Transfer Credit From Account              2233 Trn:                         1,091,008.63

                 0011500400Xf

                 1 DAY FLOAT       08/04                $33,758.00

                 2 DAY FLOAT       08/05                $33,315.00


08/04            Cash Concentration Transfer Credit From Account              2233 Trn:                           696,041.66

                 0011700400Xf

                 1 DAY FLOAT       08/05                 $5,237.00

                 2 DAY FLOAT       08/06                $28,562.00


08/05            Cash Concentration Transfer Credit From Account              2233 Trn:                         1,245,619.53

                 0011700400Xf

                 1 DAY FLOAT       08/06                $73,231.00

                 2 DAY FLOAT       08/09                $27,574.00


08/06            Cash Concentration Transfer Credit From Account              2233 Trn:                           894,608.55

                 0011300400Xf

                 1 DAY FLOAT       08/09                $43,031.00

                 2 DAY FLOAT       08/10                $34,348.00


08/09            Cash Concentration Transfer Credit From Account              2233 Trn:                           869,748.03

                 0011700400Xf

                 1 DAY FLOAT       08/10               $105,018.00

                 2 DAY FLOAT       08/11                $92,842.00


08/10            Cash Concentration Transfer Credit From Account              2233 Trn:                         1,208,496.31

                 0011360400Xf

                 1 DAY FLOAT       08/11                $64,064.00

                 2 DAY FLOAT       08/12                $18,408.00


08/11            Cash Concentration Transfer Credit From Account              2233 Trn:                         1,009,811.22

                 0011140400Xf

                 1 DAY FLOAT       08/12                $31,390.00

                 2 DAY FLOAT       08/13                $49,238.78


08/12            Cash Concentration Transfer Credit From Account              2233 Trn:                           770,304.80

                 0011600400Xf

                 1 DAY FLOAT       08/13                 $3,534.00

                 2 DAY FLOAT       08/16                 $1,658.00


08/13            Cash Concentration Transfer Credit From Account              2233 Trn:                           866,324.74

                 0011720400Xf

                 1 DAY FLOAT       08/16                $16,462.00

                 2 DAY FLOAT       08/17                $42,692.00


08/16            Cash Concentration Transfer Credit From Account              2233 Trn:                         1,020,800.21

                 0012600400Xf

                 1 DAY FLOAT       08/17               $164,815.00

                 2 DAY FLOAT       08/18                $58,804.00


08/17            Cash Concentration Transfer Credit From Account              2233 Trn:                         2,005,421.82

                 0011120400Xf

                 1 DAY FLOAT       08/18                $28,205.00

                 2 DAY FLOAT       08/19                 $9,826.00


08/17            Orig CO Name:Midcontinent Ind     Orig ID:9633708292 Desc Date:210817                                   102.87

                 CO Entry Descr:Payments     Sec:CTX    Trace#:021000023490478

                 Eed:210817    Ind ID:9549                Ind Name:0037Liberty Power Ho

                 Trn: 2293490478Tc




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                                                                               Account Number:                     9780




Deposits and Credits           (continued)

Ledger   Value   Description                                                                                             Amount
Date     Date

08/18            Cash Concentration Transfer Credit From Account              2233 Trn:                           850,276.23

                 0011140400Xf

                 1 DAY FLOAT       08/19              $58,200.00

                 2 DAY FLOAT       08/20              $84,646.00


08/19            Cash Concentration Transfer Credit From Account              2233 Trn:                         2,073,733.43

                 0013400400Xf

                 1 DAY FLOAT       08/20              $14,181.00

                 2 DAY FLOAT       08/23              $18,244.00


08/20            Cash Concentration Transfer Credit From Account              2233 Trn:                           877,078.13

                 0012000400Xf

                 1 DAY FLOAT       08/23              $21,346.00

                 2 DAY FLOAT       08/24              $48,861.00


08/23            Cash Concentration Transfer Credit From Account              2233 Trn:                         1,413,672.20

                 0012000400Xf

                 1 DAY FLOAT       08/24             $184,322.70

                 2 DAY FLOAT       08/25             $102,325.00


08/24            Cash Concentration Transfer Credit From Account              2233 Trn:                         1,477,438.95

                 0011540400Xf

                 1 DAY FLOAT       08/25             $104,875.00

                 2 DAY FLOAT       08/26              $17,294.00


08/25            Cash Concentration Transfer Credit From Account              2233 Trn:                           994,661.69

                 0011780400Xf

                 1 DAY FLOAT       08/26              $24,505.00

                 2 DAY FLOAT       08/27              $41,888.00


08/26            Cash Concentration Transfer Credit From Account              2233 Trn:                         3,691,256.10

                 0011820400Xf

                 1 DAY FLOAT       08/27              $47,325.00

                 2 DAY FLOAT       08/30              $27,939.42


08/27            Cash Concentration Transfer Credit From Account              2233 Trn:                         1,523,302.46

                 0011980400Xf

                 1 DAY FLOAT       08/30              $29,616.00

                 2 DAY FLOAT       08/31              $58,005.71


08/30            Cash Concentration Transfer Credit From Account              2233 Trn:                         1,317,005.16

                 0012220400Xf

                 1 DAY FLOAT       08/31             $145,420.00

                 2 DAY FLOAT       09/01              $79,540.37


08/31            Cash Concentration Transfer Credit From Account              2233 Trn:                         1,082,099.05

                 0011640400Xf

                 1 DAY FLOAT       09/01              $65,340.00

                 2 DAY FLOAT       09/02              $24,538.00


Total                                                                                                       $27,577,038.07

Withdrawals and Debits

Ledger   Value   Description                                                                                             Amount
Date     Date

08/04            Book Transfer Debit A/C: Liberty Power Holdings LLC Fort Lauderdale FL                          $101,185.54

                 33309-1823 US Ref: Funding Request Trn: 4445200216Jo

                 YOUR REF:     NONREF


08/05            Fedwire Debit Via: Union LA Aka Uboc/122000496 A/C: Boston Energy                              2,564,153.00

                 Trading And Marketingus Ref: 06-2021 Liberty R1/Time/12:56 Imad:

                 0805B1Qgc04C007733 Trn: 4185500217Jo

                 YOUR REF:     NONREF


08/06            Book Transfer Debit A/C: Liberty Power Holdings LLC Fort Lauderdale FL                           933,322.22

                 33309-1823 US Ref: Funding Request Trn: 2380800218Jo

                 YOUR REF:     NONREF




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Withdrawals and Debits            (continued)

Ledger   Value   Description                                                                                             Amount
Date     Date

08/10            Fedwire Debit Via: Union LA Aka Uboc/122000496 A/C: Boston Energy                              1,319,295.00

                 Trading And Marketingus Ref: 06-2021 Liberty R1/Time/15:17 Imad:

                 0810B1Qgc08C014586 Trn: 4750200222Jo

                 YOUR REF:     NONREF


08/11            Book Transfer Debit A/C: Liberty Power Holdings LLC Fort Lauderdale FL                           436,345.74




                                                                                                                                   10226550303000000063
                 33309-1823 US Ref: Funding Request Trn: 4392300223Jo

                 YOUR REF:     NONREF


08/12            Fedwire Debit Via: Union LA Aka Uboc/122000496 A/C: Boston Energy                              1,616,310.39

                 Trading And Marketingus Ref: 06-2021 Liberty R1/Time/14:45 Imad:

                 0812B1Qgc05C014555 Trn: 5748700224Jo

                 YOUR REF:     NONREF


08/13            Book Transfer Debit A/C: Liberty Power Holdings LLC Fort Lauderdale FL                         1,223,345.92

                 33309-1823 US Ref: Funding Request Trn: 2799200225Jo

                 YOUR REF:     NONREF


08/18            Book Transfer Debit A/C: Liberty Power Holdings LLC Fort Lauderdale FL                           778,863.75

                 33309-1823 US Ref: Funding Request Trn: 2586800230Jo

                 YOUR REF:     NONREF


08/20            Book Transfer Debit A/C: Liberty Power Holdings LLC Fort Lauderdale FL                         1,960,183.54

                 33309-1823 US Ref: Funding Request Trn: 2077700232Jo

                 YOUR REF:     NONREF


08/20            Fedwire Debit Via: Union LA Aka Uboc/122000496 A/C: Boston Energy                                  23,225.24

                 Trading And Marketingus Ref: Professional Fees Reimbursement/Time/10:43

                 Imad: 0820B1Qgc03C004786 Trn: 2272400232Jo

                 YOUR REF:     NONREF


08/25            Book Transfer Debit A/C: Liberty Power Holdings LLC Fort Lauderdale FL                           590,127.48

                 33309-1823 US Ref: Funding Request Trn: 2292100237Jo

                 YOUR REF:     NONREF


08/25            Fedwire Debit Via: Union LA Aka Uboc/122000496 A/C: Boston Energy                              7,216,276.00

                 Trading And Marketingus Ref: 07-2021 Liberty R3/Time/14:16 Imad:

                 0825B1Qgc08C025898 Trn: 4628400237Jo

                 YOUR REF:     NONREF


08/27            Book Transfer Debit A/C: Liberty Power Holdings LLC Fort Lauderdale FL                         1,154,891.29

                 33309-1823 US Ref: Funding Request Trn: 3446900239Jo

                 YOUR REF:     NONREF


08/27            Fedwire Debit Via: Union LA Aka Uboc/122000496 A/C: Boston Energy                              5,260,787.00

                 Trading And Marketingus Ref: 07-2021 Liberty R3/Time/15:19 Imad:

                 0827B1Qgc07C018035 Trn: 5892900239Jo

                 YOUR REF:     NONREF


Total                                                                                                        $25,178,312.11


Daily Balance


                      Collected                   Ledger                             Collected                           Ledger
Date                   Balance                   Balance       Date                    Balance                           Balance

08/02            $7,310,058.66             $7,509,395.66       08/17           $10,896,891.22                $10,993,726.22

08/03            $8,443,781.29             $8,600,404.29       08/18           $10,912,466.70                $11,065,138.70

08/04            $9,128,146.41             $9,195,260.41       08/19           $13,021,801.13                $13,138,872.13

08/05            $7,747,359.94             $7,876,726.94       08/20           $11,944,090.48                $12,032,541.48

08/06            $7,733,060.27             $7,838,013.27       08/23           $13,110,704.98                $13,446,213.68

08/09            $8,475,553.30             $8,707,761.30       08/24           $14,699,158.63                $14,923,652.63

08/10            $8,421,648.61             $8,596,962.61       08/25            $8,028,223.84                 $8,111,910.84

08/11            $9,071,391.31             $9,170,428.09       08/26           $11,686,014.52                $11,803,166.94

08/12            $8,269,991.72             $8,324,422.50       08/27            $6,795,229.98                 $6,910,791.11

08/13            $7,906,589.32             $7,967,401.32       08/30            $7,944,830.19                 $8,227,796.27

08/16            $8,721,890.53             $8,988,201.53       08/31            $9,140,476.95                 $9,309,895.32




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                                                                 Account Number:                     9780




Your service charges, fees and earnings credit have been calculated through account analysis.




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User Date: 9/4/2021                                         RECONCILIATION POSTING JOURNAL                        User ID: dblake
                                                                 Bank Reconciliation

Ranges:                     From:                    To:
    Company


Audit Trail Code:           CMADJ00003848                                               Bank Statement Ending Balance: $0.00
                                                                                        Bank Statement Ending Date:    8/31/2021
Company                     111000                                                      Cutoff Date:                   8/31/2021
Checkbook ID:               JPMC 2233
Description:                Cash-JPMC Lockbox Blocked 2233
Statement Ending Balance                                                     $0.00
Outstanding Checks (-)                                                       $0.00
Deposits in Transit (+)                                                      $0.00
                                                           -----------------------
Adjusted Bank Balance                                                        $0.00
                                                           -----------------------
Checkbook Balance as of Cutoff                                               $0.00
Adjustments                                                                  $0.00
                                                           -----------------------
Adjusted Book Balance                                                        $0.00
                                                           -----------------------
Difference                                                                   $0.00
                                                           =======================
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System:    9/11/2021       3:00:01 PM                           Liberty Power Corp LLC                            Page:    1
User Date: 9/11/2021                                        RECONCILIATION POSTING JOURNAL                        User ID: dblake
                                                                 Bank Reconciliation

Ranges:                     From:                    To:
    Company


Audit Trail Code:           CMADJ00003854                                               Bank Statement Ending Balance: $278,904.19
                                                                                        Bank Statement Ending Date:    8/31/2021
Company                     121000                                                      Cutoff Date:                   8/31/2021
Checkbook ID:               JPMC 2548
Description:                JPMC TX Customer Deposits 2548
Statement Ending Balance                                               $278,904.19
Outstanding Checks (-)                                                       $0.00
Deposits in Transit (+)                                                      $0.00
                                                           -----------------------
Adjusted Bank Balance                                                  $278,904.19
                                                           -----------------------
Checkbook Balance as of Cutoff                                         $278,904.19
Adjustments                                                                  $0.00
                                                           -----------------------
Adjusted Book Balance                                                  $278,904.19
                                                           -----------------------
Difference                                                                   $0.00
                                                           =======================
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System:    9/11/2021       2:46:37 PM                             Liberty Power Corp LLC                            Page:    1
User Date: 9/11/2021                                          RECONCILIATION POSTING JOURNAL                        User ID: dblake
                                                                   Bank Reconciliation

Ranges:                     From:                      To:
    Company


Audit Trail Code:           CMADJ00003852                                                 Bank Statement Ending Balance: $4,375,581.19
                                                                                          Bank Statement Ending Date:    8/31/2021
Company                     111000                                                        Cutoff Date:                   8/31/2021
Checkbook ID:               JPMC 3760
Description:                JPMC Money Market - 3760
Statement Ending Balance                                               $4,375,581.19
Outstanding Checks (-)                                                         $0.00
Deposits in Transit (+)                                                        $0.00
                                                             -----------------------
Adjusted Bank Balance                                                  $4,375,581.19
                                                             -----------------------
Checkbook Balance as of Cutoff                                         $4,375,581.19
Adjustments                                                                    $0.00
                                                             -----------------------
Adjusted Book Balance                                                  $4,375,581.19
                                                             -----------------------
Difference                                                                     $0.00
                                                             =======================
                               Case 21-13797-SMG               Doc 394      Filed 09/21/21       Page 104 of 106
System:    9/4/2021        2:39:48 PM                           Liberty Power Corp LLC                            Page:    1
User Date: 9/4/2021                                         RECONCILIATION POSTING JOURNAL                        User ID: dblake
                                                                 Bank Reconciliation

Ranges:                     From:                    To:
    Company


Audit Trail Code:           CMADJ00003846                                               Bank Statement Ending Balance: $422,104.09
                                                                                        Bank Statement Ending Date:    8/31/2021
Company                     111000                                                      Cutoff Date:                   8/31/2021
Checkbook ID:               JPMC 9199
Description:                JPMC - LPH Operating Acct 9199
Statement Ending Balance                                               $422,104.09
Outstanding Checks (-)                                                 $452,839.46
Deposits in Transit (+)                                                $112,328.12
                                                           -----------------------
Adjusted Bank Balance                                                   $81,592.75
                                                           -----------------------
Checkbook Balance as of Cutoff                                          $81,592.75
Adjustments                                                                  $0.00
                                                           -----------------------
Adjusted Book Balance                                                   $81,592.75
                                                           -----------------------
Difference                                                                   $0.00
                                                           =======================
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System:    9/11/2021       2:56:13 PM                           Liberty Power Corp LLC                            Page:    1
User Date: 9/11/2021                                        RECONCILIATION POSTING JOURNAL                        User ID: dblake
                                                                 Bank Reconciliation

Ranges:                     From:                    To:
    Company


Audit Trail Code:           CMADJ00003853                                               Bank Statement Ending Balance: $93,240.49
                                                                                        Bank Statement Ending Date:    8/31/2021
Company                     111000                                                      Cutoff Date:                   8/31/2021
Checkbook ID:               JPMC 9207
Description:                JPMC Customers Deposits 9207
Statement Ending Balance                                                $93,240.49
Outstanding Checks (-)                                                       $0.00
Deposits in Transit (+)                                                      $0.00
                                                           -----------------------
Adjusted Bank Balance                                                   $93,240.49
                                                           -----------------------
Checkbook Balance as of Cutoff                                          $93,240.49
Adjustments                                                                  $0.00
                                                           -----------------------
Adjusted Book Balance                                                   $93,240.49
                                                           -----------------------
Difference                                                                   $0.00
                                                           =======================
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System:    9/4/2021        2:50:30 PM                          Liberty Power Corp LLC                            Page:    1
User Date: 9/4/2021                                        RECONCILIATION POSTING JOURNAL                        User ID: dblake
                                                                Bank Reconciliation

Ranges:                     From:                   To:
    Company


Audit Trail Code:           CMADJ00003847                                              Bank Statement Ending Balance: $9,309,895.32
                                                                                       Bank Statement Ending Date:    8/31/2021
Company                     111000                                                     Cutoff Date:                   8/31/2021
Checkbook ID:               JPMC 9780
Description:                JP Morgan Collateral Acct.
Statement Ending Balance                                            $9,309,895.32
Outstanding Checks (-)                                                      $0.00
Deposits in Transit (+)                                                     $0.00
                                                          -----------------------
Adjusted Bank Balance                                               $9,309,895.32
                                                          -----------------------
Checkbook Balance as of Cutoff                                      $9,309,895.32
Adjustments                                                                 $0.00
                                                          -----------------------
Adjusted Book Balance                                               $9,309,895.32
                                                          -----------------------
Difference                                                                  $0.00
                                                          =======================
